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                EXHIBIT 2
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                                 EXPERT REPORT OF
                                JAMES CANTOR, PH.D.
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I.        Credentials and Qualifications

     A. Education and professional background
     1.     I am a sexual behavior scientist, with an internationally recognized record studying the

development of human sexualities, and an expert in research methodology of sexuality. . My

curriculum vitae is attached as Appendix 1 to this report. My publication record includes both

biological and non-biological influences on sexuality, ranging from pre-natal brain development,

through adulthood, to senescence. The primary, but not exclusive, focus of my own research

studies has been the development of atypical sexualities. In addition to the studies I myself have

conducted, I am regularly consulted to evaluate the research methods, analyses, and proposals from

sexual behavior scientists throughout the world. The methodologies I am qualified to assess span

the neurochemical and neuroanatomic level, individual behavioral level, and social and

interpersonal levels.

     2.     I am trained as a clinical psychologist and neuroscientist, and I am the author of over

50 peer-reviewed articles in my field, spanning the development of sexual orientation, gender

identity, hypersexuality, and atypical sexualities collectively referred to as paraphilias. Although

I have studied many atypical sexualities, the most impactful of my work has been MRI and other

biological studies of the origins of pedophilia. That work has revolutionized several aspects of the

sex offender field, both with regard to the treatment of offenders and to the prevention of sexual

abuse of children. In 2022, I received the Distinguished Contribution Award from the Association

for the Treatment and Prevention of Sexual Abuse in recognition of my research and its integration

into public policy. My efforts in this regard have been the subject of several documentary films.

     3.     Over my academic career, my posts have included Senior Scientist and Psychologist at

the Centre for Addiction and Mental Health (CAMH), and Head of Research for CAMH’s Sexual




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Behaviour Clinic. I was on the Faculty of Medicine of the University of Toronto for 15 years and

have served as Editor-in-Chief of the peer reviewed journal, Sexual Abuse. That journal is one of

the top-impact, peer-reviewed journals in sexual behavior science and is the official journal of the

Association for the Treatment and Prevention of Sexual Abuse. In that appointment, I was charged

to be the final arbiter for impartially deciding which contributions from other scientists in my field

merited publication. I believe that appointment indicates not only my extensive experience

evaluating scientific claims and methods, but also the faith put in me by the other scientists in my

field. I have also served on the Editorial Boards of The Journal of Sex Research, the Archives of

Sexual Behavior, and Journal of Sexual Aggression. I am currently the Director of the Toronto

Sexuality Centre in Canada. Thus, although I cannot speak for other scientists, I regularly interact

with and am routinely exposed to the views and opinions of most of the scientists active in our

field today, within the United States and throughout the world.

   4.      For my education and training, I received my Bachelor of Science degree from

Rensselaer Polytechnic Institute, where I studied mathematics, physics, and computer science. I

received my Master of Arts degree in psychology from Boston University, where I studied

neuropsychology. I earned my doctoral degree in psychology from McGill University, which

included successfully defending my doctoral dissertation studying the effects of psychiatric

medication and neurochemical changes on sexual behavior, and included a clinical internship

assessing and treating people with a wide range of sexual and gender identity issues.

   5.      I have a decades-long, international, and award-winning history of advocacy for

destigmatizing people with atypical sexualities. While still a trainee in psychology, I founded the

American Psychological Association’s (APA) Committee for Lesbian, Gay, and Bisexual

Graduate Students. Subsequently, I have served as the Chair for the Committee on Science Issues




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for APA’s Division for the Psychology of Sexual Orientation and Gender Diversity and was

appointed to its Task Force on Transgender Issues. Throughout my career, my writings and public

statements have consistently supported rights for transgender populations and the application of

science to help policy-makers best meet their diverse needs. Because my professional background

also includes neurobiological research on the development of other atypical sexualities, I have

become recognized as an international leader also in the destigmatizing of the broader range of

human sexuality patterns.

   6.      I am highly experienced in the application of sex research to forensic proceedings: I

have served as the Head of Research for the Law and Mental Health Program of the University of

Toronto’s psychiatric teaching hospital, the Centre for Addiction and Mental Health, where I was

appointed to the Faculty of Medicine.

   7.      I have served as an expert witness in 21 cases in the past four years, as listed on my

curriculum vitae. These cases included criminal, civil, and custody proceedings, preliminary

injunction and Frye hearings, as well as trials. I have testified in courts in Canada and throughout

the U.S., including Alabama, Arizona, Florida, Illinois, Indiana, Kansas, Kentucky,

Massachusetts, New York, Texas, Utah, and West Virginia. I have provided expert testimony

concerning the nature and origins of atypical sexualities, as well as concerning gender dysphoria

and gender identity in children.

   8.      For my work in this case, I am being compensated at the hourly rate of $400 per hour.

My compensation does not change based on the conclusions and opinions that I provide here or

later in this case or on the outcome of this lawsuit.

   B. Clinical expertise vs. scientific expertise
   9.      In clinical science, there are two kinds of expertise: Clinicians’ expertise regards




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applying general principles to the care of an individual patient and the unique features of that case.

A scientist’s expertise is the reverse, accumulating information about many individual cases and

identifying the generalizable principles that may be applied to all cases. Thus, different types of

decisions may require different kinds of experts, such that questions about whether a specific

patient represents an exception to the general rule might be better posed to a physician’s expertise,

whereas questions about establishing the general rules themselves might be better posed to a

scientist’s.

    10.        In legal matters, the most familiar situation pertains to whether a given clinician

correctly employed relevant clinical standards. Often, it is other clinicians who practice in that

field who will be best equipped to speak to that question. When it is the clinical standards that are

themselves in question, however, it is the experts in the assessment of scientific studies who are

the relevant experts.

    C. The professional standard to evaluate treatment models is to rely on
       objective assessors, not treatment model users in a conflict of interest
       with its results.
    11.        I describe in a later section the well-recognized procedures for conducting reviews of

literature in medical and scientific fields to evaluate the strength of evidence for particular

procedures or treatments. Importantly, the standard procedure is for such evaluations to be

conducted by objective assessors with expertise in the science of assessment, and not by those with

an investment in the procedure being assessed. Because the people engaged in providing clinical

services are necessarily in a conflict of interest when claiming that their services are effective,

formal evaluations of evidence are routinely conducted by those without direct professional

involvement and thus without financial or other personal interest in whether services are deemed

to be safe or effective. This routine practice standard is exemplified by all of the only three



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systematic, comprehensive research reviews that have been conducted concerning the safety and

efficacy of puberty blockers and cross-sex hormones as treatments for gender dysphoria in

children.

   12.      In 2020, England’s National Health Service (NHS) commissioned a major review of

the use of puberty blockers and cross-sex hormones in children and young people and appointed

prominent pediatrician Dr. Hilary Cass to lead that review, explicating that “Given the increasingly

evident polarization among clinical professionals, Dr. Cass was asked to chair the group as a senior

clinician with no prior involvement or fixed views in this area.” (Cass 2022 at 35, italics added.)

Dr. Cass’s committee in turn commissioned formal systematic reviews of evidence from the

England National Institute for Health & Care Excellence (NICE), a government entity of

England’s Department of Health and Social Care, established to provide guidance to health care

policy, such as by conducting systematic reviews of clinical research, but without direct

involvement in providing treatment to gender dysphoric individuals. (https://www.nice.org.uk/.)

Similarly, the Finnish health care council commissioned its systematic review to an external firm,

Summaryx Oy. (Pasternack 2019.) Summaryx Oy is a “social enterprise” (a Finnish organization

analogous to a non-profit think-tank) that conducts systematic research reviews and other analyses

for supporting that nation’s medical and social systems. Its reviews are conducted by assessment

professionals, not by clinicians providing services. (www.summaryx.eu/en/.) The systematic

review by Sweden’s National Board of Health and Welfare (NBHW) included four experts. (SBU

Scoping Review 2019.) In addition to their own research fields, they provided clinical services in

areas adjacent to but apart from gender dysphoric children, such as physical disorders of sexual

development (Dr. Berit Kriström) or gender dysphoria in adults (Dr. Mikael Landén).

   13.      My own most-cited peer-reviewed paper relating to gender dysphoria in minors




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illustrates the expertise in the evaluation of scientific evidence that I have and am recognized for.

That is, that paper provided not clinical advice or a clinical study, but rather a review and

interpretation of the available evidence concerning desistance in children who suffer from gender

dysphoria, as well as of evidence (and lack of evidence) concerning the safety and efficacy of

medical transition to treat gender dysphoria in minors. (Cantor 2019.)

   14.     My extensive background in the assessment of sexuality research and in the

development of human sexuality places me in exactly the position of objectivity and freedom from

conflict-of-interest required by the universal standards of medical research science.

   15.     I do not offer opinions about the best public policy. Multiple jurisdictions have

attempted multiple different means of implementing that science into various public policies.

Although I accept as an axiom that good public policy must be consistent with the scientific

evidence, science cannot objectively assess societal values and priorities. Therefore, my opinions

summarize and assess the science on which public policy is based, but I can offer no opinion

regarding which public policy mechanisms would be best in light of that science.




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II.         Multiple international health care systems that had initially expanded
            medicalized transition to include minors have reversed that policy, as
            research on safety and effectiveness accumulated, in a growing
            international trend against the medicalized transition of minors.
      16.      Medicalized interventions for minors originated in European clinics (most prominently

in the Netherlands and Sweden), and these precedents (and in particular the so-called “Dutch

Protocol”) are frequently cited by American clinicians. However, growing concerns about safety

together with the continuing absence of reliable evidence of benefit even after more than 20 years

of experience have led respected and far-from “conservative” European health care ministries to

step back and discourage or even cease providing medicalized transition of minors, other than in

exceptional and carefully limited circumstances, such as within registered and approved research

trials. Instead, these authorities now endorse psychotherapy as the treatment of choice for minors,

with medical interventions representing a method of last resort, if permitted at all. These range

from medical advisories to outright bans on the medical transition of minors. I provide details

concerning these policy changes below, and provide additional details regarding the underlying

systematic reviews in Section II and V below.

      A. England
      17.      The National Health Service (NHS) of the United Kingdom centralized gender

counselling and transitioning services into a single clinic, the Gender Identity Development

Service (GIDS) of the Tavistock and Portman NHS Foundation Trust. Between 2008 and 2018,

the number of referrals to the clinic had increased by a factor of 40, leading to a government inquiry

into the causes. (Rayner 2018.) The GIDS was repeatedly accused of approving and endorsing

medical transition in minors without adequate justification, including by 35 members of the GIDS

own staff, who resigned by 2019. (BBC News 2021; Donnelly 2019). An ex-governor and

psychotherapist of the Trust who resigned, Marcus Evans, said staff feared being called


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transphobic, which was impacting their objectivity in their work. (Doward 2019a).

   18.     In 2020, a former patient of the GIDS, Keira Bell, brought a lawsuit alleging that the

GIDS practices with respect to prescribing puberty blockers for minors were unproven and

potentially harmful in ways that meant that it was impossible for minors to give meaningful

informed consent. After taking extensive expert evidence, the trial court concluded that puberty

blockers might have “potentially irreversible” and “life-changing” effects on a young person (Bell

v. Tavistock, [2020] EWHC 3274 (Admin), ¶148, 151), that there was “very limited evidence as

to its efficacy” (¶134) such that “it is right to call the treatment experimental” (¶148), and that use

of puberty blockers almost always led to use of cross-sex hormones that “may well lead to a loss

of fertility” (¶¶ 137-138). While an appeals court later concluded that the trial court had exceeded

the proper role of the court in making factual findings on these questions, the appeals court

acknowledged that “Medical opinion is far from unanimous about the wisdom of embarking on

treatment before adulthood. The question raises not only clinical medical issues but also moral and

ethical issues, all of which are the subject of intense professional and public debate.” (Bell v.

Tavistock 2021 at ¶3.)

   19.     Perhaps prompted by the Kiera Bell litigation, also in 2020 the English National Health

Service (“NHS”) commissioned the thorough independent review of the use of puberty blockers

and cross-sex hormones to be chaired by Dr. Cass that I have described above. After an extensive

process that included obtaining the systematic reviews of all published studies bearing on safety

or efficacy of these hormonal interventions in minors as well as “extensive” listening sessions with

clinicians, patients, and families, in February 2022 Dr. Cass issued an extensive “Interim Report”

summarizing the state of the relevant medical science and in particular highlighting the presence

of serious but unstudied risks, and the lack of strong evidence of efficacy. I will quote specific




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items from Dr. Cass’s Report as relevant to specific topics below. At a high level, Dr. Cass

concluded that to date there has been “very limited research on the sexual, cognitive, or broader

developmental outcomes” from the use of puberty blockers for gender dysphoria (Cass 2022 at

19), that it is an unanswered question “whether the evidence for the use and safety of [puberty

blockers] is strong enough as judged by reasonable clinical standards” (at 37), and that “the

available evidence was not strong enough to form the basis of a policy position” with regard to use

of both puberty blockers and cross-sex hormones in minors (at 35).

   20.      Following issuance of Dr. Cass’s Interim Report, the English NHS has published a

consultation document concerning a proposed revised service specification under which “NHS

England will only commission [puberty blockers] in the context of a formal research protocol.”

(NHS Interim Service Specification at 12.)

   B. Finland
   21.      In Finland, minors were made eligible for medicalized transition in 2011 by that

country’s health care service, the Council for Choices in Health Care in Finland (COHERE).

Assessments of mental health and preparedness were centralized by law into two research clinics,

Helsinki University Central Hospital and Tampere University Hospital.

   22.      In 2019, the Service Selection Council (Palko) of the Finnish Ministry of Social Affairs

and Health commissioned a systematic review of the effectiveness and safety of medicalized

transition (Pasternack 2019), and in 2020, Finnish researchers published an analysis of the

outcomes of adolescents diagnosed with transsexualism and receiving cross-sex hormone

treatment in Finland’s Tampere University Hospital. (Kaltiala 2020.) Despite the purpose of

medical transition being to improve mental health, the study showed:

         Medical gender reassignment is not enough to improve functioning and relieve
         psychiatric comorbidities among adolescents with gender dysphoria. Appropriate



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         interventions are warranted for psychiatric comorbidities and problems in
         adolescent development. (Kaltiala 2020 at 213.)

They concluded that the youth who were functioning well after transition were those who were

already functioning well before transition, and those who were functioning poorly before transition

continued to function poorly after transition.

   23.      Importantly, the results of this study exemplify why correlations reported from surveys

cannot be interpreted as evidence of causality. Mental health assessment would exclude the most

poorly functioning youth from among those permitted to transition, but transition itself did not

improve the functioning of those who were permitted to transition.

   24.      Consistent with the results of the independent evidence review by Summaryx Oy and

analysis of the ethical issues involved, Finland’s health care service ended the surgical transition

of minors, ruling in 2020 that “Surgical treatments are not part of the treatment methods for

dysphoria caused by gender-related conflicts in minors.” (COHERE Summary 2020.) The review

of the research concluded that “[N]o conclusions can be drawn on the stability of gender identity

during the period of disorder caused by a psychiatric illness with symptoms that hamper

development.” (COHERE Summary 2020.) COHERE also greatly restricted access to puberty-

blocking and cross-sex hormonal treatments, explicating that they may be considered for minors

“only if it can be ascertained that their identity as the other sex is of a permanent nature and causes

severe dysphoria,” and only “if the need for it continues after [any] other psychiatric symptoms

have ceased and adolescent development is progressing normally.” (COHERE Summary 2020,

italics added.) They restricted the procedures to their centralized research clinics. The council was

explicit in noting the lack of research needed for decision-making, “There is also a need for more

information on the disadvantages of procedures and on people who regret them.” (COHERE

Summary 2020.) In light of the special developmental and ethical considerations surrounding



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minors, COHERE recommended that “no decisions should be made that can permanently alter a

still-maturing minor’s mental and physical development.” (COHERE Recommendation 2020 at 7.)

   C. Sweden
   25.     Sweden’s national health care policy regarding trans issues has developed quite

similarly to that of the UK. Already in place 20 years ago, Swedish health care policy permitted

otherwise eligible minors to receive puberty-blockers beginning at age 14 and cross-sex hormones

at age 16. At that time, only small numbers of minors sought medical transition services. An

explosion of referrals ensued in 2013–2014. Sweden’s Board of Health and Welfare

(“Socialstyrelsen”) reported that, in 2018, the number of diagnoses of gender dysphoria was 15

times higher than 2008 among girls ages 13–17. (Swedish Socialstyrelsen Support 2022 at 15.)

   26.     Sweden has long been very accepting with regard to sexual and gender diversity. In

2018, a law was proposed to lower the age of eligibility for surgical care from age 18 to 15, remove

the requirement for parental consent, and lower the legal age for change of gender to age 12. A

series of cases of regret and suicide following medical transition were reported in the Swedish

media. (Orange 2020.) In 2019, the Swedish Agency for Health Technology Assessment and

Assessment of Social Services (SBU) therefore initiated its own systematic review of the research.

The SBU released English-language results first as a summary and then published as a peer

reviewed article. (Ludvigsson et al. 2023.) Like the UK, the Swedish investigation employed

standardized review methods to ensure the encapsulation of the all the relevant evidence and came

to the same conclusions: “This systematic review of almost 10 000 screened abstracts suggests that

long-term effects of hormone therapy on psychosocial and somatic health are unknown, except

that GnRHa treatment seems to delay bone maturation and gain in bone mineral density.”

(Ludvigsson 2023 at 12). They emphasized, “The absence of long-term studies is worrying because




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many individuals start treatment as minors (<18 years) and CSHT is lifelong.” (Ludvigsson 2023

at 10.) Regarding the full set of studies, “No randomised controlled trials were found, but we could

identify 24 relevant observational studies. However, these were limited by methodological

weaknesses, for instance lack of or inappropriate control group, lack of intra-individual analyses,

high attrition rates that precluded conclusion to be drawn.” (Ludvigsson 2023 at 9–10.)

   27.     In 2021, the leading Swedish pediatric gender clinic, at the Karolinska Institute, issued

a new policy statement in which it stated that the Swedish evidence review “showed a lack of

evidence for both the long-term consequences of the treatments, and the reasons for the large influx

of patients in recent years.” (Karolinska 2021.) The Karolinska Institute further stated that “These

treatments are potentially fraught with extensive and irreversible adverse consequences such as

cardiovascular disease, osteoporosis, infertility, increased cancer risk, and thrombosis.” In a

dramatic reversal of its policy, the Institute announced that “In light of the above, and based on

the precautionary principle, which should always be applied, it has been decided that hormonal

treatments (i.e., puberty blocking and cross-sex hormones) will not be initiated in gender dysphoric

patients under the age of 16.” Further, the Karolinska clinic announced that patients ages 16–18

would receive such treatments only within research settings (clinical trials monitored by the

appropriate Swedish research ethics board). (Karolinska 2021.)

   28.     In 2022, the Swedish National Board of Health and Welfare published a major new

national policy document concerning “Support, investigation and hormone therapy in gender

incongruence in children and youth,” including an English-language summary. (Swedish

Socialstyrelsen Support 2022.) The National Board of Health noted “the continued lack of reliable

scientific evidence concerning the efficacy and the safety of both [puberty blockers and cross-sex

hormones],” and concluded (based on the commissioned evidence reviews) that “the evidence on




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treatment efficacy and safety is still insufficient and inconclusive for all reported outcomes.

Further, it is not possible to determine how common it is for adolescents who undergo gender-

affirming treatment to later change their perception of their gender identity or interrupt an ongoing

treatment.” As a result, the Board of Health concluded that, “[f]or adolescents with gender

incongruence, the . . . risks of puberty suppressing treatment with GnRH-analogues and gender-

affirming hormonal treatment currently outweigh the possible benefits.” (Swedish Socialstyrelsen

Support 2022 at 10-12.) Accordingly, the Swedish Board of Health and Welfare “recommends

restraint when it comes to hormone treatment.” (Swedish Socialstyrelsen Updated

Recommendations 2/22/22.)

   D. France
   29.      While medical authorities in France have not issued any actual restriction, in 2022, the

Académie Nationale de Médecine of France issued a strongly worded statement, citing the

Swedish ban on hormone treatments:

         [A] great medical caution must be taken in children and adolescents, given the
         vulnerability, particularly psychological, of this population and the many
         undesirable effects, and even serious complications, that some of the available
         therapies can cause…such as impact on growth, bone fragility, risk of sterility,
         emotional and intellectual consequences and, for girls, symptoms reminiscent of
         menopause.” (Académie Nationale de Médecine 2022.)

For hormones, the Académie concluded “the greatest reserve is required in their use,” and for

surgical treatments, “[T]heir irreversible nature must be emphasized.” The Académie warned “the

risk of over-diagnosis is real, as shown by the increasing number of transgender young adults

wishing to ‘detransition’.” Rather than medical interventions, it advised health care providers “to

extend as much as possible the psychological support phase.” The Académie reviewed and

emphasized the evidence indicating the very large and very sudden increase in youth requesting

medical transition. It attributed the change, not to society now being more accepting of sexual



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diversity, but to social media, “underlining the addictive character of excessive consultation of

social networks which is both harmful to the psychological development of young people and

responsible, for a very important part, of the growing sense of gender incongruence.” (Académie

Nationale de Médecine 2022.)

   E. Norway
   30.      In 2022, Norway’s Healthcare Investigation Board (Ukom) began a review of that

country’s guidelines for the medicalized transition of minors. (Block, Norway’s Guidance, 2023.)

In 2023, it released its report, which concluded that the evidence for the use of puberty blockers

and cross-sex hormone treatments in youth was insufficient, and acknowledged the international

recognition of the dearth of evidence of safety and effectiveness. The report deemed medicalized

transition to be experimental. (Ukom 2023, Summary and Section 11.) The report faulted the

existing Norwegian guidelines, published in 2020, for concentrating on “equality and rights” while

“deviating from the requirements for the development of knowledge-based guidelines.” (Ukom

2023, Summary.)

   31.      The Norwegian report concluded that “The knowledge base, especially research-based

knowledge for gender-affirming treatment (hormonal and surgical), is insufficient and the long-

term effects are little known” and that “This applies particularly to the teenage population, which

accounts for a large part of the increase in referrals to the specialist health service in the last

decade.” (Ukom 2023, Summary and Section 7.)

   32.      In an interview about the report with the British Medical Journal, the Ukom Medical

Director, Stine Marit Moen, said, “We’re concerned that there may be undertreatment,

overtreatment, and the wrong treatment” and added:

         We’ve seen a marked increase in referrals to specialised healthcare services in
         Norway for teenagers, as seen in many other western countries, and nobody knows



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         the reason. The stability of the gender dysphoria of these teenagers is not known,
         and the evidence of long term effects of gender affirming treatments for this young
         population is insufficient. (Block, Norway’s Guidance, 2023.)

   33.      Ukom noted that referrals to its national treatment service increased by a factor of eight

between 2007 and 2018, and that this increase was largely from young biological females.

Seventy-five percent of the referrals to its National Treatment Service had other co-morbid

psychiatric diagnoses, including not only depression and anxiety but also autism spectrum

disorders, ADHD, and Tourette’s Syndrome. (Ukom 2023, Summary and Section 7.)

   F. Assertions by U.S. organizations and officials that there is ‘no debate’
      over medicalized transition are false.
   34.      The international consensus is clearly demonstrated by the multiple recent analyses,

statements, and policy decisions from the health care service systems around the world. These

include England’s National Health Service, which noted the “Scarce and inconclusive evidence to

support clinical decision making [which] has led to a lack of clinical consensus on what the best

model of care for children and young people experiencing gender incongruence and dysphoria

should be.” (NHS 2022 at 5.)

   35.      As these several recent national policy reviews, statements, and recommendations

make very clear, there is a great deal of doubt and debate among the sophisticated international

medical and mental health community as to whether the administration of puberty blockers and

cross-sex hormones to children and young people is the best clinical practice, and as to whether

these treatments have been shown to be safe and effective. Indeed, the lack of scientifically reliable

data concerning safety and efficacy highlighted by the systematic evidence reviews commissioned

by the English National Health Service, by the Swedish National Board of Health and Welfare,

and by the Finnish Council for Choices in Health Care in Finland have caused those national health

authorities and others to move sharply away from approving puberty blockers, cross-sex



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hormones, or surgery for minors.

   36.     In this report, I explain the evidence and lack of evidence behind that doubt, that debate,

and the emerging international consensus of caution reflected in the several recent European policy

statements or changes.

   37.     I note that the plaintiffs’ experts have excluded all mention of the international reversals

of policy, falsely suggesting a consensus. In fact, practices at U.S. gender clinics and statements

by U.S. advocacy voices increasingly represent an outlier view, failing to update policy despite

the mounting evidence.




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III.     Clinical research has a standard Pyramid of Evidence that summarizes
         the relative strength of potential sources of information.
   38.     The widely accepted starting point in evidence-based medicine is the recognition that

clinical experiences and recollections of individual practitioners (often called “expert opinion” or

“clinical anecdote”) do not and cannot provide a reliable, scientific basis for treatment decisions.

Rather, in evidence-based medicine, clinical decision-making is based on objectively

demonstrated evidence of outcomes from the treatment options. An essential first step in evidence-

based medicine is identifying the relevant findings from among the immense flood of clinical

journal articles published each year. Those studies and the evidence they report are then assessed

according to the strength offered by the research methods used in each study. The research methods

used in a study determine its reliability and generalizability, meaning the confidence one may have

that using the same treatment again will have the same result again on other people. In this section,

I explain the well-accepted criteria for evaluating the evidentiary value of clinical studies.

   A. Clinical research comprises a standard Pyramid of Evidence, wherein
      studies from higher levels of evidence outrank even more numerous
      studies from lower levels of research.
   39.     The accepted hierarchy of reliability for assessing clinical outcomes research is

routinely represented as a “Pyramid of Evidence” (Figure 1). Scientific questions are not resolved

by the number of studies coming to one versus another conclusion. Studies representing higher

levels of evidence outrank studies from lower levels. Even large numbers of lower-level studies

cannot overcome a study representing a higher level of evidence. Indeed, because lower-level

studies are generally faster and less expensive to conduct, it is typical for them to outnumber higher

level studies. This is the property meant to be reflected by the pyramid’s shape, which is larger at

the base and smaller at the apex.




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          Figure 1: Pyramid of Standards of Evidence




          Source: OpenMD. Retrieved from https://openmd.com/guide/levels-of-evidence.

    B. The highest level of evidence for safety and effectiveness research is the
       systematic review of clinical experiments.
    40.      The most reliable and conclusive method of determining what is actually known or not

known with respect to a particular treatment is the systematic review. Systematic reviews employ

standardized procedures to assess comprehensively all available evidence on an issue, minimizing

opportunities for bias in gathering and evaluating research evidence. As described by Dr. Gordon

Guyatt, the internationally recognized pioneer in medical research who invented the term evidence-

based medicine, “A fundamental principle to the hierarchy of evidence [is] that optimal clinical

decision making requires systematic summaries of the best available evidence.” (Guyatt 2015

at xxvi.)

    41.      I note that Dr. Antommaria’s report for the plaintiffs correctly indicated that “It is best

practice to ascertain the studies via systematic reviews of the literature.” (Antommaria Report at

6.) Missing from Dr. Antommaria’s report is that none of the systematic reviews he cited were

systematic reviews of safety and efficacy, both of which are necessary for assessing the risk:benefit



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ratio of a treatment. Moreover, I note that none of the plaintiffs’ other experts cited any systematic

reviews at all, failing to meet the standard Dr. Antommaria and I indicated.

             1. Systematic reviews prevent the ‘cherry-picking’ of studies that
                favor a particular result.
   42.        Because systematic reviews are designed to prevent researchers from including only

the studies they favor and other biases, systematic reviews are the routine starting point for

developing clinical practice guidelines. (Moher 2009.) The methods of a systematic review

include:

         •   Define the scope, including the “PICO”: Population/Patient, Intervention,
             Comparison/Control, and Outcome(s);
         •   Select and disclose the keywords used to search the (massive) available clinical
             research database(s) for potentially relevant articles, identify the databases they were
             applied to, and the date(s) of the searches, including any subsequent updates;
         •   Select and disclose the inclusion/exclusion criteria to be used to filter the “hits” from
             the keyword searches to identify research studies to be included in the detailed
             review;
         •   Review abstracts to select the final set of studies, using at least two independent
             reviewers to allow for measuring inter-rater reliability on the criteria;
         •   Code each study’s results impacting the research question(s), disclosing the list of all
             studies and the results coded from each;
         •   Evaluate the reliability of the results [risk of bias] of each included study, applying
             uniform criteria across them all.
   43.       As detailed in Section V, several systematic reviews have been conducted of the

outcomes of medicalized transition of gender in minors. Their conclusions are highly consistent

with each other. Much of the expert testimony offered by plaintiffs’ experts, however, depends on

levels of evidence far lower on the pyramid of evidence (e.g., “expert opinion”) or beneath the

pyramid entirely (e.g., survey studies) while ignoring the thorough, high-quality systematic

reviews available in the research literature. Doing so is in direct conflict with foundational

principles of evidence-based medicine.




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                 2. Systematic reviews prevent biased assessment of individual
                    studies by uniformly applying standard criteria to each study
                    reviewed. The most widely used criteria set is “GRADE.”
       44.       In order to produce unbiased assessment of the studies within the systematic review,

all the studies must be evaluated using the same evaluation criteria. Without such criteria,

assessments can become influenced by researchers who, intentionally or not, hold the evaluative

bar higher or lower for studies according to whether the studies’ conclusions support or challenge

that researcher’s perspective. Several such systems have been developed. The most widely used

system is the “Grading of Recommendations, Assessment, Development and Evaluations”

(GRADE). (Goldet & Howick 2013.) In the GRADE system, studies’ findings are downgraded

for:

             •   Risk of bias: 1
                        o Lack of clearly randomized allocation sequence,
                        o Lack of blinding,
                        o Lack of allocation concealment,
                        o Failure to adhere to intention-to-treat analysis,
                        o Trial is cut short,
                        o Large losses to follow-up;
             •   Inconsistency;
             •   Indirectness of evidence;
             •   Imprecision; and
             •   Publication bias (when studies with ‘negative’ findings remain unpublished).
    Studies’ ratings are upgraded if their findings identify:
             •   A large effect of the treatment;
             •   A dose-response relationship (the size of the effect has a systematic association with
                 the dose of the treatment given); or
             •   That all plausible biases only reduce the apparent effect of the treatment ( necessarily
                 making the estimated effect sizes conservative estimates).



1
  In science, including in the GRADE system, the term “bias” refers to any external influence leading to a systematic
over- or underreporting of the outcome being measured. That is, in this context “bias” is not used in the sociopolitical
sense of personal values.


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   45.       GRADE assessments yield a four-point score representing the certainty that a reported

treatment effect is true. These certainty scores are (GRADE Handbook, Section 5):

   Certainty        Meaning
   High             We are very confident that the true effect lies close to that of the estimate of
                    the effect.
   Moderate         We are moderately confident in the effect estimate: The true effect is likely to
                    be close to the estimate of the effect, but there is a possibility that it is
                    substantially different.
   Low              Our confidence in the effect estimate is limited: The true effect may be
                    substantially different from the estimate of the effect.
   Very Low         We have very little confidence in the effect estimate: The true effect is likely
                    to be substantially different from the estimate of effect.

   C. The highest level experimental study of clinical safety and effectiveness is
      the Randomized Controlled Trial (RCT). RCTs can demonstrate that a
      given treatment causes (rather than only correlates with) a given
      outcome.
   46.       Randomized Controlled Trials are the gold standard method of assessing the effects

caused by an experimental treatment. The great scientific weight of RCTs follows from the

randomization: people do not pick which research group they are in—a treatment group or a

control group. Without random group assignment, it is not possible to identify which, if any,

changes are due to the treatment itself or to the factors that led to who did and did not receive

treatment.

   47.       Levels of evidence lower than RCTs are unable to distinguish when changes are caused

by the experimental treatment, or by factors that can mimic treatment effects, such as ‘regression

to the mean’ and the placebo effect.

   48.       In the absence of evidence that X causes Y, it is a scientific error to use language

indicating there is causal relationship. In the absence of evidence of causality, it is scientifically

unsupportable to describe a correlation with terms such as: increases, improves, benefits, elevates,




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leads to, alters, influences, results in, is effective for, causes, changes, contributes to, leads to,

yields, impacts, decreases, harms, and depresses. Scientifically valid terms for correlations

include: relates to, is associated with, predicts, and varies with.

    49.     I note that the plaintiffs’ experts repeatedly misrepresent studies using causal language

to describe studies that are unable to demonstrate causality. Such language incorrectly asserts that

the evidence is stronger than it actually is.

            1. RCTs, but not lower levels of evidence, overcome biases
               representing ‘regression to the mean’ and other factors that can
               mimic clinical improvement.
    50.     ‘Regression to the mean’ arises when researching issues, such as mood, depression, or

levels of emotional distress that typically fluctuate over time. People are more likely to seek out

treatment during low points rather than high points in their emotional lives. Thus, when tracking

emotional states over time, the average of a group of people in a treatment group may often show

an increase; however, without an untreated control group to which to compare them, researchers

cannot know whether the group average would have increased anyway, with only the passage of

time.

    51.     Blinding or masking participants in an RCT from which group they are in has been

described as a preferred strategy since the 1950s, in order to exclude the possibility that a person’s

expectations of change caused any changes observed (the “placebo effect”). In practice, however,

it has often made little or no significant difference. For example, a study using very high quality

methods—meta-analysis of meta-analysis research—has revealed no statistical difference in the

sizes of the effects detected by blinded/placebo-controlled studies from non-blinded/non-placebo-

controlled studies of depression. (Moustgaard 2019.) That is, the pre-/post- treatment differences

found in placebo groups are not as attributable to participants’ expectations of improvement as



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they are to expectable regression to the mean. (Hengartner 2020.)

           2. When a ‘no treatment control group’ is untenable, RCTs use an
              ‘active comparator’ group instead.
   52.     It is not always possible to compare a group receiving a treatment to a group receiving

only an inactive procedure, such as a placebo treatment or no treatment at all. In such situations,

the standard, ethical, clinical research method is to compare two active treatments with each other.

   53.     The systematic reviews from England explicitly called for ‘active comparator’ studies

to test whether medicalized transition of minors shows mental health benefits superior to those

obtained from psychotherapy. (NICE 2020a at 40; NICE 2020b at 47.) Risk:benefit analysis cannot

justify the greater risks associated with medicalization without evidence of correspondingly greater

benefit.

   D. Cohort studies are the highest level of evidence about medicalized
      transition currently available.
   54.     The highest-level study of medicalized transition of minors conducted thus far are

cohort studies: gathering a sample of individuals who chose to undergo treatment and tracking

them over time. Cohort studies are able to answer some questions that lower-level studies cannot,

such as whether a high-functioning group improved over time versus having been composed of

people who were already high-functioning. Cohort studies are, however, unable to demonstrate

causality, to identify how much of any change was due to regression to the mean, or to detect any

placebo effects.

   E. Expert opinion represents the least reliable evidence.
   55.     As Figure 1 illustrates, evidence-based medicine opinion based on clinical experience

is identified as the least reliable source of medical knowledge. Among other reasons, this is

because non-systematic recollections of unstructured clinical experiences with self-selected



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clientele in an uncontrolled setting is the most subject to bias. Indeed, mere “clinical experience”

was long the basis of most medical and mental health clinical decisions, and it was precisely the

scientific and clinical inadequacy of this type of “knowledge” that led to the development and

widespread acceptance of the importance of evidence-based medicine. As Dr. Guyatt has written,

“EBM places the unsystematic observations of individual clinicians lowest on the hierarchy,” both

because EBM “requires awareness of the best available evidence,” and because “clinicians fall

prey to muddled clinical reasoning and to neglect or misunderstanding of research findings.”

(Guyatt 2015 at 10, 15.)

   F. Surveys and cross-sectional studies cannot demonstrate treatment
      effectiveness.
   56.     Surveys represent observational research rather than experimental research. (In

science, experiments are studies involving a manipulation, not merely observation, by the

researcher.) Surveys and cross-sectional studies can provide only correlational data and cannot

demonstrate causality. (See Section IV below). It is not possible for a survey to yield evidence that

a treatment is effective. No number of surveys can test a treatment, advancing it from

‘experimental’ to ‘established’ status.

   57.     Survey studies do not even appear on the pyramid of evidence. In accordance with the

routine standards, systematic reviews of treatment studies exclude surveys.

   58.     I note that the plaintiffs’ experts’ reports rely largely on survey studies.




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IV.      Methodological defects limit or negate the evidentiary value of many
         studies of treatments for gender dysphoria in minors.

   A. In science, to be valid, a claim must be objective, testable, and falsifiable.
   59.     In behavioral science, people’s self-reports do not represent objective evidence. It is

when emotional and other pressures are strongest that the distinction between and need for

objective over subjective evidence is greatest. Surveys do not represent objective evidence. This

is especially true of non-random surveys and polls, recruited through online social networks of the

like-minded.

   B. Correlation does not imply causation.
   60.     Studies representing lower levels of evidence are often used because they are faster and

less expensive than studies representing higher levels. A disadvantage, however, is that they are

often limited to identifying which features are associated with which other features, but they

cannot show which ones are causing which. It is a standard property of statistical science that when

a study reports a correlation, there are necessarily three possible explanations. Assuming the

correlation actually exists (rather than represents a statistical fluke or bias), it is possible that X

causes Y, that Y causes X, or that there is some other variable, Z, that causes both X and Y. (More

than one of these can be true at the same time.) To be complete, a research analysis of a correlation

must explore all three possibilities.

   61.     For example, assuming a correlation between treatment of gender dysphoria in minors

and mental health actually exists (rather than is a fluke): (1) It is possible that treatment causes

improvement in mental health. (2) Yet, it is also possible that having good mental health is (part

of) what enabled transition to occur in the first place. That is, because of gate-keeping procedures

in the clinical studies, those with the poorest mental health are typically not permitted to transition,

causing the higher mental health scores to be sorted into the transitioned group. (See Section IV.E


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on Selection Bias.) (3) It is also possible that a third factor, such as wealth or socioeconomic status,

causes both the higher likelihood of transitioning (by being better able to afford it) and the

likelihood of mental health (such as by avoiding the stresses of poverty or affording

psychotherapy).

    62.     This principle of scientific evidence is why surveys do not (cannot) represent evidence

of treatment effectiveness: Surveys are limited to correlations. (See Section III.F. on Surveys.)

    C. When two or more treatments are provided at the same time, one cannot
       know which treatment caused observed changes (i.e., ‘confounding’).
    63.     Confounding is a well-known issue in clinical research design. As detailed in the

present report, it applies throughout treatment studies of gender dysphoria. Patients who undergo

medical transition procedures in research clinics routinely undergo mental health treatment

(psychotherapy) at the same time. Without explicit procedures to distinguish them, it cannot be

known which treatment produced which outcome (or in what proportions). Indeed, that mental

health improvement came from mental health treatment is a more parsimonious (and therefore,

scientifically superior) conclusion than is medicalized treatment causing mental health

improvement.

    D. Extrapolation to dissimilar populations and dissimilar conditions.
    64.     The purpose of clinical science is to establish from a finite sample of study participants

information about the effectiveness and safety, or other variables, of a treatment that can be

generalized to other people. Such extrapolation is only scientifically justified with populations

matched on all relevant variables. The identification of those variables can itself be a complicated

question, but when an experimental sample differs from another group on variables already known

to be related, extrapolation cannot be assumed but must be demonstrated directly and explicitly.

    65.     Each of the systematic reviews from the UK, Sweden, and Finland emphasized that the


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recently observed, greatly increased numbers of youth coming to clinical attention are a population

different in important respects from the subjects of often-cited research studies. Conclusions from

studies of adult-onset gender dysphoria and from childhood-onset gender dysphoria cannot be

assumed to apply to the current patient populations of adolescent-onset gender dysphoria. The

Cass Report correctly advised:

         It is also important to note that any data that are available do not relate to the current
         predominant cohort of later-presenting birth-registered female teenagers. This is
         because the rapid increase in this subgroup only began from around 2014-15. Since
         young people may not reach a settled gender expression until their mid-20s, it is
         too early to assess the longer-term outcomes of this group. (Cass 2022 at 36.)

The report also indicated:

         [I]t is important that it is not assumed that outcomes for, and side effects in, children
         treated for precocious puberty will necessarily be the same in children or young
         people with gender dysphoria. (Cass 2022 at 63.)

   66.       Finland’s review repeated the observation of greatly (20 times) increased numbers, an

entirely different demographic of cases, and increased proportions of psychiatric co-morbidities.

(Finnish Palko Preparation Memo at 4-6.) The Swedish review highlighted “the uncertainty that

follows from the yet unexplained increase in the number of care seekers, an increase particularly

large among adolescents registered as females at birth.” (Swedish Socialstyrelsen Support 2022 at

11.)

   67.       It is well known that males and females differ dramatically in the incidence of many

mental health conditions, and in their responses to treatments for mental health conditions. Thus,

research from male-to-female transitioners (the predominant population until recent years) cannot

be extrapolated to female-to-male transitioners (the predominant population presenting at clinics

today). Outcomes from patients who experienced clear pre-pubertal childhood gender dysphoria

cannot be extrapolated to patients who first manifest diagnosable gender dysphoria well into

puberty. Outcomes from clinics employing rigorous and openly reported gate-keeping procedures


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cannot be extrapolated to clinics or clinicians employing only minimal or perfunctory assessments

without external review. Developmental trajectories and outcomes from before the social media

era cannot be assumed to apply to those of the current era or the future. Research from youth with

formal diagnoses and attending clinics cannot be extrapolated to self-identifying youth and those

responding to surveys advertised on social media sites.

   68.     Further, treatment of gender dysphoria in children and adolescents presents novel-use

cases very dissimilar to the contexts in which puberty blockers and cross-sex hormones have

previously been studied. Whereas use of puberty blockers to treat precocious puberty avoids the

medical risks caused by undergoing puberty growth before the body is ready (thus outweighing

other risks), use of blockers to treat gender dysphoria in patients already at their natural puberty

pushes them away from the mean age of the healthy population. Instead of avoiding an objective

problem, one is created: among other things, patients become subject to the issues and risks

associated with being late-bloomers, very late-bloomers. This transforms the risk:benefit balance,

where the offsetting benefit is primarily (however validly) cosmetic.

   69.     Similarly, administering testosterone to an adult male to treat testosterone deficiency

addresses both a different condition and a different population than administration of that same

drug to an adolescent female to treat gender dysphoria; the benefits and harms observed in the first

case cannot be extrapolated to the second.

   E. Mental health assessment used for gate-keeping medicalized transition
      establishes a selection bias, creating a statistical illusion of mental health
      improvement among the selected.
   70.     Importantly, clinics are expected to conduct mental health assessments of applicants

seeking medicalized transition, disqualifying from medical services patients with poor mental

health. (The adequacy of the assessment procedures of specific clinics and clinicians remains under



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debate, however.) Such gate-keeping—which was also part of the original “Dutch Protocol”

studies—can lead to misinterpretation of data unless care is explicitly taken. A side-effect of

excluding those with significant mental health issues from medical transition is that when a

researcher compares the average mental health of the gender dysphoric individuals first presenting

to a clinic with the average mental health of those who completed medical transition, then the post-

transition group would show better mental health—but only because of the selection bias,

(Larzelere 2004; Tripepi 2010) even when the transition had no effect at all.




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V.         Systematic reviews of safety and effectiveness have been conducted by
           the health care ministries/departments of several governments. They
           unanimously concluded the evidence on medicalized transition in minors
           to be of poor quality.

     A. Understanding safety and efficacy.
     71.      Plaintiffs’ experts assert that use of puberty blockers and cross-sex hormones on

adolescents is “safe.” This claim is unsupported by any substantial scientific evidence, depreciates

widely recognized risks of serious harm to minors so medicalized, and ignores both the many

unknowns and the growing international doubts about their use.

     72.      At the outset, it is important to understand the meaning of “safety” in the clinical

context. The criteria for assessing safety involve two independent components, and discussion of

the safety of hormonal interventions on the natural development of children requires consideration

of both of them. The term safety in the clinical context represents a “risk:benefit ratio,” not an

absolute statement that can be extrapolated across applications. In clinical research, assessing

safety requires simultaneous consideration of both components of the risk:benefit ratio. That is,

treatments are not deemed simply “safe” or “unsafe,” as the plaintiffs’ experts repeatedly use those

words. These dual components are reflected in FDA regulation:

           There is reasonable assurance that a device is safe when it can be determined, based
           upon valid scientific evidence, that the probable benefits to health from use of the
           device for its intended uses and conditions of use, when accompanied by adequate
           directions and warnings against unsafe use, outweigh any probable risks. (Code of
           Federal Regulations Title 21 Sec. 860.7, italics added.)

     73.      Thus, for example, as I explain in further detail below, because the Endocrine Society

did not undertake (or rely on) any systematic review of the efficacy of hormonal interventions to

relieve gender dysphoria in minors (i.e., their benefits), and WPATH did not undertake (or rely

on) any systematic review of the safety of hormonal interventions in minors (i.e., their risks),

neither gathered the evidence necessary to assess the risk:benefit ratio of medicalized transition in


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minors.

   74.     In fact, as I also review below, after conducting systematic reviews, the English,

Finnish, and Swedish national health care institutions all concluded that there is insufficient

evidence to determine that hormonal interventions as treatments for gender dysphoria in minors

are safe. Reasons for these consistent conclusions include lack of research, insufficient research

quality among the existing investigations, and insufficient investigation of long-term safety.

   75.     To understand the uniform conclusions of these national health care bodies, it is

important to understand that—at least where there is prima facie reason to be concerned that

certain harms may result—when the research has not been done, the absence of evidence cannot

be taken as evidence of the absence of such harms. “We don’t know” does not permit the

conclusion “It is safe.” Plaintiffs’ experts and many advocates in the field of transgender medicine

make this error.

   B. The McMaster University systematic review of systematic reviews.
   76.     McMaster University is recognized as a center of expertise in the performance of

methodologically sound systematic reviews. In 2022, authors associated with that McMaster

University team (Dr. Romina Brignardello-Petersen and Dr. Wojtek Wiercioch) conducted a

systematic review, “Effects of gender affirming therapies in people with gender dysphoria:

evaluation of the best available evidence,” spanning all the available systematic reviews in this

area, including their methodological strength, the evidence they cited, and the conclusions they

reached. (Brignardello-Petersen & Wiercioch 2022.) Applying carefully disclosed criteria and

methods, they identified on-point systematic reviews, and graded the methodological quality of

each on-point review as high, moderate, low, or critically low. With regard to systematic reviews

relating to the effects of puberty blockers or cross-sex hormones, the authors included in their




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analysis all reviews that achieved at least a “low” rating of methodological quality, while excluding

those rated as “very low.” No systematic reviews earned a “high” methodological rating, except a

review performed by the highly respected Cochrane Library of the effects of cross-sex hormones

on transitioning natal males (Haupt 2020), but that most careful review in turn found no published

studies on this topic of sufficient methodological soundness to satisfy its inclusion criteria and thus

merit review. After this careful review of the data and analysis contained in available systematic

reviews, the McMaster authors concluded:

         Due to important limitations in the body of evidence, there is great uncertainty
         about the effects of puberty blockers, cross-sex hormones, and surgeries in young
         people with gender dysphoria. This evidence alone is not sufficient to support
         whether using or not using these treatments. (Brignardello-Petersen & Wiercioch
         2022 at 5.)

   C. The quality of the systematic reviews from governmental bodies and
      professional associations.
   77.      To ensure consideration of all available evidence, I compiled into a single table all the

cohort studies of safety and effectiveness included by any of the systematic reviews from the

international health care systems and (although they were incomplete) by the U.S.-based clinical

associations issuing guidelines or standards. I discuss their specific findings in the following

sections.

   78.      New studies continue to be conducted and published. I have identified two additional

studies that were published after these reviews were released, but that meet their inclusion criteria:

Tordoff, et al., 2022, and Chen, et al., 2023. The findings from both these studies are consistent

with those already included and are noted here for completeness.




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Table 1. Cohort studies of effectiveness and safety of puberty-blockers and cross-sex hormones in minors.
                   Finland (2019)            NICE (2020a,b)              Sweden (2022)           E.S. (2017)        AAP (2018) Baker (2021) (WPATH)
                                                                     Becker-Hebly et al, 2020
Effectiveness                                                        Carmichael et al, 2021
GnRHa             Costa et al, 2015       Costa et al, 2015          Costa et al, 2015
                  de Vries et al, 2011    de Vries et al, 2011        ***                                                     de Vries et al, 2011
                                                                     Hisle-Gorman et al, 2021
                                          Achille et al, 2020         ***                                                     Achille et al, 2020
Effectiveness                             Allen et al, 2019           ***
Sex Hormones                                                         Cantu et al, 2020*
                  de Vries et al, 2014*                              de Vries et al, 2014*                                    de Vries et al, 2014*
                                          Kaltiala et al, 2020
                                          Lopez de Lara et al, 2020   ***                                                     López de Lara et al, 2020
                                          Brik et al, 2020
Safety (Bones)                            Joseph et al, 2019         Joseph et al, 2019
GnRHa                                     Khatchadourian et al, 2014
                                          Klink et al, 2015          Klink et al, 2015
                                                                     Navabi et al, 2021
                                                                     Schagen et al, 2020
                                                                     Stoffers et al, 2019
                                          Vlot et al, 2017           Vlot et al, 2017
                                                                     Lee et al, 2020
                                                                     van der Loos et al, 2021
                                                                     Klaver et al, 2018
Safety (Bloods)                           Klaver et al, 2020         Klaver et al, 2020
GnRHa                                                                Nokoff et al, 2020
                                                                     Perl et al, 2020
                                          Schagen et al, 2016        Schagen et al, 2016
                                                                     Schulmeister et al, 2021
                                          Khatchadourian et al, 2014
Safety (Bones)                            Klaver et al, 2020
                                          Klink et al, 2015
Sex Hormones             ****             Kuper et al, 2020
                                                                                                Klink et al, 2015
                                          Stoffers et al, 2019
                                          Vlot et al, 2017
Safety (Bloods)                                                      Jarin, 2017
Sex Hormones                                                         Mullins et al, 2021
                                                                     Tack et al, 2016



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*Included both puberty-blockers and cross-sex hormones.
**The Endocrine Society review included bone/skeletal health, but did not explicate whether the scope included minors.
***Sweden explicitly excluded due to high risk of bias: Achille, et al., (2020), Allen, et al. (2019), de Vries, et al., (2011), and López
       de Lara, et al., (2020).
****The Finnish review adopted the Endocrine Society review, but did not indicate whether minors were included.




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   D. United Kingdom
   79.       The National Health Service (NHS) of the United Kingdom conducted an independent

review of its services for minors with gender dysphoria. (Cass 2022.) Included in that process were

two systematic, comprehensive reviews of the research literature, conducted by England’s

National Institute for Health Care Excellence (NICE) in 2020. One regarded the efficacy, safety,

and cost-effectiveness of Gonadotrophin-Releasing Hormone (GnRH) analogs (or “puberty

blockers”) in minors. (NICE 2020a.) The other regarded the efficacy, safety, and cost-effectiveness

of cross-sex hormones, or “gender-affirming hormones,” in minors. (NICE 2020b.) (Only efficacy

and safety are relevant to the present report.)

   80.      The puberty-blocker review was tasked with reviewing the research on two relevant

questions. For one:

         In children and adolescents with gender dysphoria, what is the clinical
         effectiveness of treatment with GnRH analogues compared with one or a
         combination of psychological support, social transitioning to the desired gender or
         no intervention? (NICE 2020a at 4.)

Clinical effectiveness of puberty-blockers was composed of three factors deemed “critical

outcomes”: impact on gender dysphoria, impact on mental health, and impact on quality of life.

The second question addressed in the review was:

         In children and adolescents with gender dysphoria, what is the short-term and long-
         term safety of GnRH analogues compared with one or a combination of
         psychological support, social transitioning to the desired gender or no
         intervention? (NICE 2020a at 6.)

Puberty-blocker safety was assessed as its effect on three categories of health: bone density,

cognitive development or functioning, and “other.”

   81.      The second review, for cross-sex hormone treatment, was tasked with the

corresponding questions. For one:




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         In children and adolescents with gender dysphoria, what is the clinical
         effectiveness of treatment with gender-affirming hormones compared with one or a
         combination of psychological support, social transitioning to the desired gender or
         no intervention? (NICE 2020b at 4.)

The critical outcomes were again deemed to be impact on gender dysphoria, on mental health, and

on quality of life. The impact on mental health was composed of indicators of depression, anxiety,

and suicidality and self-injury. The second question was:

         In children and adolescents with gender dysphoria, what is the short-term and long-
         term safety of gender-affirming hormones compared with one or a combination of
         psychological support, social transitioning to the desired gender or no
         intervention? (NICE 2020b at 7.)

Cross-sex hormone treatment safety was assessed as its effect on bone density and on “clinical

parameters,” which included insulin, cholesterol, and blood pressure levels.

   82.      These two reviews included a systematic consolidation of all the research evidence,

following established procedures for preventing the “cherry-picking” or selective citation

favouring or down-playing any one conclusion, carefully setting out the criteria for including or

excluding specific studies from the review, and providing detailed analyses of each included study.

The whole was made publicly available, consistent with good practice.

   83.      The reviews’ results were unambiguous: for both puberty blockers and cross-sex

hormones, “The critical outcomes for decision making are the impact on gender dysphoria, mental

health and quality of life.” The quality of evidence for these outcomes was assessed as “very low”

using the established GRADE procedures for assessing clinical research evidence. (NICE 2020a

at 4; NICE 2020b at 4.) The reviews also assessed as “very low” the quality of evidence regarding

“body image, psychosocial impact, engagement with health care services, impact on extent of

satisfaction with surgery and stopping treatment” or (in the case of cross-sex hormones) of

“detransition”. (NICE 2020a at 5; NICE 2020b at 6.) The review of puberty blockers concluded

that of the existing research, “The studies included in this evidence review are all small,


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uncontrolled observational studies, which are subject to bias and confounding,” “They suggest

little change with GnRH analogues [puberty blockers] from baseline to follow-up.” (NICE 2020a

at 13.) The cross-sex hormone review likewise reported a lengthy list of methodological defects

or limitations affecting all available studies. (NICE 2020b at 13-14.)

    84.      The NHS changed the language on its website describing puberty blockers and cross

sex hormones. It removed the statement that “The effects of treatment with GnRH analogues are

considered to be fully reversible,” 2 replacing that text with: 3

          Little is known about the long-term side effects of hormone or puberty blockers in
          children with gender dysphoria. . . . [I]t is not known what the psychological effects
          may be. It’s also not known whether hormone blockers affect the development of
          the teenage brain or children’s bones.

    85.      As mentioned in the McMaster review, the highly respected Cochrane Library, based

in England, undertook a systematic review of studies of the safety and efficacy of the

administration of cross-sex hormones to natal males. That review focused primarily on adults (age

16 and older). The results, including a detailed explanation of methodology and inclusion criteria,

were published in 2020. Unfortunately, but importantly, the Cochrane review found zero studies,

globally, that were sufficiently reliable to meet the inclusion criteria even at a “very low” level of

evidentiary quality. The authors reported:

          Despite more than four decades of ongoing efforts to improve the quality of
          hormone therapy for women in transition, we found that no RCTs or suitable cohort
          studies have yet been conducted to investigate the efficacy and safety of hormonal
          treatment approaches for transgender women in transition….We found insufficient
          evidence to determine the efficacy or safety of hormonal treatment approaches…for
          transgender women in transition. The evidence is very incomplete, demonstrating
          a gap between current clinical practice and clinical research. (Haupt at 10-11.)

The authors’ frustration at the total lack of reliable research was evident: “The lack of reliable data



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  BBC. Retrieved from https://www.bbc.co.uk/sounds/play/m000kgsj; Kurkup, J. (2020, June 4). The Spectator.
Available from https://www.spectator.co.uk/article/the-nhs-has-quietly-changed-its-trans-guidance-to-reflect-reality/
3
  NHS. Retrieved from https://www.nhs.uk/conditions/gender-dysphoria/treatment/


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on hormone therapy for transitioning transgender women should encourage the development of

well-planned RCTs and cohort studies to evaluate widespread empirical practice in the treatment

of gender dysphoria.” (Haupt at 10.)

   E. Sweden
   86.      Sweden similarly commissioned a systematic review, published in 2022 and charged

with addressing these three questions:

         Are there any scientific studies explaining the increase in numbers seeking for
         gender dysphoria?

         Are there any scientific studies on long-term effects of treatment for gender
         dysphoria?

         What scientific papers on diagnosis and treatment of gender dysphoria has been
         published after the National Board of Health and Welfare in Sweden issued its
         national support for managing children and adolescents with gender dysphoria in
         2015? (SBU Scoping Review Summary 2019.)

The databases searched included CINAHL (EBSCO), Cochrane Library (Wiley), EMBASE

(Embase.com), PsychINFO (EBASCO), PubMed (NLM), Scopus (Elsevier), and SocINDEX

(EBSCO). A total of 8,867 abstracts were identified, from which 315 full text articles were

assessed for eligibility. The review concluded that “literature on management and long-term

effects in children and adolescents is sparse,” that no RCTs have been conducted, and that there

remains no explanation for the recent and dramatic increases in numbers of minors presenting with

gender dysphoria. (SBU Scoping Review Summary 2019.) I have quoted other conclusions from

the Swedish systematic review in Section II above.

   F. Finland
   87.      Finland’s Ministry of Social Affairs and Health commissioned a systematic review,

completed in 2019, of the effectiveness and safety of medicalized transition. (COHERE

Recommendation 2020.) The review spanned both minors and adults and included both puberty



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blockers and cross-sex hormones (Pasternack 2019). Three reviewers tabulated the results. In total,

38 studies were identified, of which two pertained to minors: de Vries (2011) and Costa (2015).

The report noted that, because the methodological quality of the studies was already “weak” (no

study including any control groups), the assessors declined detailed quality assessment of the

existing studies. (Pasternack 2019 at 3.) I have quoted other conclusions from the Finnish

systematic review in Section II above.

   G. Norway
   88.      Norway’s investigation of its health care policy for gender dysphoric minors also

revealed substantial safety concerns:

         There are unsettled questions related to puberty blockers in young people. A
         published study shows that puberty-inducing hormones cause slower height growth
         and a slower increase in bone density. It is also noted that the effects on cognitive
         development have not been mapped. Unexplained side effects and long-term effects
         of both puberty blockers (hormone treatment) and gender-affirming hormone
         treatments are increasingly being questioned. However, experience with other
         patient groups shows that long-term use of sex hormones can affect disease risk.
         When people with gender incongruence are treated, it is with significantly longer
         duration and intensity of hormone treatment than hormone treatments for other
         conditions. (Ukom 2023.)




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VI.      The Endocrine Society, WPATH, and the American Academy of
         Pediatrics did not conduct systematic reviews of safety and efficacy in
         establishing clinical guidelines, despite systematic reviews being the
         foundation and gold standard of evidence-based care.
   89.      I have also examined the reviews conducted by the U.S.-based professional

associations that have published standards and guidelines for the treatment of gender dysphoric

youth. As detailed herein, and unlike the European reviews, none of the U.S.-based professional

associations conducted a systematic review of both effectiveness and safety, without which they

are unable to assess the risk:benefit ratio posed by medicalized transition of minors.

   A. The Endocrine Society reviewed cross-sex hormones, but not puberty
      blockers. They reviewed safety, but did not review effectiveness research.
   90.      The Endocrine Society appointed a task force which commissioned two systematic

reviews as part of updating their 2009 recommendations. (Hembree 2017.) The scopes of the two

reviews were limited to physiological effects of cross-sex hormones, narrowly defined: “The first

one aimed to summarize the available evidence on the effect of sex steroid use in transgender

individuals on lipids and cardiovascular outcomes….The second review summarized the available

evidence regarding the effect of sex steroids on bone health in transgender individuals.” (Hembree

2017 at 3873.) As described in the Endocrine Society Guidelines, those reviews did not, however,

include the effectiveness of any treatment on mental health (quality of life, suicidality, rates of

detransition, cosmetic or functional outcomes, or improvements in feelings of gender dysphoria).

What appears to be the referenced review of lipids and cardiovascular outcomes (Maraka 2017)

did not identitify any study of adolescents, noting “literature addressing this clinical question in

the pediatric/adolescent population is completely lacking.” (Maraka at 3921.) What appears to be

the referenced review of bone health (Singh-Ospina 2017) identified only one small study on

adolescents, involving 15 male-to-female and 19 female-to-male cases. (Klink 2015.) Notably,



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the median duration of puberty-blocker administration was 1.2 years, leaving unknown the effects

on children receiving blockers from puberty onset (usually age 9–10) to age 14 or 16.

   91.      Further, the Endocrine Society does not claim to have conducted or consulted any

systematic review of the efficacy of puberty blockers or cross-sex hormones to reduce gender

dysphoria or increase mental health or well-being by any metric. Nor does it claim to have

conducted or consulted any systematic review of safety of any of these treatments for minors with

respect to brain development, future fertility, actual reversibility, or any other factor of safety or

adverse event other than cardiovascular disease and bone strength.

   92.      For all these reasons, I concur with the opinion of Dr. Guyatt, who has said that he finds

“serious problems” with the Endocrine Society guidelines, among other reasons because the only

systematic reviews those guidelines refer to did not look at the efficacy of the recommended

hormonal interventions to improve gender dysphoria, which he termed “the most important

outcome.” (Block, Gender Dysphoria 2023 at 4.)

   93.      The current Endocrine Society guidelines, released in 2017, include this disclaimer:

         The Endocrine Society makes no warranty, express or implied, regarding the
         guidelines and specifically excludes any warranties of merchantability and fitness
         for a particular use or purpose. The Society shall not be liable for direct, indirect,
         special, incidental, or consequential damages related to the use of the information
         contained herein. (Hembree 2017 at 3895.)

The previous, 2009, version included no disclaimers. (Hembree 2009.)

   B. WPATH reviewed effectiveness, but not the safety of medicalized
      transition of minors.
   94.      WPATH engaged in a multi-step process in updating its Standards of Care from version

7 to version 8. That process included commissioning a systematic review, which was published as

Baker, et al. (2021) which included the disclaimer “The authors are responsible for its content.

Statements in this report do not necessarily reflect the official views of or imply endorsement by



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WPATH.” (Baker 2021 at 14.)

   95.     The literature search was completed in June 2020, and spanned 13 questions. Two

questions related to the effectiveness of medicalized transition of minors: Question #10 was

“[W]hat are the effects of suppressing puberty with GnRH agonists on quality of life?”, and

question #11 was “[W]hat are the psychological effects (including quality of life) associated with

hormone therapy?”       (Sharma 2018; Baker 2021.) That is, the review included studies of the

effectiveness of puberty blockers and cross-sex hormones, but, remarkably did not include any

effort to determine the safety of either.

   96.     Baker (2021) identified that among all experimental evidence published on medicalized

transition, a total of “Three studies focused on adolescents.” (Baker 2021 at 1.) These were Achille,

et al. (2020), López de Lara, et al. (2020), and de Vries, et al. (2011, 2014). (Baker 2021

considered the two de Vries articles as a single study, because the later one included the subset of

patients from the earlier one who continued in treatment. I will refer to this set as four studies,

however, to be consistent with the other reviews.) Notably, in contrast with WPATH’s review, the

Swedish review entirely excluded Achille et al. (2020), López de Lara et al. (2020), and de Vries

et al. (2011) due to their high risks of bias. (SBU Scoping Review Appendix 2.) The Baker team

did not used the GRADE system for assessing the quality of evidence, instead using the Methods

Guide for Conducting Comparative Effectiveness Reviews.

   97.     The Baker team noted “no study reported separate results by gender identity for

transgender youth.” (Baker 2021 at 3.) They also found that “No study reported on hormone

therapy among nonbinary people.” (at 3.) (Despite this finding, WPATH SOC-8 now includes

recommendations for people who identify as nonbinary.)

   98.     My assessment of the Baker review revealed that there were substantial discrepancies




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and misleading ambiguities in their reporting: Baker, et al. indicated in the abstract that “Hormone

therapy was associated with increased QOL [quality of life], decreased depression, and decreased

anxiety” (Baker 2021 at 1,) and that “Associations were similar across gender identity and age”

(Baker 2021 at 12). This is not what its actual data tables showed, however. Table 2 presented the

only study of QOL specifically among adolescents included in the review and indicated that “Mean

QOL scores did not change.” (Baker 2021 at 7, italics added.)

    99.    The review, however, did not rate the quality of the studies of adolescents on their own,

instead combining them with the studies of adults. (at 10, italics added.) Table 4 of that study

presented three analyses of anxiety: One showed a decrease, and on the other two, “Mean anxiety

score did not change.” (at 11, italics added.) Finally, the review also concluded, “It was impossible

to draw conclusions about the effects of hormone therapy on death by suicide.” (at 12.) Even for

the combined set, the review read the strength of evidence to be “low” for each of QOL, depression,

and anxiety, and to be “insufficient” for death by suicide. (Baker 2021 at 13, Table 6.) Specifically,

the review indicated, “There is insufficient evidence to draw a conclusion about the effect of

hormone therapy on death by suicide among transgender people.” (at 13, Table 6.) Overall, “The

strength of evidence for these conclusions is low due to methodological limitations.” (at 12.) Of

particular concern was that “Uncontrolled confounding was a major limitation in this literature.”

(at 12.)

    100.   Additionally, although WPATH commissioned the Baker review, WPATH did not

follow its results. Baker 2021 indicated the use of two systematic quality assessment methods,

called RoB 2 and ROBINS-I (Baker 2021 at 3); however, WPATH modified the conclusions that

that process yielded. WPATH SOC-8 states, “This evidence is not only based on the published

literature (direct as well as background evidence) but also on consensus-based expert opinion.”




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(Coleman 2022 at S8.) Moreover:

        Recommendations in the SOC-8 are based on available evidence supporting
        interventions, a discussion of risks and harms, as well as feasibility and
        acceptability within different contexts and country settings. Consensus on the final
        recommendations was attained using the Delphi process that included all members
        of the guidelines committee and required that recommendation statements were
        approved by at least 75% of members. (Coleman 2022 at S8.)

    101.    By allowing “consensus-based expert opinion” to modify or overrule conclusions

supported by systematic reviews that apply accepted criteria of evidentiary strength, WPATH has

explicitly abandoned evidence-based medicine. As indicated already by the Pyramid of Evidence,

“expert opinion” represents the lowest level of evidence in science, whereas systematic review, the

highest. (Also, it is unclear what the authors mean by “background evidence.”) To modify

systematic results according to committee opinion is to re-introduce the very biases that the

systematic process is meant to overcome. The WPATH document attempts to claim the authority

of a systematic review, while reserving the ability to “overrule” results that WPATH members did

not like.

    102.    As to evidence supporting hormonal interventions in minors, WPATH asserted that “a

systematic review regarding outcomes of [hormonal] treatment in adolescents is not possible” due

to the lack of “outcome studies that follow youth into adulthood.” (Coleman 2022 at S46.) WPATH

is correct that essential outcome studies have not been done, but incorrect that this authorizes

issuance of guidelines or standards in the absence of a systematic review. As Dr. Guyatt has stated,

“systematic reviews are always possible”—and indeed an important conclusion from such a review

may be (as here) that insufficient evidence exists to support any evidence-based guideline. As Dr.

Guyatt further elaborated, if an organization issues recommendations without performing an on-

point systematic review, “they’d be violating standards of trustworthy guidelines.” (Block,

Dysphoria Rising, 2023 at 3.)



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   103.    Finally, the WPATH SOC-8 were revised immediately after their release, removing all

age minimums to all recommendations. None of these studies and none of these reviews support

such a change, and WPATH cites no studies or other document in support of the change.

   104.    In sum, the WPATH SOC8 cannot be called evidence-based guidelines under any

accepted meaning of that term.

   C. The American Academy of Pediatrics did not conduct a systematic
      review either of safety or effectiveness.
   105.    While the AAP policy statement is often referenced, the AAP did not report conducting

any systematic review of any aspect of transgender care in producing its policy statement on

gender-diverse children and adolescents. (Rafferty 2018.) Further, the AAP policy statement on

its face is the work of a single author rather than of any committee or the membership more broadly

(Dr. Rafferty “conceptualized,” “drafted,” “reviewed,” “revised,” and “approved” the statement),

and the statement explicitly states that it does not “indicate an exclusive course of treatment” nor

“serve as a standard of medical care.” (Rafferty 2018 at 1.)




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VII. Definitions of sex, gender identity, and gender dysphoria.

   A. Sex and sex-assigned-at-birth represent objective features.
   106.    Sex is an objective feature: It can be ascertained regardless of any declaration by a

person, such as by chromosomal analysis or visual inspection. Gender identity, however, is

subjective: There exists no means of either falsifying or verifying people’s declarations of their

gender identities. In science, it is the objective factors—and only the objective factors—that matter

to a valid definition. Objectively, sex can be ascertained, not only in humans or only in the modern

age, but throughout the animal kingdom and throughout its long history in natural evolution.

   107.    I use the term “sex” in this report with this objective meaning, which is consistent with

definitions articulated by multiple medical organizations:

       Endocrine Society (Bhargava 2021 at 220.)
             “Sex is dichotomous, with sex determination in the fertilized zygote stemming
             from unequal expression of sex chromosomal genes.”

       American Academy of Pediatrics (Rafferty 2018 at 2 Table 1.):
             “An assignment that is made at birth, usually male or female, typically on the
             basis of external genital anatomy but sometimes on the basis of internal gonads,
             chromosomes, or hormone levels.”

       American Psychological Association (APA Answers 2014):
             “Sex is assigned at birth, refers to one’s biological status as either male or female,
             and is associated primarily with physical attributes such as chromosomes,
             hormone prevalence, and external and internal anatomy.”

       American Psychological Association (APA Resolution 2021 at 1):
             “While gender refers to the trait characteristics and behaviors culturally associated
             with one’s sex assigned at birth, in some cases, gender may be distinct from the
             physical markers of biological sex (e.g., genitals, chromosomes).”

       American Psychiatric Association (Am. Psychiatric Ass’n Guide):
             “Sex is often described as a biological construct defined on an anatomical,
             hormonal, or genetic basis. In the U.S., individuals are assigned a sex at birth
             based on external genitalia.”

   108.    The phrases “assigned male at birth” and “assigned female at birth” are increasingly

popular, but they lack any scientific merit. Science is the systematic study of natural phenomena,


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and nothing objective changes upon humans’ labelling or re-labelling it. That is, the objective sex

of a newborn was the same on the day before as the day after the birth. Indeed, the sex of a fetus

is typically known by sonogram or amniocentesis many months before birth. The use of the term

“assign” insinuates that the label is arbitrary and that it was possible to have been assigned a

different label that is equally objective and verifiable, which is untrue. Infants were born male or

female before humans invented language at all. Indeed, it is exactly because an expected child’s

sex is known before birth that there can exist the increasingly popular “gender reveal” events.

Biologically, the sex of an individual (for humans and almost all animal species) as male or female

is irrevocably determined at the moment it is conceived. Terms such as “assign” obfuscate rather

than clarify the objective evidence.

   B. Gender identity refers to subjective feelings that cannot be defined,
      measured, or verified by science.
   109.    It is increasingly popular to define gender identity as a person’s “inner sense,” however,

neither “inner sense” nor any similar phrase is scientifically meaningful. In science, a valid

construct must be both objectively measurable and falsifiable with objective testing. The concept

of an “inner sense” fits none of these requirements.




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VIII. Gender Dysphoria is a mental health diagnosis.
   110.    Gender Dysphoria is a mental health condition defined by diagnostic criteria set out in

the Diagnostic and Statistical Manual of Mental Disorders (“DSM”) 5-TR. (American Psychiatric

Ass’n 2022.) While the definitions contain multiple components and vary modestly for children,

adolescents, and adults, all cases are characterized by a strong and lasting desire to be the opposite

sex, and “clinically significant” distress of sufficient severity to impair the individuals’ ability to

function in their daily life setting. Gender dysphoria is nowhere defined as a medical (as opposed

to mental health) condition, and it is not characterized by any disability or impairment or ill health

affecting any part of the physical body.




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IX.    Distinct mental health phenomena must not be—but frequently are—
       confused or conflated.
    111.    One of the most widespread public misunderstandings about transsexualism and people

with gender dysphoria is that all cases of gender dysphoria represent the same phenomenon;

however, the clinical science has long and consistently demonstrated that prepubescent children

expressing gender dysphoria represent a phenomenon distinct from that of adults starting to

experience it. That is, gender dysphoric children are not simply younger versions of gender

dysphoric adults. They differ in virtually every objective variable measured, including in their

responses to treatments. A third presentation has recently become increasingly observed among

people presenting to gender clinics: these cases appear to have an onset in adolescence—after the

onset of puberty and before adulthood—and occur in the absence of any childhood history of

gender dysphoria. Such cases have been called adolescent-onset or “rapid-onset” gender dysphoria

(ROGD). Despite having only recently been observed, they have quickly and greatly outnumbered

the better characterized types. Moreover, large numbers of adolescents are today self-identifying

in surveys as “gender fluid” and “non-binary.” These are not recognized mental health diagnoses,

and do not relate in any known way to gender dysphoric groups that have been the subject of

previous treatment outcome studies. Because each of these phenomena differ in multiple objective

features, it is scientifically invalid to extrapolate findings from one type to the others.

    A. Adult-Onset Gender Dysphoria consists predominantly of males sexually
       attracted to females.
    112.    Whereas Childhood-Onset Gender Dysphoria occurs in biological males and females

and is strongly associated with later homosexuality (next section), Adult-Onset Gender Dysphoria

consists primarily of biological males sexually attracted to females. (Lawrence 2010.) They

typically report being sexually attracted to women and rarely showed gender atypical (effeminate)



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behavior or interests in childhood (or adulthood). Some individuals express being sexually

attracted to both men and women, and some profess asexuality, but very few indicate having a

primary sexual interest only in men. (Blanchard 1998.) Cases of adult-onset gender dysphoria are

typically associated with a sexual interest pattern involving themselves in female form (a

paraphilia called autogynephilia). (Blanchard 1989a, 1989b, 1991.)

   113.    Because of the numerous objective differences between adult-, childhood-, and

adolescent-onset gender dysphoria, it is not possible to extrapolate from these results to juvenile

populations, which responsible authors are careful not to do.

   B. Childhood-onset gender dysphoria (prepubertal-onset) is a distinct
      phenomenon characterized by high rates of desistance in the absence of
      social or medical transition.
   114.    For many decades, small numbers of prepubescent children have been brought to

mental health professionals for help with their unhappiness with their sex and in the belief they

would be happier living as the other sex. The large majority of childhood onset cases of gender

dysphoria occur in biological males, with clinics reporting 2–6 biological male children to each

female. (Cohen-Kettenis 2003; Steensma Evidence 2018; Wood 2013.)

           1. Eleven cohort studies followed children not permitted social
              transition, all showing the majority to desist feeling gender
              dysphoric upon follow-up after puberty.
   115.    Currently, the studies of outcomes among children who experience gender dysphoria

before puberty that provide the most evidentiary strength available are only “cohort studies,”

which follow people over time, recording the outcomes of the treatments they have undergone.

Such studies supersede (i.e., overrule) the outcomes of surveys, which are much more prone to

substantial error. As I have explained above, however, cohort studies can describe developmental

pathways, but cannot provide evidence of causation.



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   116.       In total, there have been 11 cohort studies showing the outcomes for these children,

listed in Table 2. I first published this comprehensive list of studies in my own peer-reviewed

article on the topic. (Cantor 2019.)

Table 2. Cohort studies of gender dysphoric, prepubescent children.

    Count        Group                 Study

      2/16      gay
                                       Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of
      4/16      trans-/crossdress
                                       its outcome. American Journal of Psychiatry, 128, 1283–1289.
     10/16      straight/uncertain
      2/16      trans-                 Zuger, B. (1978). Effeminate behavior present in boys from
      2/16      uncertain              childhood: Ten additional years of follow-up. Comprehensive
     12/16      gay                    Psychiatry, 19, 363–369.
                                       Money, J., & Russo, A. J. (1979). Homosexual outcome of
        0/9     trans-
                                       discordant gender identity/role: Longitudinal follow-up. Journal
        9/9     gay
                                       of Pediatric Psychology, 4, 29–41.
      2/45      trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome
     10/45      uncertain              and significance for homosexuality. Journal of Nervous and
     33/45      gay                    Mental Disease, 172, 90–97.
      1/10      trans-
      2/10      gay                    Davenport, C. W. (1986). A follow-up study of 10 feminine
      3/10      uncertain              boys. Archives of Sexual Behavior, 15, 511–517.
      4/10      straight
                                       Green, R. (1987). The "sissy boy syndrome" and the devel-
      1/44      trans-
                                       opment of homosexuality. New Haven, CT: Yale University
     43/44      cis-
                                       Press.
        0/8     trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient
        8/8     cis-                   treatment help? Medical Journal of Australia, 146, 565–569.
                                       Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual
     21/54      trans-
                                       outcome of gender-dysphoric children. Journal of the American
     33/54      cis-
                                       Academy of Child and Adolescent Psychiatry, 47, 1413–1423.
      3/25      trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker,
      6/25      lesbian/bi-            K. J. (2008). A follow-up study of girls with gender identity
     16/25      straight               disorder. Developmental Psychology, 44, 34–45.
                                       Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A.
                                       J., & Cohen-Kettenis, P. T. (2013). Factors associated with
    47/127      trans-
                                       desistence and persistence of childhood gender dysphoria: A
    80/127      cis-
                                       quantitative follow-up study. Journal of the American Academy of
                                       Child and Adolescent Psychiatry, 52, 582–590.




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                                     Singh, D., Bradley, S. J., Zucker, K. J. (2021). A follow-up study
    17/139     trans-
                                     of boys with Gender Identity Disorder. Frontiers in Psychiatry,
   122/139     cis-
                                     12:632784.

*For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.

   117.      The children in these studies were receiving professional mental health support during

the study period, but did not “socially transition.” In sum, despite coming from a variety of

countries, conducted by a variety of labs, using a variety of methods, at various times across four

decades, every study without exception has come to the identical conclusion: among prepubescent

children who feel gender dysphoric, the majority cease to want to be the other gender over the

course of puberty—ranging from 61–88% desistance across the large, prospective studies. Such

cases are often referred to as “desisters,” whereas children who continue to feel gender dysphoric

are often called “persisters.”

   118.      This interpretation of these studies is widely accepted, including by the Endocrine

Society, which concluded:

       In most children diagnosed with GD/gender incongruence, it did not persist into
       adolescence. . . . [T]he large majority (about 85%) of prepubertal children with a
       childhood diagnosis did not remain GD/gender incongruent in adolescence.
       (Hembree 2017 at 3879.)

The developers of the Dutch Protocol, at the Vrije University gender clinic, likewise concluded

based on these studies that “Although the persistence rates differed between the various

studies…the results unequivocally showed that the gender dysphoria remitted after puberty in the

vast majority of children.” (Steensma & Cohen-Kettenis 2011 at 2.)

   119.      The consistent observation of high rates of desistance among pre-pubertal children who

present with gender dysphoria demonstrates a pivotally important—yet often overlooked—

feature: because gender dysphoria so often desists on its own, clinical researchers cannot assume

that therapeutic intervention cannot facilitate or speed desistance for at least some patients. That



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is, it cannot be assumed that gender identity is immune to influence such as from psychotherapy.

Such is an empirical question, and there has not yet been any such research.

   120.    These same studies are often vaguely cited to assert that the high desistance rates

uniformly reported in these 11 studies do not apply to children who have persisted until “the start

of puberty” (which is taken to mean Tanner Stage 2), or in an alternative phrasing, that children

“who persist until the start of puberty” are likely to continue to persist into adulthood. But these

studies taken together do not support that degree of precision. Rather, the studies do not specify at

exactly what developmental stage the reported desistance occurred—what they report is that the

subjects had desisted by late adolescence or early adulthood. I am aware of no systematic study

that establishes that— in the absence of social and/or medical transition—children who experience

gender dysphoria are unlikely to desist if they have not desisted by the start of Tanner Stage 2.

           2. One cohort study followed children who were permitted social
              transition. In contrast with children not permitted to transition
              socially, most persisted in expressing gender dysphoria.
   121.    In contrast, Olson et al. have now published a single cohort study of prepubescent

children, ages 3–12 (average of 8), who had already made a complete, binary (rather than

intermediate) social transition, including a change of pronouns. (Olson 2022.) The study did not

employ DSM-5 diagnosis, as “Many parents in this study did not believe that such diagnoses were

either ethical or useful and some children did not experience the required distress criterion.” (Olson

2022.) Unlike the prior research studies, only 7.3% of these (socially transitioned) children ceased

to feel gender dysphoric.

   122.    Although the team publishing this cohort study did not discuss it, their finding matches

the prediction of other researchers, that social transition itself represents an active intervention,

such that social transition may cause the persistence of gender dysphoria when it would have



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otherwise resolved, avoiding any need for subsequent medicalization and its attendant risks.

Conversely stated, social transition seems to prevent desistance. (Singh 2021; Zucker 2018, 2020.)

   123.    As recognized by multiple authors, the potential impact of social transition on rates of

desistance is pivotal. The Endocrine Society cautions that “social transition...has been found to

contribute to the likelihood of persistence.” (Hembree 2017 at 3879.) WPATH has stated that after

social transition, “A change back to the original gender role can be highly distressing and [social

transition can] even result in postponement of this second transition on the child’s part.” (Coleman

2012 at 176.) In 2013, prominent Vrije University researchers observed:

       Childhood social transitions were important predictors of persistence, especially
       among natal boys. Social transitions were associated with more intense GD in
       childhood, but have never been independently studied regarding the possible
       impact of the social transition itself on cognitive representation of gender identity
       or persistence. [Social transition] may, with the hypothesized link between social
       transitioning and the cognitive representation of the self, influence the future rates
       of persistence. (Steensma 2013 at 588-589.)

           3. There is no reliable method for predicting for which children who
              present with gender dysphoria will persist versus desist.
   124.    The Endocrine Society Guidelines stated in 2017 that “With current knowledge, we

cannot predict the psychosexual outcome for any specific child” (Hembree 2017 at 3876), and this

remains true today. Research has not yet identified any reliable procedure for discerning which

children who present with gender dysphoria will persist, as against the large majority who will

desist, absent transition and “affirmation.” Such a method would be valuable, as the more

accurately that potential persisters can be distinguished from desisters, the better the risks and

benefits of options can be weighted. Such “risk prediction” and “test construction” are standard

components of applied statistics in the behavioral sciences. Multiple research teams have reported

that, on average, groups of persisters are somewhat more gender non-conforming than desisters,

but not so different as to usefully predict the course of any particular child. (Singh 2021;



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Steensma 2013.)

    125.    In contrast, one research team (the aforementioned Olson group) claimed the opposite,

asserting that they developed a method of distinguishing persisters from desisters, using a single

composite score representing a combination of children’s “peer preference, toy preference,

clothing preference, gender similarity, and gender identity.” (Rae 2019 at 671.) They reported a

statistical association (mathematically equivalent to a correlation) between that composite score

and the probability of persistence. As they indicated, “Our model predicted that a child with a

gender-nonconformity score of .50 would have roughly a .30 probability . . . of socially

transitioning. By contrast, a child with gender-nonconformity score of .75 would have roughly a

.48 probability.” (Rae 2019 at 673.) Although the Olson team declared that “social transitions may

be predictable from gender identification and preferences” (Rae 2019 at 669), their actual results

suggest the opposite: the gender-nonconforming group who went on to transition (socially) had a

mean composite score of .73 (which is less than .75), and the gender-nonconforming group who

did not transition had a mean composite score of .61, also less than .75. (Rae 2019, Supplemental

material at 6, Table S1.) Both of those are lower than the value of .75, so both of those would be

more likely than not to desist, rather than to proceed to transition. That is, Olson’s model does not

distinguish likely from unlikely to transition; rather, it distinguishes unlikely from even less likely

to transition.

    126.    Further, in the absence of long-term follow-up, it cannot be known what proportion of

those who transition and persist through the early stages of puberty will later (for example as young

adults) come to regret having transitioned and then detransition. Because only a minority of gender

dysphoric children persist in feeling gender dysphoric in the first place, “transition-on-demand”

increases the probability of unnecessary transition and unnecessary medical risks.




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           4. Temple Newhook’s attempts to dismiss evidence of high rates of
              desistance from childhood gender dysphoria are invalid.
   127.    The unanimous consistency across all 11 cohort studies of (non-transitioned) gender

dysphoric children offers high confidence in the conclusion that most childhood-onset cases desist

during the course of puberty. In 2018, however, a commentary was published, contesting that

conclusion, criticizing four studies. (Temple Newhook 2018.) Multiple accomplished international

researchers studying outcomes of gender dysphoric children responded (Zucker 2018; Steensma

& Cohen-Kettenis 2018), to which the Temple Newhook team wrote a rejoinder. (Winters 2018.)

I have reviewed each of these arguments, finding that the Temple Newhook comments rely on

demonstrable falsehoods, whereas the responses remain consistent with the peer-reviewed

evidence. The Temple Newhook commentary has not altered the consensus of the international

medical community, which continues to cite and rely upon these cohort studies.

   128.    Before delineating each of their arguments, it should be noted that the Temple

Newhook team based their analysis on the wrong research reports, attacking only a straw-person

version of the contents of the research literature. Table 3 repeats the 11 cohort studies (on the left

left) and the four studies Temple Newhook criticized (right):




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Table 3.

                           Lebovitz (1972)
                           Zuger (1978)
                           Money & Russo (1979)
                           Zuger (1984)
                           Davenport (1986)
                           Green (1987)
                           Kosky (1987)
                                                                    Wallien & Cohen-Kettenis (2008)
                           Wallien & Cohen-
                            Kettenis (2008)                         Drummond, et al. (2008)
                           Drummond, et al. (2008)                 Steensma, et al. (2011, 2013)
                           Steensma, et al. (2013)
                           Singh, 2012/Singh, et al.
                            (2021)4

      129.    It should be noted that the Temple Newhook 2018 commentary does not represent a

systematic review. Temple Newhook did not indicate search strategies, inclusion/exclusion

criteria, coding methods, reliability checks, or other standard procedures used for ensuring

objective and unbiased assessment of all relevant studies. Rather, the Temple Newhook analysis

targeted a small and selective subset of the research available—a scientifically invalid endeavor,

which the systematic review process is meant to prevent. Not only did Temple Newhook skip most

of the relevant science, but conversely, Temple Newhook inserted the Steensma 2011 study, which

should have been rejected. (The data it reported was already included in Wallien & Cohen-Kettenis

2008.) The Temple Newhook commentary claimed it was “systematically engaging scholarly

literature.” (Temple Newhook 2018 at 2.) However, as the above reference lists demonstrate, that

commentary involved no such systematic procedures.

      130.    Temple Newhook does not report any research evidence of its own. Rather, the

commentary hypothesizes issues they assert could, theoretically, have affected the rates of

desistance consistently detected. Scientifically, such a criticism is vacuous: In science, it is always


4
    At the time of the 2018 Temple Newhook commentary, the Singh et al., 2021 study was available as Singh, 2012.


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possible for additional, external factors to have affected what was observed.

   131.    Also, as already detailed herein, the currently available level of evidence for outcomes

of medicalized transition is the cohort study. The methodological issues highlighted by Temple

Newhook are exactly why randomized, controlled trials (RCTs) need to be conducted, as such

studies would be capable of resolving exactly those questions (in whichever direction). In the

absence of randomized, controlled studies, however, the correct scientific process is to follow the

results of the cohort studies (that is, the systematic reviews of the cohort studies).

   132.    In the science process, one cannot merely continue to retain a desired hypothesis,

rejecting all counter-evidence until a perfect study emerges. This is especially important in clinical

science, when the hypothesis relates to physical interventions, in children, with the potential to

affect them for their entire lives. Rather, the scientific process proceeds by successive

approximation, with results from the best available research replacing lesser quality research,

increasing in confidence, but always with the possibility of changes imposed by future evidence.

   133.    By involving only a few of the full set of cohort studies, the Temple Newhook

commentary removes one of the most compelling implications of the existing (cohort) studies:

Their results are unanimous. However unlikely it might be for four studies to produce the same

result randomly, it is even more unlikely for eleven studies all to come to the same result randomly.

   134.    Temple Newhook emphasized that gender identity issues differ across times and

contexts/political environments, hypothesizing that children attending her clinic might differ from

children attending the Toronto and the Amsterdam clinics. Returning once again to the full set of

all studies, however, the evidence shows the very opposite: All studies yielded the same result,

whether from the 1970s, 80s, 90s, 2000s, 2010s, and wherever in the world any clinic was.

Acknowledging the possibility that future studies may lead to a different conclusion, the existing




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evidence shows majority desistance, constantly and across all time periods.

   135.    Consideration of the full set of studies also indicates that the contrast is not Toronto

and Amsterdam versus whatever “reality” Temple Newhook perceives. Rather, they show the

contrast is between Temple Newhook and every facility in every country ever reporting desistance

data on childhood-onset gender dysphoria. Moreover, despite Temple Newhook’s mention of

influences of political cultures, that commentary does not point out that Canada and the

Netherlands are much more politically liberal than the U.S. Although the commentary offers the

hypothesis that the Canadian and Dutch contexts might decrease persistence, the commentary does

not include the inverse possibility: that these liberal environments might be “iatrogenic”—that is,

causing dysphoria to continue when it might otherwise remit.

   136.    Also, the very evidence suggesting that gender dysphoria can be influenced by local

environmental factors is itself evidence that gender identity is not, in fact, an innate and immutable

feature, potentially amenable to change.

   C. Adolescent-Onset Gender Dysphoria, the predominant clinical
      population today, is a distinct and largely unstudied phenomenon.
   137.    Concurrent with the advent of social media, a third profile began appearing clinically

and socially, characteristically distinct from the two previously identified profiles. (Kaltiala-Heino

2015; Littman 2018.) Despite lacking any history before the current generation, this profile has

now numerically overwhelmed the previously known and better characterized types in clinics and

on Internet surveys. Unlike adult-onset or childhood-onset gender dysphoria, this group is

predominately biologically female. This group typically presents in adolescence, but lacks the

history of cross-gender behavior in childhood like the childhood-onset cases have. It is that feature




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which led to the term Rapid Onset Gender Dysphoria (ROGD). (Littman 2018.) 5 Cases commonly

appear to occur within clusters of peers in association with increased social media use (Littman

2018), and among people with autism or other mental health issues. (Kaltiala-Heino 2015; Littman

2018; Warrier 2020.) (See section XI on Mental Health.) The patterns reported by Littman have

now been independently replicated by another study which also found it to be a predominantly

female phenomenon, associated with very high rates of social media use, among youth with other

mental health issues, and in association with peers expressing gender dysphoria issues. (Diaz

2023.) Due to the multiple differences across the epidemiological and other objective variables,

there is no justification for extrapolating findings from adult-onset or childhood-onset gender

dysphoria to this new presentation.

    138.     There do not yet exist any cohort studies of people with adolescent-onset gender

dysphoria undergoing medicalized transition. Current studies are limited to surveys typically of

volunteers from activist and support groups on the Internet.

    139.     Moreover, no study has yet been organized in such a way as to allow for a distinct

analysis of the adolescent-onset group, as distinct from childhood-onset or adult-onset cases. Many

published studies fail to distinguish between people who had childhood-onset gender dysphoria

and have aged into adolescence versus people whose onset was not until adolescence.

(Analogously, there are reports failing to distinguish people who had adolescent-onset gender

dysphoria and aged into adulthood from adult-onset gender dysphoria.) Studies selecting groups

according to their current age instead of their ages of onset produces confounded results,

representing unclear mixes according to how many of each type of case wound up in the final



5
 After initial criticism, the publishing journal conducted a reassessment of the article. The article was expanded with
additional detail and republished. The relevant results were unchanged. Littman’s paper as revised has been widely
cited.


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sample.




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X.      Suicide and suicidality are distinct phenomena representing different
        mental health issues and indicating different clinical needs.
     140.   Suicide refers to completed suicides and the sincere intent to die. It is substantially

associated with impulsivity, using more lethal means, and being a biological male. (Freeman

2017.) Suicidality refers to para-suicidal behaviors, including suicidal ideation, threats, and

gestures.

     A. Rates of suicidality among all adolescents have skyrocketed with the
        advent of social media.
     141.   The CDC’s 2019 Youth Risk Behavior Survey found that 24.1% of female and 13.3%

of male high school students reported “seriously considering attempting suicide.” (Ivey-

Stephenson 2019 at 48.)

     142.   The CDC survey reported not only that these already alarming rates of suicide attempt

were still increasing (by 8.1%–11.0% per year), but also that this increase was occurring only

among female students. No such trend was observed among male students. That is, the

demographic increasingly reporting suicidality is the same demographic increasingly reporting

gender dysphoria. (Ivey-Stephenson at 51.)

     143.   The U.S. Substance Abuse and Mental Health Services Administration (SAMHSA)

produces a series of evidence-based resource guides which includes their Treatment for Suicidal

Ideation, Self-Harm, and Suicide Attempts Among Youth. It noted (italics added):

        [F]rom 1999 through 2018, the suicide death rate doubled for females aged 15 to
        19 and 20 to 24. For youth aged 10 to 14, the suicide death rate more than tripled
        from 2001 to 2018. Explanations for the increase in suicide may include bullying,
        social isolation, increase in technology and social media, increase in mental
        illnesses, and economic recession. (SAMHSA 2020 at 5.)

The danger potentially posed by social media follows from suicidality spreading as a social

contagion, as suicidality increases after media reports, occurs in clusters of social groups, and in



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adolescents after the death of a peer. (Gould & Lake 2013.)

   144.    Social media voices today loudly advocate “hormones-on-demand” while issuing

hyperbolic warnings that teens will commit suicide unless this is not granted. Both adolescents and

parents are exposed to the widely circulated slogan that “I’d rather have a living son than a dead

daughter,” and such baseless threats or fears are treated as a justification for referring to affirming

gender transitions as ‘life-saving’ or ‘medically necessary’. Such claims grossly misrepresent the

research literature, however. Indeed, they are unethical: suicide prevention research and public

health campaigns repeatedly warn against circulating messages that can be taken to publicize or

even glorify suicide, due to the risk of copy-cat behavior they encourage. (Gould & Lake 2013.)

   145.    Systematic review of 44 studies of suicidal thoughts and behaviors in LGBTQ youth

and suicidality found only a small association between suicidality and sexual minority stress.

(Hatchel 2021.) The quantitative summary of the studies (an especially powerful type of systematic

review called meta-analysis) found no statistically significant association between suicidality and

any of having an unsupportive school climate, stigma and discrimination, or outness/openness.

There were, however, significant associations between suicidality and indicators of social

functioning problems, including violence from intimate partners, victimization from LGBT peers

and from non-LGBT peers, and sexual risk taking.

   B. Suicidality is substantially more common among females, and suicide,
      among males. Sexual orientation is strongly associated with suicidality,
      but much less associated with suicide.
   146.    Notwithstanding public misconceptions about the frequency of suicide and related

behaviors, the highest rates of death by suicide are among middle-aged and elderly men in high

income countries. (Turecki & Brent 2016 at 3.) Males are at three times greater risk of death by

suicide than are females, whereas suicidal ideation, plans, and attempts are three times more



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common among females. (Klonsky 2016; Turecki & Brent 2016.) In contrast with completed

suicides, the frequency of suicidal ideation, plans, and attempts is highest during adolescence and

young adulthood, with reported ideation rates spanning 12.1–33%. (Borges 2010; Nock 2008.)

Relative to other countries, Americans report elevated rates of each of suicidal ideation (15.6%),

plans (5.4%), and attempts (5.0%). (Klonsky 2016.) Suicide attempts occur up to 30 times more

frequently than completed suicides. (Bachmann 2018.) The rate of completed suicides in the U.S.

population is 14.5 per 100,000 people. (WHO 2022.)

   147.    There is substantial research associating sexual orientation with suicidality, but much

less so with completed suicide. (Haas 2014.) More specifically, there is some evidence suggesting

gay adult men are more likely to die by suicide than are heterosexual men, but there is less evidence

of an analogous pattern among lesbian women. Regarding suicidality, surveys of self-identified

LGB Americans repeatedly report rates of suicidal ideation and suicide attempts 2–7 times higher

than their heterosexual counterparts. Because of this association of suicidality with sexual

orientation, one must apply caution in interpreting findings allegedly about gender identity:

because of the overlap between people who self-identify as non-heterosexual and as transgender

or gender diverse, correlations detected between suicidality and gender dysphoria may instead

reflect (be confounded by) sexual orientation. Indeed, other authors have made explicit their

surprise that so many studies, purportedly of gender identity, entirely omitted measurement or

consideration of sexual orientation, creating the situation where features that seem to be associated

with gender identity instead reflect the sexual orientation of the members of the sample. (McNeil

2017.)

   C. There is no evidence that medicalized transition reduces rates of suicide
      or suicidality.
   148.    It is repeatedly asserted that despite the known risks, despite the lack of research into


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the reality or severity of unquantified risks, it is essential and “the only ethical response” to provide

medical transition to minors because medical transition is known to reduce the likelihood of

suicide among minors who suffer from gender dysphoria. This is simply untrue. No studies have

documented any reduction in suicide rates in minors (or any population) as a result of medical

transition. No methodologically sound studies have provided meaningful evidence that medical

transition reduces suicidality in minors. Instead, multiple studies show tragically high rates of

suicide after medical transition, with that rate beginning to spike several years after medical

transition.

    149.      Among post-transition adults, completed suicide rates remain elevated. (Wiepjes 2020.)

Among post-operative transsexual adults in Sweden’s highly tolerant society, death by suicide is

19 times higher than among the cisgendered. (Dhejne 2011.) Systematic review of 17 studies of

suicidality in transsexual adults confirmed suicide rates remain elevated even after complete

transition. (McNeil 2017.) Among post-operative patients in the Netherlands, long-term suicide

rates of six times to eight times that of the general population were observed depending on age

group. (Asscheman 2011 at 638.) Also studying patients in the Netherlands, Wiepjes et al. (2020)

reported the “important finding” that “suicide occurs similarly” before and after medical transition.

(Wiepjes 2020 at 490.) In other words, transition did not reduce suicide. A very large dataset from

the U.K. GIDS clinic showed that those referred to the GIDS clinic for evaluation and treatment

for gender dysphoria committed suicide at a rate five times that of the general population, both

before and after commencement of medical transition (Biggs 2022). Finally, in a still-ongoing

longitudinal study of U.S. patients, Chen et al. have reported a shockingly high rate of completed

suicide among adolescent subjects in the first two years after hormonal transition, although they

provide no pre-treatment data for this population to compare against. (Chen 2023 at 245.)




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   150.    WPATH’s systematic review of the effectiveness of puberty blockers and cross-sex

hormones on suicide in minors concluded that “It was impossible to draw conclusions about the

effects of [either] hormone therapy on death by suicide.” (Baker 2021 at 12.) In short, I am aware

of no respected voice that asserts that medical transition reduces suicide among minors who suffer

from gender dysphoria.

   151.    As to the separate and far more common phenomenon of suicidality, of course, that

claim is widely made. McNeil’s systematic review revealed, however, a complicated set of

interrelated factors rather than supporting the common hypothesis that rates of suicidal ideation

and suicidal attempts would decrease upon transition. Rates of suicidal ideation did not show the

same pattern as suicide attempts, male-to-female transitioners did not show the same patterns as

female-to-male transitioners, and social transition did not show the same patterns as medical

transition. Importantly, the review included one study that reported “a positive relationship

between higher levels of social support from leaders (e.g., employers or teachers) and increased

suicide attempt, which they suggested may be due to attempts instigating increased support from

those around the person, rather than causing it.” (McNeil 2017 at 348.)

   152.    Moreover, the 2020 Kuper, et al. cohort study of minors receiving hormone treatment

found increases in each of suicidal ideation (from 25% to 38%), attempts (from 2% to 5%), and

non-suicidal self-injury (10% to 17%). (Kuper 2020 at Table 5.) Research has found social support

to be associated with increased suicide attempts, suggesting the reported suicidality may represent

attempts to evoke more support. (Bauer 2015; Canetto 2021.)

   153.    Overall, the research evidence is only minimally consistent with the hypothesis that an

absence of transition causes mental health issues and suicide, but very strongly consistent with the

hypothesis that mental health issues, such as Borderline Personality Disorder (BPD), cause both




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suicidality and unstable identity formation (including gender identity confusion). (See section XI.)

BPD is repeatedly documented to be greatly elevated among sexuality minorities (Reuter 2016;

Rodriguez-Seiljas 2021; Zanarini 2021), and both suicidality and identity confusion are symptoms

of that disorder. Thus, diverting distressed youth towards transition necessarily diverts youth away

from receiving the psychotherapies designed for treating the issues actually causing their distress.

   154.    Despite that mental health issues, including suicidality, are repeatedly required by

clinical standards of care to be resolved before transition, threats of suicide are instead oftentimes

used as the very justification for labelling transition a “medical necessity”. However plausible it

might seem that failing to affirm transition causes suicidality, the epidemiological evidence does

not support that hypothesis.




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XI.    Mental health profiles differ across adult-, adolescent-, and childhood-
       onset gender dysphoria.

   A. Mental health issues in Adult-Onset Gender Dysphoria.
   155.    Systematic review of all studies examining mental health issues in transgender adults

identified 38 such studies. (Dhejne 2016.) The review indicated that many studies were

methodologically weak, but nonetheless consistently found (1) that the average rate of mental

health issues among adults is highly elevated both before and after transition, (2) but that the

average was less elevated among adults who completed transition. It could not be concluded that

transition improves mental health, however. Patients were commonly receiving concurrent

psychotherapy, introducing a confound (meaning, again, that it cannot be determined whether the

change was caused by the transitioning or the mental health treatment). Further, several studies

showed more than 40% of patients to become “lost to follow-up.” It remains unknowable to what

extent the information from the remaining participants accurately reflects the whole population.

   B. Mental health issues in Childhood-Onset Gender Dysphoria.
   156.    Elevated rates of multiple mental health issues among gender dysphoric children are

reported throughout the research literature. A formal analysis of children (ages 4–11) undergoing

assessment at the Dutch child gender clinic showed that 52% fulfilled criteria for a formal DSM

diagnosis of a clinical mental health condition other than Gender Dysphoria. (Wallien 2007 at

1307.) A comparison of the children attending the Canadian versus Dutch child gender dysphoria

clinic showed only few differences between them, and a large proportion in both groups were

diagnosable with clinically significant mental health issues. Results of standard assessment

instruments (Child Behavior Check List, or CBCL) demonstrated that among 6–11-year-olds,

61.7% of the Canadian and 62.1% of the Dutch sample satisfied the diagnostic criteria for one or

more mental health conditions other than gender dysphoria. (Cohen-Kettenis 2003 at 46-47.)


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   157.      A systematic review of all studies of Autism Spectrum Disorders (ASDs) and

Attention-Deficit Hyperactivity Disorder (ADHD) among children diagnosed with gender

dysphoria was recently conducted. (Thrower 2020.) It was able to identify a total of 22 studies

examining the prevalence of ASD or ADHD youth with gender dysphoria. Studies reviewing

medical records of children and adolescents referred to gender clinics showed 6–26% to have been

diagnosed with ASD. (Thrower 2020 at 695.) Moreover, those authors gave specific caution on

the “considerable overlap between symptoms of ASD and symptoms of gender variance,

exemplified by the subthreshold group which may display symptoms which could be interpreted

as either ASD or gender variance. Overlap between symptoms of ASD and symptoms of GD may

well confound results.” (Thrower 2020 at 703.) The rate of ADHD among children with GD was

8.3–11%. Conversely, data from children (ages 6–18) with Autism Spectrum Disorders (ASDs)

show they are more than seven times more likely to have parent-reported “gender variance.”

(Janssen 2016 at 63.)

   158.      As shown by the outcomes studies (see Section XIII), there is little reliable evidence

that transition improves the mental well-being of children. As shown repeatedly by clinical

guidelines from multiple professional associations, mental health issues are expected or required

to be resolved before undergoing transition. The reasoning behind these conclusions is that

children may be expressing gender dysphoria, not because they are experiencing what gender

dysphoric adults report, but because they mistake what their experiences indicate or to what they

might lead. For example, a child experiencing depression from social isolation might develop the

hope—and the unrealistic expectation—that transition will help them fit in, as a member of the

other sex.

   159.      In cases where gender dysphoria is secondary to a different issue, efforts at transition




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are aiming at the wrong target and leave the primary issue(s) unaddressed. Given the highly

reliable, repeatedly replicated finding that childhood-onset gender dysphoria resolves with puberty

for the large majority of children, the evidence indicates that blocking a child’s puberty blocks the

child’s natural maturation that itself would resolve the dysphoria.

   C. Mental health issues in Adolescent-Onset Gender Dysphoria (ROGD).
   160.    The literature varies in the range of gender dysphoric adolescents with co-occurring

disorders. In addition to self-reported rates of suicidality (see Section X), clinical assessments

reveal elevated rates not only of depression (Holt 2016; Skagerberg 2013; Wallien 2007), but also

anxiety disorders, disruptive behavior difficulties, Attention Deficit/Hyperactivity Disorder,

Autism Spectrum Disorder, and personality disorders, especially Borderline Personality Disorder

(BPD). (Anzani 2020; de Vries 2010; Jacobs 2014; Janssen 2016; May 2016; Strang 2014, 2016;

Swedish Socialstyrelsen, Evolution 2020.)

   161.    Of particular concern in the context of adolescent-onset gender dysphoria is Borderline

Personality Disorder (BPD; diagnostic criteria in Table X below). Symptoms of BPD overlap in

important respects with symptoms commonly interpreted as signs of gender dysphoria, and it is

increasingly hypothesized that very many cases appearing to be adolescent-onset gender dysphoria

actually represent cases of BPD. (E.g. Anzani 2020; Zucker 2019.) That is, some people may be

misinterpreting their experiencing of the broader “identity disturbance” of symptom Criterion 3 to

represent a gender identity issue specifically. Like adolescent-onset gender dysphoria, BPD begins

to manifest in adolescence, is three times more common in biological females than males, and

occurs in 2–3% of the population, rather than 1-in-5,000 people. (Thus, if even only a portion of

people with BPD experienced an identity disturbance, and focused that disturbance on gender

identity resulting in transgender identification, they could easily overwhelm the number of genuine




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cases of gender dysphoria.)

Table 4. DSM-5-TR Diagnostic Criteria for Borderline Personality Disorder.

       A pervasive pattern of instability of interpersonal relationships, self-image, and
       affects, and marked impulsivity beginning by early adulthood and present in a
       variety of contexts, as indicated by five (or more) of the following:

       1. Frantic efforts to avoid real or imagined abandonment. (Note: Do not include
           suicidal or self-mutilating behaviour covered in Criterion 5.)
       2. A pattern of unstable and intense interpersonal relationship characterized by
           alternating between extremes of idealization and devaluation.
       3. Identity disturbance: markedly and persistently unstable self-image or sense of self.
       4. Impulsivity in at least two areas that are potentially self-damaging (e.g., spending,
           sex, substance abuse, reckless driving, binge eating). (Note: Do not include suicidal
           or self-mutilating behavior covered in Criterion 5.)
       5. Recurrent suicidal behaviour, gestures, or threats, or self-mutilating behavior.
       6. Affective instability due to a marked reactivity of mood (e.g., intense episodic
           dysphoria, irritability, or anxiety usually lasting a few hours and only rarely more
           than a few days).
       7. Chronic feelings of emptiness.
       8. Inappropriate, intense anger or difficulty controlling anger (e.g., frequent displays
           of temper, constant anger, recurrent physical fights).
       9. Transient, stress-related paranoid ideation or severe dissociative symptoms.
       (Italics added.)

(American Psychiatric Association 2022 at 752-753.)

   162.    Mistaking cases of BPD for cases of Gender Dysphoria may prevent such youth from

receiving the correct mental health services for their condition. A primary cause for concern is

symptom Criterion 5: recurrent suicidality. (See Section X on suicide and suicidality.) Regarding

the provision of mental health care, the distinction between these conditions is crucial: A person

with BPD going undiagnosed will not receive the appropriate treatments (the currently most

effective of which is Dialectical Behavior Therapy). The problem was not about gender identity,

but about having an unstable identity.

   163.    Regarding research, there have now been several attempts to document rates of

suicidality among gender dysphoric adolescents. The scientific concern presented by BPD is that


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it poses a potential confound: samples of gender dysphoric adolescents could appear to have

elevated rates of suicidality, not because of the gender dysphoria (or transphobia in society), but

because of the number of people with BPD in the sample.

   D. Neuroimaging studies have associated brain features with sex and with
      sexual orientation, but not gender identity. .
   164.    Claims that transgender identity is an innate property resulting from brain structure

remain unproven. Neuroimaging and other studies of brain anatomy repeatedly identify patterns

distinguishing male from female brains, but when analyses search for those patterns among

transgender individuals, “gender identity and gender incongruence could not be reliably

identified.” (Baldinger-Melich 2020 at 1345.) Although much smaller than male/female

differences, statistically significant neurological differences are repeatedly associated with sexual

orientation (termed “homosexual” vs “nonhomosexual” in the research literature). Importantly,

despite the powerful associations between transsexuality and homosexuality, as explicated by

Blanchard, many studies analyzing gender identity failed to control for sexual orientation,

representing a problematic and centrally important confound. I myself pointed this out in the

research literature, noting that neuroanatomical differences attributed to gender dysphoria should

instead be attributed to sexual orientation. (Cantor 2011, Cantor 2012.) A more recent review of

the science, by Guillamon, et al. (2016), agreed, stating:

       Following this line of thought, Cantor (2011, 2012, but also see Italiano, 2012) has
       recently suggested that Blanchard’s predictions have been fulfilled in two
       independent structural neuroimaging studies. Specifically, Savic and Arver (2011)
       using VBM on the cortex of untreated nonhomosexual MtFs and another study
       using DTI in homosexual MtFs (Rametti et al., 2011b) illustrate the predictions.
       Cantor seems to be right”. (Guillamon 2016 at 1634, italics added; see also Italiano
       2012.)

In addition to this confound, because snapshot neurobiological studies can provide only

correlational data, it would not be not possible for such studies to distinguish whether brain



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differences cause gender identity or if gender atypical behavior modifies the brain over time, such

as through neuroplasticity. As noted by one team of neuroscientists, “[I]t remains unclear if the

differences in brain phenotype of transgender people may be the result of a sex-atypical neural

development or of a lifelong experience of gender non-conformity.” (Fisher 2020 at 1731.) In sum,

at present assertions that transgender identity is caused by neurology represent faith, not science.




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XII. Medicalized transition of gender remains experimental, lacking causal
     evidence of mental health improvement.

   A. Criteria distinguishing ‘experimental’ from ‘established’.
   165.    In science, the term “experimental” has a specific technical meaning. Within the

scientific method, research studies can be observational or experimental. Among observational

studies, such as surveys, the researchers do not administer any treatment and instead only describe

the features of the group observed. Among experimental studies, treatments are actively

administered by the researchers, who then compare the treated and untreated groups (or compare

a group to itself, before versus after treatment). Also, within a given treatment study, the term

“experimental treatment” would be used to distinguish it from the “control treatment” or

“treatment-as-usual” being provided to the control group.

   166.    Outside research studies and within public and legal contexts, the term ‘experimental’

typically denotes ‘unverified by experimental evidence’. A treatment would continue to be

experimental until the demonstration of (1) reliable, clinically meaningful improvement and (2)

the reliable estimation of safety risks in randomized, controlled trials (RCTs) or research of

equivalent level of evidence. A treatment would remain experimental while its effects, including

side effects, remain uninvestigated.

   167.    Being long-standing, popular, or familiar do not, of themselves, impact whether a

treatment is experimental—they suggest opportunities for the experiments to have been done.

Clinicians’ feelings of self-confidence do not impact status as experimental.

   B. International consensus explicitly regards gender transition to be
      experimental.
   168.    In England, after a thorough review of the literature and the current practice, Dr. Cass

stated that the critical and currently unanswered question “is whether the evidence for the use and



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safety of the medication is strong enough as judged by reasonable clinical standards.” She

recognized that these treatments cannot formally be called “experimental” not because they are

proven, but because the experiments needed to test their efficacy and safety have not only not been

done, but are not even being attempted. (Cass 2022 at 37.) To address this, Dr. Cass called for “the

rapid establishment of the necessary research infrastructure to prospectively enrol young people

being considered for hormone treatment into a formal research programme.” (Cass Review Letter

2022). In response, in its interim service specification NHS England states that it “will only

commission GnRHa [i.e., puberty blockers] in the context of a formal research protocol.” (NHS

2022 at 12.)

   169.    Finland, by law, restricts all assessment and treatment activities for gender dysphoric

minors to its two research clinics, Helsinki University Central Hospital and Tampere University

Hospital. (COHERE Summary.) Further, after conducting a systematic review of the research, the

council responsible for the assessment of public health care services in Finland (COHERE Finland)

concluded, “In light of available evidence, gender reassignment of minors is an experimental

practice.” (COHERE Summary, italics added.)

   170.    Sweden’s research on gender transition is conducted at the Karolinska Institutet in

Stockholm. In 2015, that facility registered its research on medicalized transition with the U.S.

National Institutes for Health (NIH), noting “[H]ormonal treatment includes inhibition of one’s

own sex hormone production followed by treatment with testosterone or estrogen levels that are

normal for the opposite sex. Seen as experimental model, this is a process that provides an

opportunity to study the sex hormone dependent influences.” (Clinicaltrials.gov.) In its policy

updates in 2021, Sweden limited medicalized treatments for gender dysphoria in minors to clinical

research studies approved by the Swedish national research ethics board (“EPM”). (Medscape




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Psychiatry 2021.)

   171.    Norway reviewed its own national policy on transition in minors in 2023, explicitly

concluding such medical procedures to be experimental. (Ukom 2023.)

   172.    The widely cited Dutch studies were co-conducted by Dr. Thomas Steensma. Despite

being an originator and international leader of medicalized transition of gender dysphoric minors,

Dr. Steensma stated in an interview in 2021 that he still considers it to be experimental: “Little

research has yet been done on the treatment with puberty inhibitors and hormones in young people.

That is why it is also seen as experimental.” Dr. Steensma decried other clinics for “blindly

adopting our research” despite the indications that those results may not actually apply: “We don’t

know whether studies we have done in the past are still applicable to today. Many more children

are registering, and also a different type.” Steensma opined that “every doctor or psychologist who

is involved in transgender care should feel the obligation to do a good pre- and post-test.”

(Tetelepta 2021.) But few if any are doing so.

   C. Claims that medical transition is “medically necessary” are undefined,
      unsupported, and self-interested.
   173.    While European health authorities have examined the science and concluded that

medical transition for minors remains “experimental” and of unproven benefit, terminology has

been distorted in the U.S. because the U.S. lacks a public health care system and the terms

“medically necessary” and “experimental” impact health insurance coverage. “Medically

necessary” justifies coverage for these procedures; advocates know or fear that the term

“experimental” will preclude coverage.

   174.    WPATH’s 2016 statement asserting “medical necessity” was explicitly made in order

to facilitate insurance claims, as is clear in their document entitled, “Position Statement on Medical

Necessity of Treatment, Sex Reassignment, and Insurance Coverage in the U.S.A.” (WPATH


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Position Statement.) The AMA released a similar statement supporting insurance coverage for

medical transition as a result of being assertedly medically necessary. 6 U.S. medical associations’

advocacy corresponds to the financial interests of their members.

      175.    Moreover, there do not exist a scientific definition or objective criteria of “medically

necessary.” An analysis published in the Canadian Medical Association Journal, however (not

pertaining to gender dysphoria or transition), attempted to define ‘medically necessary.’ (Caulfield

2012.) The article quoted Timothy Caulfield, Research Chair in Health, Law, and Policy at the

University of Alberta (Edmonton), Canada: “As for putting great effort into coming up with a tidy,

all-encompassing definition of ‘medically necessary’—it’s probably a waste of time…Given the

history of the concept of ‘medically necessary’ and the numerous failed attempts to define it, a

practical, operational and meaningful definition is likely unattainable.” (Caulfield at 1771–1772.)

According to Mark Stabile, director of the School of Public Policy and Governance and professor

of economics and public policy at the Rotman School of Management at the University of Toronto,

“Providers of those services will naturally be critical of the decision if they feel that the demand

for their services will decline as a result.” (Caulfield at 1772.)

      D. WPATH repeatedly warns of untested hypotheses, continuing unknowns,
         and lack of research.
      176.    The latest (2022) WPATH Standards of Care v8 document avoided the word

“experimental” in its guidelines, but instead repeatedly deployed terms and phrases that are

synonymous with being experimental: “The criteria in this chapter [on assessment of adults] have

been significantly revised from SOC-7 to reduce requirements and unnecessary barriers to care. It

is hoped that future research will explore the effectiveness of this model.” (Coleman 2022 at S33,

italics added.)

6
    Available from https://www.ama-assn.org/system/files/2019-03/transgender-coverage-talking-points.pdf


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   177.    The WPATH Standards of Care v8 (Coleman 2022.) indicates the lack of experimental

evidence available again and again (italics added):

       •   “It primarily includes an assessment approach that uses specific criteria that are
           examined by [a Health Care Provider, or] HCP in close cooperation with a TGD adult
           and does not include randomized controlled trials or long-term longitudinal research”
           (at S33.)
       •   “While there was limited supportive research, this recommendation was considered
           to be good clinical practice as it allows a more reversible experience prior to the
           irreversible experience of surgery” (at S40.)
       •   “Due to the limited research in this area, clinical guidance is based primarily on
           individual case studies and the expert opinion of HCPs” (at S41.)
       •   “While available research shows consistent positive outcomes for the majority of
           TGD adults who choose to transition…some TGD adults may decompensate or
           experience a worsened condition following transition. Little research has been
           conducted to systematically examine variables that correlate with poor or worsened
           biological, psychological, or social conditions following transition” (at S42.)
       •   “Future research would shed more light on gender identity development if conducted
           over long periods of time with diverse cohort groups” (at S45.)
       •   “In addition, elevated scrotal temperatures can be associated with poor sperm
           characteristics, and genital tucking could theoretically affect spermatogenesis and
           fertility (Marsh 2019) although there are no definitive studies evaluating these
           adverse outcomes. Further research is needed to determine the specific benefits and
           risks of tucking in youth” (at S54.)
       •   “There is no formal research evaluating how menstrual suppression may impact
           gender incongruence and/or dysphoria” (at S54-55.)
       •   “Currently, there are only preliminary results from retrospective studies evaluating
           transgender adults and the decisions they made when they were young regarding the
           consequences of medical-affirming treatment on reproductive capacity. It is important
           not to make assumptions about what future adult goals an adolescent may have” (at
           S57.)
       •   “Only limited empirical research exists to evaluate such interventions” (at S75.)
       •   “Research has not been conclusive about when in the life span such detransition is
           most likely to occur, or what percentage of youth will eventually experience gender
           fluidity and/or a desire to detransition” (at S77.)
       •   “Research on pitch-lowering surgeries is limited” (at S139.)
       •   “The number and quality of research studies evaluating pitch-lowering surgeries are
           currently insufficient” (at S141.)
       •   “To date, research on the long-term impact of [Gender Affirming Hormone Treatment



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       or] GAHT on cancer risk is limited…We have insufficient evidence to estimate the
       prevalence of cancer of the breast or reproductive organs among TGD populations
       (Joint et al., 2018.)” (at S144.)
   •   “Contraceptive research gaps within this population are profound. No studies have
       examined how the use of exogenous androgens (e.g., testosterone) may modify the
       efficacy or safety profile of hormonal contraceptive methods (e.g., combined estrogen
       and progestin hormonal contraceptives, progestin-only based contraceptives) or non-
       hormonal and barrier contraceptive methods” (at S162.)
   •   “TGD individuals AFAB undergoing abortion still represents a critical gap in
       research” (at S162.)
   •   “The effects of current TGD-related medical treatments on sexuality are
       heterogeneous (Ozer et al., 2022; T’Sjoen et al., 2020), and there has been little
       research on the sexuality of TGD adolescents” (at S163.)
   •   “While sex-positive approaches to counseling and treatment for sexual difficulties
       experienced by TGD individuals have been proposed (Fielding, 2021; Jacobson et al.,
       2019; Richards, 2021), to date there is insufficient research on the effectiveness of
       such interventions” (at S163.)




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XIII. There have been 11 cohort studies of puberty blockers and cross-sex
      hormones in minors. They provide no reliable evidence of effectiveness
      for improving mental health relative to mental health treatments that
      lack medical risk.
   178.    Several studies are cited by plaintiffs’ experts and in the media as purporting to show

that medical transition in minors brings important improvements in mental health beyond the

issues of suicide and suicidality that I have already addressed. In fact, there is no reliable evidence

of any such benefit.

   179.    In this section, I summarize the results of all cohort studies investigating the mental

health outcomes of puberty blockers and cross-sex hormones on minors. These include all such

studies identified by any of the systematic reviews of effectiveness from England, Sweden,

Finland, and WPATH. (Listed in Table 1, Cohort studies of effectiveness and safety of puberty

blockers and cross-sex hormones in minors.)

   180.    As enumerated in the following section, all of these studies that reported improved

mental health among transitioners were also providing psychotherapy at the same time. (See

Section VI on confounding.) None of these studies was able to differentiate which of them was

contributing to the improvement.

   181.    The problem imposed by confounding medicalized transition with psychotherapy is

widely recognized. As explicated in the NICE review from England:

       [V]ery little data are reported on how many children and adolescents needed
       additional mental health support, and for what reasons, or whether additional
       interventions, and what form and duration (for example drug treatment or
       counselling) that took. This is a possible confounder for the treatment outcomes in
       the studies because changes in critical and important outcomes may be attributable
       to external care rather than the psychological support or GnRH analogues used in
       the studies. (NICE 2020a at 41, italics added.)

Similarly, WPATH’s own systematic review noted that “[T]his conclusion is limited by high risk

of bias in study designs, small sample sizes, and confounding with other interventions.” (Baker


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2021 at 1, italics added.)

   182.    The need to disentangle the roles of these two treatments has been largely ignored

despite that several issues depend upon them. If medicalized transition does not show mental health

improvement superior to that of mental health treatment, it cannot readily be called “medically

necessary” for insurance purposes or other institutional needs. Clinicians may be subjecting minors

to known and potential (but unstudied) harms without any scientific justification.

   183.    Moreover, without a control group for comparison (i.e., another group of similar age,

sex, and mental health status), these studies are also unable to identify when and if any changes

are due to regression to the mean or maturation over time.

   A. Of the cohort studies, four found little to no improvement in mental
      health.
   184.    Kaltiala, et al. (2020) similarly reported that after cross-sex hormone treatment, “Those

who had psychiatric treatment needs or problems in school, peer relationships and managing

everyday matters outside of home continued to have problems during real-life.” (Kaltiala 2020 at

213.) They concluded:

       Medical gender reassignment is not enough to improve functioning and relieve
       psychiatric comorbidities among adolescents with gender dysphoria. Appropriate
       interventions are warranted for psychiatric comorbidities and problems in
       adolescent development. (Kaltiala 2020 at 213.)

   185.    Cantu, et al. (2020) studied 80 youth, 11–18 years of age (average of 15.1 years),

measuring patients’ levels of anxiety, depression, and suicidality. This sample was 18.75% male-

to-female, 72.5% female-to-male, and 8.75% nonbinary, but the report did not include the patients’

ages of onset. The study authors compared youth according to those receiving puberty blockers

only, cross-sex hormones only, both treatments, or neither. No significant differences in mental

health were detected on any of these variables. Of the 27 youth reporting suicidality before




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medicalized treatment, 81% continued to report suicidality after medicalized treatment.

Remarkably, although the authors reported that “the results of this study suggest that no clinically

significant changes in mood symptoms occur” (Cantu 2020 at 199), they did not convey the logical

interpretation that transition failed to help these youth. Instead, they emphasized that “findings

suggest changes may actually take longer to occur.” (Cantu 2020 at 196.)

   186.    Carmichael, et al. (2021) released their findings from the Tavistock and Portman clinic

in the U.K. (Carmichael 2021.) Study participants were ages 12–15 (Tanner stage 3 and above for

natal males, Tanner stage 2 and above for natal females) and were repeatedly tested before

beginning puberty-blocking medications and then every six months thereafter. Cases exhibiting

serious mental illnesses (e.g., psychosis, bipolar disorder, anorexia nervosa, severe body-

dysmorphic disorder unrelated to gender dysphoria) were excluded. Relative to the time point

before beginning puberty suppression, there were no significant changes in any psychological

measure, from either the patients’ or their parents’ perspective.

   187.    Hisle-Gorman, et al. (2021) analyzed military families’ healthcare data to compare 963

transgender and gender-diverse youth before versus after hormonal treatment, using their non-

gender dysphoric siblings as a control group. The study participants included youth undergoing

puberty-blocking as well as those undergoing cross-sex hormone treatment, but these subgroups

did not differ from each other. Study participants had a mean age of 18 years when beginning

hormonal treatments, but their initial clinical contacts and diagnoses occurred at a mean age of 10

years. According to the study, “mental health care visits overall did not significantly change

following gender-affirming pharmaceutical care” (Hisle-Gorman 2021 at 1448), yet,

“psychotropic medication use increased,” (Hisle-Gorman 2021 at 1448, italics added.) indicating

deteriorating mental health.




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   B. Six of the cohort studies confounded medical treatment with
      psychotherapy.
   188.    The initial enthusiasm for medical blocking of puberty followed largely from early

reports from the Dutch clinical research team suggesting at least some mental health improvement.

(de Vries 2011, 2014.)

   189.    The Dutch clinical research team followed up a cohort of youth at their clinic

undergoing puberty suppression (de Vries 2011), and later cross-sex hormone treatment and

surgical sex reassignment (de Vries 2014). The youth improved on several variables upon follow-

up as compared to pre-suppression measurement, including depressive symptoms and general

functioning. No changes were detected in feelings of anxiety, or anger, or in gender dysphoria

itself as a result of puberty suppression. Moreover, natal females suffered increased body

dissatisfaction both with their secondary sex characteristics and with nonsexual characteristics.

(Biggs 2020.)

   190.    The reports’ own authors noted that while it remains possible that the improvement on

some variables was due to the puberty blockers, it was also possible that the improvement was due

to the mental health support or to natural maturation. The study authors noted this explicitly: “All

these factors may have contributed to the psychological well-being of these gender dysphoric

adolescents.” (de Vries 2011 at 2281.)

   191.    van der Miesen, et al. (2020) provided an update of the Dutch clinic’s sample, reporting

continued improvement in transitioners’ psychological functioning, but the medical and

psychological treatments remained confounded. Also, the authors indicate that the changing

demographic and other features among gender dysphoric youth might have caused the treated

group to differ from the control group in unknown ways. The study authors expressly noted, “The

present study can, therefore, not provide evidence about the direct benefits of puberty suppression


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over time and long-term mental health outcomes.” (van der Miesen 2020 at 703.)

   192.    Allen, et al. (2019) reported on a sample of 47 youth, ages 13–20, undergoing cross-

sex hormone treatment. They reported observing increases in measures of well-being and

decreases in measures of suicidality; however, as the authors also noted, “whether a patient is

actively receiving psychotherapy” may have been a confounding variable. (Allen 2019.)

   193.    Becker-Hebley, et al. (2021) assessed the quality of life and overall functioning of a

sample of German youth both before and after undergoing treatment with GnRHa, CSHT, or both.

Excluded from participating were youth with severe psychiatric issues, including suicidality. Of

the sample, 79% of the sample participated in psychotherapy at the same time. As the study authors

were careful to indicate, “Because this study did not test for statistically significant differences

between the four intervention groups or before and after treatment, the findings cannot be

generalized to other samples of transgender adolescents.” (Becker-Hebly 2021 at 1755.)

   194.    In Kuper, et al. (2020), a multidisciplinary team from Dallas used a battery of mental

health tests to assess 148 youth undergoing either puberty-blocking or cross-sex hormone

treatment. The tests revealed highly inconsistent results: Most revealed no significant change,

some indicated improvement, and some indicated deterioration. Because 144 of the 148

participants were also in treatment with a therapist or counselor (Kuper at 7, Table 4), no

conclusions can be drawn regarding the cause of the improvements. Similarly, 47% of the sample

were receiving psychiatric medication at the time of their initial assessments, but it was 61% of

the sample at the follow-up time: It cannot be known to what extent mental health improvement

was associated with transition-related or with psychiatric medication. Importantly, the variables

demonstrating deterioration included each of the ones indicating suicidality and self-harm: At

follow-up time, the sample showed higher levels of suicidal ideation (from 25% to 38%), suicide




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attempts (from 2% to 5%), and “non-suicidal self-injury” (from 10% to 17%) (Kuper at 8, Table

5).

      195.   This evidence of worsening mental health was highly obscured in the Kuper report,

however. Rather than provide the standard comparison of pre- and post-treatment rates, Kuper

instead listed the post-treatment rates along side the full lifetime rates: “Lifetime and follow-up

rates were 81% and 39% for suicidal ideation, 16% and 4% for suicide attempt, and 52% and 18%

for NSSI, respectively” (p. 1). Rates from over a lifetime are necessarily higher numbers, and

putting them where pre-treatment rates normally appear conveys the statistical illusion of a

decrease, exactly opposite to the actual pattern.

      C. Two found no advantage of medicalization over psychotherapy.
      196.   Costa, et al. (2015) provided preliminary outcomes from a small study conducted with

patients of the GIDS clinic in the UK. They compared the psychological functioning of one group

of youth receiving psychological support with a second group receiving both psychological

support as well as puberty blocking medication (representing an “active comparator” group. See

Section III.C.2). The “untreated” group, however, was different from the treated group in another

important respect, in that these were the patients who began with such severe psychiatric co-

morbidities that they were deemed ineligible to begin puberty blockers until mental health

improved. Further, the study suffered a dramatic loss-to-follow-up, with almost two thirds of

participants dropping out across just 18 months. (Biggs 2019.) In this preliminary report, both

groups improved in psychological functioning over the course of the study, but no statistically

significant difference between the groups was detected at any point. (Costa 2015 at 2212, Table

2.) In any event, all these findings have been superseded, however, and are moot. The final

outcomes report for this cohort was subsequently published (as Carmichael 2021, above), finding




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that neither group actually had experienced any significant improvement at all. (Carmichael 2021.)

   197.    Achille, et al. (2020) at Stony Brook Children’s Hospital in New York studied a sample

of 95 youth with gender dysphoria, but 45 were lost-to-follow-up within just 12 months, failing to

complete follow-up surveys at 6 month and or 1 year. That is, outcomes were available only for

the 50 who remained in the study. As well as receiving puberty blocking medications, “Most

subjects were followed by mental health professionals. Those that were not were encouraged to

see a mental health professional.” (Achille 2020 at 2.) Upon follow-up, some incremental

improvements were noted; however, after statistically adjusting for psychiatric medication and

engagement in counselling, “most predictors did not reach statistical significance.” (Achille 2020

at 3, italics added.) That is, puberty blockers did not improve mental health any more than did

mental health care on its own. More specifically, only one of the 12 predictors reached statistical

significance. (Achille 2020 at Table 4.) That is, medicalized transition was not associated with

improved mental health beyond improvement associated with the mental health care received.

Moreover, the single predictor reaching the threshold for statistical significance is not reliable: the

study authors made a methodological error by failing to account for the multiple comparisons it

conducted. Had the study applied the standard adjustment for correcting for multiple comparisons,

that remaining predictor would also have ceased to be statistically significant.

   198.    Tordoff, et al. (2022) reported on the mental health of youth (mean age 15.8) as they

underwent their first year of puberty blocker or cross-sex hormone treatment. Of the initial 104,

62.5% were receiving psychotherapy at the same time. (Tordoff 2022 at 5 Table 1.) An unknown

number of participants were also receiving psychiatric medications, which the report

acknowledged as a potential confounding factor. There were 104 participants at the beginning of

the study, but by the end, only 65 remained. Importantly, the report failed to indicate its procedures




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for assessing the mental health readiness of prospective transitioners, and the results are highly

susceptible to selection bias between those deemed eligible for hormones or puberty blockers, and

those who were not.

   D. One failed to report whether psychotherapy was provided.
   199.    Chen, et al. (2023) reported finding some improvement in some mental health variables

associated with the cosmetic changes after two years of cross-sex hormone treatment in a sample

of 315 youth (mean age, 16 years). Unlike the other studies, Chen et al. did not report how many

participants were receiving psychotherapy or psychiatric medication at the same time as the

hormone treatments. It is therefore not possible to assess to what extent any changes were due to

hormone treatment versus the potential confounds. Because the study did not include a control

group, it is not possible to assert that changes were due to hormone treatment rather than

representing regression to the mean. Potential conclusions are also hampered by the large

proportion of mental health data that were missing: Of the 315 youth in the sample, analyses could

be conducted with only 208–217 (Chen 2023, supp. Material at 12, Table S5). The purported

changes in mental health variables were statistically significant, but not clinically meaningful. The

depression test used by Chen et al consisted of 21 items, with each item contributing up to 3-points

to the total score. For example:

       0 I do not feel sad.
       1 I feel sad.
       2 I am sad all the time and I can't snap out of it.
       3 I am so sad and unhappy that I can't stand it.

Thus, the total scores range from 0 to 63. Scores 0–13 represent minimal difficulty; 14–19

represent mild depression; 20–28, moderate; and 29–63, severe. The change that Chen et al. found

after two years of hormone treatment was from 16.39 to 13.95 (at Table S5). Changes of this size

are unlikely to be associated with patients reporting they feel better. Such scores are below the



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“minimum clinically important difference”. (Button 2015.) Although the report did not include

data on co-morbid mental health diagnoses, it noted that two patients receiving cross-hormone

treatment died by suicide (representing 0.6% mortality within just two years). (Chen 2023 at 240.)

   200.      In addition to the incomplete reporting of key aspects of the project and large

proportion of missing data, Chen et al appears to have provided only a selected subportion of the

information it collected. A knowledgeable journalist investigating transgender issues, Jesse Singal,

identified documentation representing the full set of information the Chen et al team planned to

collect. I have verified that documentation and have come to the same conclusion. As described

by Singal:

       In their study protocol, including a version that they submitted into a preregistration
       database, the researchers hypothesized that members of this cohort would
       experience improvement on eight measures, including ones that are just about
       universally recognized by youth gender researchers as important outcomes, such as
       gender dysphoria, suicidality, and self-harm. Then, in the published NEJM paper,
       the researchers changed their hypothesis and six of those variables were nowhere
       to be found. The two remaining—anxiety and depression—moved in a positive
       direction for trans boys (natal females) but not trans girls (natal males). The
       researchers reported on three other variables, too, without explaining how they
       picked them (two improved for trans girls and boys, and one just for trans boys).
       (Singal 2023.)

   201.      This appears to represent “cherry-picking” of the findings being reported, rather than a

comprehensive reporting on the complete set of evidence. Further, Chen et al. failed to balance the

concrete and strikingly high rate of completed suicide among their sample against the very

incremental mental health changes they claim, even though the ethical and clinical importance of

those suicides is obvious.




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XIV. Known and potential harms associated with administration of puberty
     blockers and cross-sex hormones to children and adolescents.
   202.    As I have explained, any conclusion about safety requires knowledge about and

balancing of both risks and benefits.

   203.    In concluding that safety has not been established (see Section V above), national

health authorities, authors of systematic reviews, and researchers have identified a number of

harms which are either known to result from administration of puberty blockers and cross-sex

hormones to children and adolescents, or can be reasonably anticipated but have not been

sufficiently studied to reach any conclusion as to the likelihood or severity of harm.

   204.    When applying research regarding harms to clinical policy, several considerations need

to be included: (1) The harms of medicalized transition of gender does or may differ between male-

to-female and female-to-male cases, differ between ages of transition, and differ according to age-

of-onset of the gender dysphoria. Evidence and conclusions about harms (and safety) cannot be

generalized or extrapolated across such cases. (2) The evidence has strongly shown that after social

transition of gender, minors are much more likely than otherwise to undergo medicalized transition

of gender. Thus, the appropriate assessment of the risk:benefit ratio for social transition must

include the increased risks posed by the medicalized path to which it is likely to lead. (3) The

evidence has shown strongly that youth who undergo puberty blocking are highly likely to undergo

cross-sex hormone treatment. Thus, the appropriate risk:benefit evaluation must also consider its

potential implications over the full lifespan.

   205.    Systematic reviews of the evidence have identified fewer than 10 studies investigating

potential harms of medicalized transition of minors at all, (NICE 2020a at 6.) and most of these

have been limited to bone and skeletal health. As concluded by the NICE systematic review, “A

key limitation to identifying the effectiveness and safety of GnRH analogues for children and


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adolescents with gender dysphoria is the lack of reliable comparative studies.” (NICE 2020a at

40.) With that said, numerous harms are either known, or reasonably anticipated by respected

health authorities but thus far unmeasured.

   A. Sterilization without proven fertility preservation options.
   206.    Clinical guidelines for the medical transition of gender among children include the need

to caution and counsel patients and parents about what are euphemistically called “options for

fertility preservation.” (e.g., Endocrine Society Guidelines, Hembree 2017 at 3872.) For children

who are placed on puberty blockers at Tanner Stage 2, however, because most continue onto cross-

sex hormones once they begin a medicalized approach to their dysphoria, no viable fertility

preservation options exist. The decision to undergo medicalized transition also represents the

decision never to have biological children of one’s own.

   207.    For the large new population of young people who are first being put on puberty

blockers and/or cross-sex hormones at a somewhat later stage of puberty, no studies at all have

been done of when, whether, or with what probability either males or females can achieve healthy

fertility if they later regret their transition decision and cease taking puberty blockers and/or cross-

sex hormones. Much less has this been studied as a function of the stage of development at which

they began puberty blockers and/or cross-sex hormones, and how long their gonads were subjected

to cross-sex hormones.

   B. Permanent loss of capacity for breast-feeding in adulthood.
   208.    While the removal of the breasts of a biological female adolescent or young adult may

be cosmetically revised, it is functionally irreversible; even if the person later regrets and

detransitions before or during adulthood, breast-feeding a child will never be possible. To the

adolescent determined to transition, this may seem no cost at all. To the future adult mother, it may




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be a very severe harm indeed.

   C. Lifetime lack of orgasm and sexual function.
   209.    There has not been systematic investigation of the effects on adult sexuality among

people medically transitioned at an early stage of puberty. Notably, Dr. Marci Bowers, current

President of WPATH, and surgeon with substantial experience conducting penis-to-vagina

operations, opined, “If you’ve never had an orgasm pre-surgery, and then your puberty’s blocked,

it’s very difficult to achieve that afterwards…I consider that a big problem, actually. It’s kind of

an overlooked problem that in our ‘informed consent’ of children undergoing puberty blockers,

we’ve in some respects overlooked that a little bit.” (Shrier 2021.) In my opinion as a psychologist

and sex and couple’s therapist, this represents a large potential harm to future relationships and

mental health to “overlook,” and must be taken into consideration in any serious risk:benefit

analysis of “safety.”

   D. Hormonal treatments during puberty interfere with neurodevelopment
      and cognitive development.
   210.    It is well known that pubertal hormone levels drive important stages of neural

development and resulting capabilities, although the mechanisms are not yet well understood. Dr.

John Strang (Research Director of the Gender Development Program at Children’s National

Hospital in Washington, D.C.) (Terhune 2022), the Cass Report from the U.K., and the systematic

review from Finland all reiterated the central importance and unknown effects of GnRH-agonists

on windows, or “sensitive periods,” in brain development, notably including adolescence. As Dr.

Cass put it:

       A further concern is that adolescent sex hormone surges may trigger the opening of a
       critical period for experience-dependent rewiring of neural circuits underlying
       executive function (i.e. maturation of the part of the brain concerned with planning,
       decision making and judgement). If this is the case, brain maturation may be
       temporarily or permanently disrupted by puberty blockers, which could have



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         significant impact on the ability to make complex risk-laden decisions, as well as
         possible longer-term neuropsychological consequences. To date, there has been very
         limited research on the short-, medium- or longer-term impact of puberty blockers on
         neurocognitive development. (Cass Review Letter 2022 at 6.)

   211.     In a meta-analysis (a highly rigorous type of systematic review) of studies of

neuropsychological performance, non-transsexual males undergoing puberty earlier show a

different cognitive profile than those underdoing puberty later. The association of brain

development with age of pubertal onset exists in humans as well as non-human animals. (Shirazi

2022.)

   212.     Even in adults, neuroscience studies employing MRI and other methods have shown

that the blockade of normal levels of hormones associated with puberty and adulthood degrade

brain performance. Thus, when GnRH-agonists are administered to adult biological women,

several brain networks decrease in activity and cognitive performance, such as in working

memory, declines. (Craig 2007; Grigorova 2006.)

   213.     In light of this science, multiple voices have expressed concern that blocking the

process of puberty during its natural time could have a negative and potentially permanent impact

on brain development (Cass 2022 at 38–39; Chen 2020; Hembree 2017 at 3874.) As Chen et al.

(2020) observed:

         [I]t is possible these effects are temporary, with youth ‘catching up’…However,
         pubertal suppression may prevent key aspects of development during a sensitive
         period of brain organization. Neurodevelopmental impacts might emerge over time,
         akin to the ‘late effects’ cognitive findings associated with certain [other] oncology
         treatments. (Chen 2020 at 249.)

Chen et al. (2020) noted that no substantial studies have been conducted to identify such impacts

outside “two small studies” (at 248) with conflicting results. I have not identified any systematic

review of neurodevelopment or cognitive capacity.

   214.     A related concern is that by slowing or preventing stages of neural development,



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puberty blockers may impair precisely the mature cognitive capabilities that would be necessary

to evaluation of, and meaningful informed consent to, the type of life-changing impacts that

accompany cross-sex hormones. (See Section XV.)

   E. Substantially delayed puberty is associated with medical harms.
   215.    The research cited by the WPATH Standards of Care includes the evidence that

children whose natural puberty started very late (top 2.3% in age) have elevated risks of multiple

health issues in adulthood. (Zhu & Chan 2017.) These include elevations in metabolic and

cardiovascular disease, lower height, and decreased bone mineral density. It has not been studied

whether these correlations also occur in children whose puberty is chemically delayed. Undergoing

puberty much later than one’s peers is also associated with poorer psychosocial functioning and

lesser educational achievement. (Koerselman & Pekkarinen 2018.)

   F. Elevated risk of Parkinsonism in adult females.
   216.    Epidemiological research has shown adult, non-transsexual women who undergo

surgical removal of both ovaries to have substantially elevated odds of developing parkinsonism,

including Parkinson’s Disease, relative to age-matched women randomly selected from the local

population in an on-going epidemiological study. (Rocca 2022.) The effect was greater among

younger women, showing 7–8 times greater odds among women under 43. The observed delay

between removal of ovaries and the onset of parkinsonism was 26.5 years. Whether chemically

suppressing the ovaries of a biological female via puberty blockers during adolescence followed

by cross-sex hormones will cause a similar increase in parkinsonism, or when, remains unknown.

   G. Reduced bone density.
   217.    The systematic reviews by Sweden, Finland, and England all included bone health as

an outcome. The New York Times also recently commissioned its own independent review of the




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available studies. (Twohey & Jewett 2022.) These reviews all identified subsets of the same group

of eight studies of bone health. (Carmichael 2021; Joseph 2019; Klink 2015; Navabi 2021;

Schagen 2020; Stoffers 2019; van der Loos 2021; Vlot 2017.) These studies repeatedly arrived at

the same conclusion. As described by The New York Times review:

          [I]t’s increasingly clear that the drugs are associated with deficits in bone
          development. During the teen years, bone density typically surges by about 8 to 12
          percent a year. The analysis commissioned by The Times examined seven studies
          from the Netherlands, Canada and England involving about 500 transgender teens
          from 1998 through 2021. Researchers observed that while on blockers, the teens
          did not gain any bone density, on average—and lost significant ground compared
          to their peers. 7 (Twohey & Jewett 2022.)

      218.     There is some evidence that some of these losses of bone health are regained in some

of these youth when cross-sex hormones are later administered. The rebounding appears to be

limited to female-to-male cases, while bone development remains deficient among male-to-female

cases.

      219.     The long-term effects of the deficient bone growth of people who undergo hormonal

interventions at puberty remain unstudied. The trajectory of bone quality over the human lifetime

includes decreases during aging in later adulthood. Because these individuals may enter their

senior years with already deficient bone health, greater risks of fracture and other issues are

expectable in the long term. As the New York Times’ analysts summarized, “That could lead to

heightened risk of debilitating fractures earlier than would be expected from normal aging—in

their 50s instead of 60s.” Such harms, should they occur, would not be manifest during the youth

and younger adulthood of these individuals. This distinction also represents one of the differences

between adult transitioners and childhood transitioners and why their experiences cannot be

extrapolated between them.



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    The eighth study was Lee, et al., 2020, which reported the same deficient bone development.


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    220.    There does not exist an evidence-based method demonstrated to prevent these

outcomes. The recommendations offered by groups endorsing puberty blockers are quite limited.

As summarized by The Times:

        A full accounting of blockers’ risk to bones is not possible. While the Endocrine
        Society recommends baseline bone scans and then repeat scans every one to two
        years for trans youths, WPATH and the American Academy of Pediatrics provide
        little guidance about whether to do so. Some doctors require regular scans and
        recommend calcium and exercise to help to protect bones; others do not. Because
        most treatment is provided outside of research studies, there’s little public
        documentation of outcomes. (Twohey & Jewett 2022.)

    H. Short-term/Immediate side-effects of puberty blockers include sterile
       abscesses, leg pain, headache, mood swings, and weight gain.
    221.    The Cass Report summarized that “In the short-term, puberty blockers may have a

range of side effects such as headaches, hot flushes, weight gain, tiredness, low mood and anxiety,

all of which may make day-to-day functioning more difficult for a child or young person who is

already experiencing distress.” (Cass 2022 at 38.)

    222.    In 2016, the U.S. FDA began requiring drug manufacturers to add a warning about the

psychiatric side effects, after reports of suicidal ideation and a suicide attempt began to emerge

among children prescribed GnRH-agonists (for precocious puberty). 8 The warning label on

Lupron reads that “Psychiatric events have been reported in patients…such as crying, irritability,

impatience, anger and aggression.”

    223.    Other than the suicide attempt, such adverse effects may seem minor relative to the

major health and developmental risks I have reviewed above, and they may be dismissed by

children and by parents confronted by fears of suicidality and an urgent hope that transition will

resolve the child’s unhappiness and mental health issues. However, when assessing risk:benefit



8
   Reuters Special Report; 2022, Oct. 6. Retrieved from https://www.reuters.com/investigates/special-report/usa-
transyouth-care/


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ratio for “safety” against the undemonstrated benefits claimed for hormonal interventions, these

observed harms should not be ignored.

   I. Long-term use of cross-sex hormones in adult transsexuals is associated
      with unfavorable lipid profiles (cholesterol and triglycerides) and other
      issues.
   224.    As the Cass Report correctly and succinctly indicated, “Sex hormones have been

prescribed for transgender adults for several decades, and the long-term risks and side effects are

well understood. These include increased cardiovascular risk, osteoporosis, and hormone-

dependent cancers.” (Cass 2022 at 36.)

   225.    Minors who begin puberty blockers and proceed to cross-sex hormones—as almost all

do—will require continuing treatment with cross-sex hormones for life, unless they go through the

very difficult process of detransition. Because a lifetime dependence on cross-sex hormones is the

expected course, the known adverse effects of cross-sex hormones on adults must also be part of

the risk:benefit analysis of the “safety” of putting a minor on cross-sex hormones (and indeed, of

the initial decision to put a child on puberty blockers).

   226.    Systematic review identified 29 studies of the effects of cross-sex hormone treatment

on cardiovascular health in adults. (Maraka 2017.) By the two-year follow-up mark among female-

to-male transitioners, hormone administration was associated with increased serum triglycerides

(indicating poorer health), increased low-density-lipid (LDL) cholesterol (indicating poorer

health), and decreased high-density-lipid (HDL) cholesterol (indicating poorer health). Among

male-to-female transitioners at the two-year mark, cross-sex hormone treatment was associated

with increased serum triglycerides (indicating poorer health).




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XV. Assertions that puberty blockers act only as a “fully reversible” “pause
    button” are not supported by scientific evidence.
    227.   Plaintiffs’ experts, along with many advocates and organizations, have boldly asserted

that the administration of puberty blockers to adolescents is “fully reversible.” The assertion is not

consistent with or supported by any objective assessment of the existing science. Although

withdrawal of the medication will allow the pubertal process to resume, that is very far from

establishing that the impact of that interruption of natural development is “fully reversible.” The

evidence is not that the person’s life will proceed as if the medical intervention never happened,

as the popularized phrase suggests. Rather, the evidence repeatedly indicates that stopping a

healthy child’s natural onset of puberty imposes multiple substantial harms, risks, or opportunity

costs.

    228.   First, as I have previously mentioned (Section IV.D), it is scientifically invalid to

extrapolate results from using puberty blockers to prevent precocious puberty by delaying the

pubertal process to its normal age range, to using them to prevent normally occurring healthy

puberty, merely assuming the effects and side-effects will be the same. The two are very different

populations and very different uses.

   229.    Second, not all the effects of GnRHa’s in otherwise healthy children are known: It is

therefore not possible to assess whether all effects are reversed or to what extent. Indeed, within

the scientific method, it is never possible to demonstrate that any intervention is “fully reversible.”

In science, it always remains possible for future evidence to identify an effect that does not reverse.

To assert that all the effects of GnRHa’s are fully reversible is to assert that all its effects have

been investigated and checked for reversibility, which is false.

   230.    Third, and more concretely, I have reviewed above a large number of medical and

developmental risks which multiple responsible voices have associated with administration of


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puberty blockers to adolescents, and which are either established by studies or have not been shown

not to exist. In the face of this knowledge and lack of knowledge, it is scientifically unsupported

and irresponsible to assert that this use of puberty blockers is “fully reversible” and “just a pause.”

   231.    Here, I identify additional psycho-social developmental impacts of delaying healthy,

naturally-occurring puberty which are likely to be irreversible, but have not been meaningfully

studied.

   A. Stopping puberty does not stop time: Patients’ peers continue to develop
      and mature, with patients falling increasingly behind.
   232.    Initiating puberty blockers at Tanner Stage 2 (at the very first signs of puberty, typically

ages 9 or 10) holds the child in a prepubescent state, while their peer group and classmates continue

to grow. By the time many patients begin cross-sex hormone treatment, their peers will have

completed puberty and progressed far into adolescence. Puberty may become unblocked, but these

children have irreversibly lost the opportunity and experience of developing with their peers and

must instead do so alone.

   233.    Being a “late bloomer,” indeed among the latest possible bloomers, has psychological

consequences of its own. Having the body and mind of a prepubescent child while one’s friends

have grown into physically mature sixteen-year-olds is extreme. Despite being a teenager

chronologically, remaining prepubescent both physically and mentally while the lives of one’s

peers have advanced to teenagers’ interests only increases the isolation of children already

reporting social distress. There does not exist a means of distinguishing how much of any

improvement in mental health that might be observed across these years in a particular study is

simply the result of finally undergoing at least some pubertal development and finally catching up

with one’s peers in at least some parameters.

   234.    Concretely, undergoing puberty much later than one’s peers (as a result of naturally


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occurring rather than medically induced conditions) has been associated with poorer psychosocial

functioning and lesser educational achievement. (Koerselman & Pekkarinen 2018.) Whether this

holds true when the late puberty is the result of puberty blockers has not been studied.

    B. Blocking puberty blocks the awareness of sexuality and sexual
       orientation that can play an important role in the individual’s
       understanding of gender identity.
    235.    As demonstrated unanimously by the cohort studies of prepubescent children with

gender dysphoria, the great majority cease to feel gender dysphoric during the course of puberty.

(Section IX.B.) Studies also find that many such children subsequently identify as gay or lesbian,

providing a potential alternative source and understanding of their atypical childhood gender

interests. But for all children, blocking puberty necessarily blocks the onset of adult sexual interest,

sexual arousal, and sexual response which are part of “the usual process of sexual orientation and

gender identity development.” (Cass 2022 at 38.) That is, blocking the experience of sexual

feelings and development blocks normal phenomena that enable the young person to understand

sexuality and sexual orientation, as distinct from gender identity. As Dr. Cass summarized:

        We do not fully understand the role of adolescent sex hormones in driving the
        development of both sexuality and gender identity through the early teen years, so
        by extension we cannot be sure about the impact of stopping these hormone surges
        on psychosexual and gender maturation. We therefore have no way of knowing
        whether, rather than buying time to make a decision, puberty blockers may disrupt
        that decision-making process. (Cass Review Letter 2022 at 5.)

Thus, contrary to the hypothesis that providing time might permit more considered understanding

and decision-making, the prevention of puberty blocks the awareness of a central factor that may

well influence that understanding.

   236.     Because puberty blockers prevent prepubescent children from developing any

understanding of sexual arousal and sexual relationships, such children are necessarily incapable

of providing informed consent. There does not exist—indeed, there cannot exist—an age-


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appropriate way to equip a child who has not gone through puberty to make an informed decision

about age-inappropriate issues, such as their future sex life, choices of sexual partners, sex-bonded

relationships including marriage, and sacrificing ever experiencing orgasm.

   C. Blocking puberty may block development of adult decision-making
      capacity.
   237.    As I have explained above, there are reasons to fear that use of puberty blockers may

have permanent negative effects on brain development. That long-term risk aside, blocking

puberty nevertheless threatens to prevent the child from growing towards adult decision-making

capability during precisely the years in which he or she is being asked to make life-altering

decisions about gender identity, gender presentation and cross-sex hormones. Pubertal brain

development includes pervasive change in structural and functional connectivity (Chen 2020), re-

balancing its capabilities between the acquisition of skills and knowledge and their application.

Foremost among these are acquiring the abilities to control impulsivity and engage in rational and

long-term decision-making (Crone & Steinbeis 2017), in association with development of a brain

region called the “prefrontal cortex,” and similarly acquiring the capacity to process adult social

interaction, in association with the development of a network of brain areas (Kilford 2016),

collectively called the “social brain.” To understand medicalized transition of gender and its

known and unknown consequences is one of the most complicated questions that a young person

today could face, and a prepubescent brain is not equipped to process that information rationally,

objectively, and with a whole lifetime rather than immediate desires and social pressures in mind.

   D. Time spent on puberty blockers poses significant opportunity costs.
   238.    One of the primary, if not the foremost, justifications for medically transitioning

children and adolescents is to reduce the psychological distress they report. That hypothesis

interprets these children’s psychological concerns (e.g., anxiety and depression) to gender


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dysphoria and/or external sources (e.g., transphobia). As I have noted here previously, however,

many gender dysphoric children and adolescents suffer from multiple other mental health issues.

In several studies of minors on puberty blockers, a substantial portion of the subjects do not report

ongoing psychological care. If years spent on puberty blockers in the hopes that that will relieve

distress distract from systematic efforts to directly address comorbidities through psychotherapy,

then it diverts the minors from treatment which exhibits substantial evidence of effectiveness for

improving mental health and lacks the multiple and significant side-effects of puberty blockers.




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XVI. Assessments of clinical guidelines, standards, and position statements.
   239.    Several sets of recommendations have been offered regarding the clinical treatment of

people with gender dysphoria. In this section, I comment on these protocols or recommendations

individually.

   A. The Dutch Protocol (aka Dutch Approach).
   240.    The Netherlands’ child gender identity clinic in Amsterdam associated with the Vrije

University (VU) was one of the international leaders in the use of hormonal interventions to treat

gender dysphoria in minors. Researchers associated with that clinic have generated a large portion

of the seminal research literature in the field. Key early publications from that group spelled out

criteria and procedures that are collectively referred to as the “Dutch Protocol,” and this approach

has been widely influential internationally.

   241.    The purpose of the protocol was to compromise conflicting desires and considerations

including: clients’ initial wishes upon assessment; the long-established and repeated observation

that those wishes will change in the majority of (but not in all) childhood cases; and that cosmetic

aspects of medical transition are perceived to be better when they occur earlier rather than later in

pubertal development.

   242.    The VU team summarized and explicated their approach in their paper, Clinical

management of gender dysphoria in children and adolescents: The Dutch Approach. (de Vries &

Cohen-Kettenis 2012.) Key components of the Dutch Approach are:

       •   no social transition at all considered before age 12 (watchful waiting period),
       •   no puberty blockers considered before age 12,
       •   cross-sex hormones considered only after age 16, and
       •   resolution of mental health issues before any transition.
   243.    For youth under age 12, “the general recommendation is watchful waiting and carefully




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observing how gender dysphoria develops in the first stages of puberty.” (de Vries & Cohen-

Kettenis 2012 at 301.)

   244.    The age cut-offs of the Dutch Approach were not based on any research demonstrating

their superiority over other potential age cut-offs. Rather, they were chosen to correspond to the

ages of consent to medical procedures under Dutch law. Nevertheless, whatever the original

rationale, the data from this clinic simply contain no information about the safety or efficacy of

employing these measures at younger ages.

   245.    The authors of the Dutch Approach repeatedly and consistently emphasize the need for

extensive mental health assessment, including clinical interviews, formal psychological testing

with validated psychometric instruments, and multiple sessions with the child and the child’s

parents.

   246.    Within the Dutch Approach, there is no social transition before age twelve. That is,

social affirmation of the new gender may not begin until age 12—as desistance is less likely to

occur past that age. “Watchful Waiting” refers to a child’s developmental period up to that age.

Watchful waiting does not mean do nothing but passively observe the child. Rather, such children

and families typically present with substantial distress involving both gender and non-gender

issues, and it is during the watchful waiting period that a child (and other family members as

appropriate) would undergo therapy, resolving other issues which may be exacerbating

psychological stress or dysphoria. As noted by the Dutch clinic, “[T]he adolescents in this study

received extensive family or other social support [and they] were all regularly seen by one of the

clinic’s psychologists or psychiatrists.” (de Vries 2011 at 2281.) One is actively treating the person,

while carefully “watching” the dysphoria.

   247.    The use of hormonal interventions described in the Dutch Protocol, while markedly




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more conservative than today’s practice in many U.S. clinics, has recently been criticized in detail

in a peer-reviewed article as unjustified by reliable evidence (Biggs 2022; Levine 2023; Levine

2022). Certainly, the published research evidence base concerning safety and efficacy available to

the VU clinicians is and was no greater than the global evidence base that the NICE review recently

labelled as uniformly of “very low quality.”

    248.   Because clinical practices are often justified by alluding to the Dutch Protocol,

however, it is important to be aware of the limitations on the use of hormones and puberty blockers

specified by the Dutch Protocol and listed above (and thus the limits of the clinical evidence

published out of the VU clinic) which are regularly ignored by clinicians in the U.S.

    B. World Professional Association for Transgender Health (WPATH).
    249.   The WPATH standards of care have been lauded as long-established and high quality

procedures. This does not reflect any objective assessment, however. The previous WPATH

standards (version 7) were subjected to standardized evaluation, the Appraisal of Guidelines for

Research and Evaluation (“AGREE II”) method. (Dahlen 2021.) That assessment concluded

“[t]ransition-related [clinical practice guidelines] tended to lack methodological rigour and rely on

patchier, lower-quality primary research.” (Dahlen 2021 at 6.) The WPATH guidelines were not

merely given low scores, but received unanimous ratings of “Do not recommend.” (Dahlen 2021

at 7.)

    250.   Immediately after the release of the current (2023) version of WPATH’s standards

(version 8), WPATH fundamentally altered it by removing from it minimum ages previously

required for undergoing social or medical transition of gender. (WPATH Correction 2022.) This

is despite the fact that age is the central component to young people’s emerging understanding of

their sexual identities through social identity formation, pubertal development, and the onset of




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sexual interest. The removal of age restrictions was not based on any research evidence at all—

WPATH provided no reference to any study as justification, and the WPATH leadership have been

explicit in indicating that the change was intended to prevent clinical care providers from legal

liability for physicians rejecting those minimums. The implementation of such fundamental and

dramatic changes, in the complete absence of any supporting science whatsoever, negates entirely

any claim that WPATH represents evidence-based or empirically-supported treatment. As

explicated herein, on Table 1, the systematic review on which WPATH based its standards for

minors included exactly one study on puberty blockers and three studies on cross-sex hormones.

All other references represent cherry-picked citations of studies rejected by its own systematic

process. Moreover, even among the four studies in WPATH’s review, three were rejected by the

Swedish review, due to the low quality of the science they contained.

   C. Endocrine Society (ES).
   251.    As I have noted, in preparing its guidelines the Endocrine Society did not conduct

systematic reviews of evidence relating to efficacy of any hormonal intervention in children or

adolescents, and instead conducted reviews on only two safety-related endpoints.

   252.    Although outside the professional expertise of endocrinologists, mental health issues

were also addressed by the Endocrine Society, repeating the need to handle such issues before

engaging in transition, “In cases in which severe psychopathology, circumstances, or both

seriously interfere with the diagnostic work or make satisfactory treatment unlikely, clinicians

should assist the adolescent in managing these other issues.” (Hembree 2017 at 3877.) This

ordering—to address mental health issues before embarking on transition—avoids relying on the

unproven belief that transition will solve such issues.

   253.    The Endocrine Society did not endorse any affirmation-only approach. The guidelines




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were neutral with regard to social transitions before puberty, instead advising that such decisions

be made only under clinical supervision: “We advise that decisions regarding the social transition

of prepubertal youth are made with the assistance of a mental health professional or similarly

experienced professional.” (Hembree 2017 at 3870.)

   254.      The Endocrine Society guidelines make explicit that, after gathering information from

adolescent clients seeking medical interventions and their parents, the clinician “provides correct

information to prevent unrealistically high expectations [and] assesses whether medical

interventions may result in unfavorable psychological and social outcomes.” (Hembree 2017 at

3877.)

   255.      The 2017 update of the Endocrine Society’s guidelines added a disclaimer not previous

appearing:

         The guidelines cannot guarantee any specific outcome, nor do they establish a
         standard of care….The Endocrine Society makes no warranty, express or implied,
         regarding the guidelines and specifically excludes any warranties of
         merchantability and fitness for a particular use or purpose. The Society shall not be
         liable for direct, indirect, special, incidental, or consequential damages related to
         the use of the information contained herein. (Hembree 2017 at 3895-3896.)

   256.      The Endocrine Society guidelines do not rely on any systematic review of evidence of

efficacy of any form of treatment for gender dysphoria. The Dahlen et al. team also subjected these

guidelines to review according to the AGREE II criteria, and two out of three independent

reviewers concluded that they should not be used clinically. (Dahlen 2021 at 7.)

   D. American Academy of Pediatrics (AAP).
   257.      A “Policy Statement” issued by the American Academy of Pediatrics (AAP) in 2018,

but on its face declared to represent exclusively the work of one author who alone is “accountable

for all aspects of the work,” is unique among the major medical associations in being the only one

to endorse an affirmation-on-demand policy, including social transition before puberty without



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any watchful waiting period. (Rafferty 2018.) Although changes in recommendations can

obviously be appropriate in response to new research evidence, the AAP identified no such new

evidence to justify a radical departure from the “therapy first” approach of the Dutch Protocol.

Rather, the research studies AAP cited in support of its policy simply did not say what AAP

claimed they did. In fact, the references that AAP cited as the basis of their policy instead outright

contradicted that policy, repeatedly endorsing watchful waiting. (Cantor 2019.) Moreover, of all

the outcomes research published, the AAP policy cited one, and that without mentioning the

outcome data it contained. (Cantor 2019.)

   258.    Immediately following the publication of the AAP policy, I conducted a point-by-point

fact-check of the claims it asserted and the references it cited in support. I submitted that to the

Journal of Sex & Marital Therapy, a well-known research journal of my field, where it underwent

blind peer review and was published. I append that article as part of this report. See Appendix 2.

A great deal of published attention ensued; however, the AAP has yet to respond to the errors I

demonstrated its policy contained. Writing for The Economist about the use of puberty blockers,

Helen Joyce asked AAP directly, “Has the AAP responded to Dr Cantor? If not, have you any

response now?” The AAP Media Relations Manager, Lisa Black, responded: “We do not have

anyone available for comment.”




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XVII. Assessment of plaintiffs’ experts’ reports.
   259.    In the body of my report above I have addressed the nature and strength of the scientific

evidence concerning the primary scientific issues raised in the expert reports of Plaintiffs’ experts.

Here, I add a few remarks directed to specific evidentiary or logical defects in the opinions offered

by specific experts.

   A. Antommaria
   260.    Dr. Antommaria argues first that “Gender-affirming medical care is supported by

evidence of its safety and efficacy,” repeatedly citing as his evidence the Endocrine Society which

“uses a rigorous method to develop its clinical practice guidelines.” (Antommaria Report at 4−5.)

Although Dr. Antommaria outlined what those methods entailed for other issues, Dr. Antommaria

failed to indicate that those methods were not applied for this one: Puberty blockers were not

included in the Endocrine Society’s commissioned systematic reviews at all, nor did the Endocrine

Society’s systematic reviews look at mental health effects of either puberty blockers or cross-sex

hormones. Their review was limited only to selected physiological effects of cross-sex hormones.

Moreover, the wording of the Endocrine Society review leaves ambiguous whether minors were

included at all or if the review was limited to adults. Dr. Antommaria added to the Endocrine

Society review a single-blind study (Burinkul 2021), which pertained to adults only, not children.

   261.    Dr. Antommaria argues next that low quality evidence can sometimes be sufficient for

clinical recommendations. In so doing, Dr. Antommaria makes the logical error of confusing what

is “necessary” with what is “sufficient.” Where the Endocrine Society indicates that a

multidisciplinary team is necessary for recommendations, Dr. Antommaria insinuates having such

a team is sufficient for making such decisions—even in the absence of meaningful evidence as to

either risks or benefits. As I have detailed above, multiple respected international health authorities




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or advisory bodies disagree, deeming the available evidence insufficient on which to base clinical

recommendations for the use of hormonal interventions in children and adolescents. (Section V.)

In actuality, the Endocrine Society included no review of outcomes at all, made no claims about

potential success, and even denies responsibility for outcomes. (See Section XVI.C.)

   262.    The only research study Dr. Antommaria cites here is de Vries, et al., 2014: That study

provided both psychotherapy and medicalized transition at the same time, making it impossible to

know which one led to the report mental health improvements. (See section XIII.B.)

   263.    Dr. Antommaria next claims that it would even be unethical to conduct an RCT of

medicalized transition. Each of the reasons he gave, however, is incorrect. He indicated “clinical

equipoise must exist.” (Antommaria Report at 15)—that there must exist genuine uncertainty about

which procedure is superior, whereas he and the colleagues he surrounds himself with feel entirely

certain. Dr. Antommaria is incorrect about this ethical principle:       According to bioethicist

Benjamin Freedman, the originator of the concept of clinical equipoise, writing in the New

England Journal of Medicine, “The requirement is satisfied if there is genuine uncertainty within

the expert medical community—not necessarily on the part of the individual investigator—about

the preferred treatment.” (Freedman 1987.) The international expert medical community is indeed

highly uncertain, as thoroughly documented both herein and in the international medical press,

such as the British Medical Journal’s recent article: Gender Dysphoria in youth people is rising

and so is professional disagreement. (Block 2023.)

   264.    Moreover, it is Dr. Antommaria’s certainty (and that of whomever else he feels he is

entitled to speak for) that is unjustified. As already documented herein, nonmedicalized treatments

have already shown benefits indistinguishable from those from medicalized transition.

   265.    Dr. Antommaria writes that RCTs would be unethical also because medicalized




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transition could not be compared with a non-pharmacological or placebo treatment. Both claims

are incorrect. The routine and ethical alternative procedure in clinical science is to use what is

called an “active comparator,” as was spelled out in the NICE reviews from England. (NICE 2020a

at 40; NICE 2020b at 47.) In such an RCT, participants would be randomly assigned into a

psychotherapy-only group or a psychotherapy + medicalization group.

   266.    Dr. Antommaria’s other argument against RCTs is his belief that “A randomized trial

is unlikely to enroll enough participants.” (Antommaria Report at 16.) That belief is also baseless.

Healthcare systems of entire countries throughout Europe are limiting all medicalized transition

of minors to research studies.

   267.    Dr. Antommaria next relies on WPATH, asserting that it “conducted selected

systematic reviews of the literature.” (The WPATH review is published as Baker, et al., 2021.)

Missing from Dr. Antommaria’s report was that WPATH did not include any safety-related data

in minors, either of puberty blockers or of cross-sex hormones in their systematic review. (Section

IV.B.) Also, as I have noted above, WPATH did not even attempt any review with respect to

outcomes of hormonal interventions in adolescents.

   268.    Dr. Antommaria’s only reference to the international systematic reviews (indeed, the

only such reference by any of the plaintiffs’ experts) is the single paragraph, beginning on page

18, indicating that the reviews “do not make treatment recommendations” and therefore do not

actually contradict the WPATH and Endocrine Society recommendations. Dr. Antommaria is

either confused or intentionally dodging the regular practice and relevant recommendations. The

routine procedure for establishing evidence-based practice is a two-step process, the first being the

conduct of the systematic review, and the second being its integration with financial, political, and

other constraints to yield the recommendations themselves. For example, the UK conducted




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reviews (released under NICE) which were then incorporated into recommendations (released

under Cass). WPATH conducted a review (released as Baker et al, 2021), which was allegedly

incorporated into their guidelines (released under Coleman et al, 2022). What Dr. Antommaria is

alleging to be a mismatch between “the Endocrine Society’s and WPATH’s clinical practice

guidelines and recent European documents” (Antommaria Report at 18), is merely Dr.

Antommaria’s own failure to compare reviews with reviews and guidelines with guidelines. I have

reviewed the actual recommendations from European health authorities and advisory commissions

above.

   269.    Dr. Antommaria writes, “None of the documents recommend criminalizing gender-

affirming medical care as does VCAP.” (Antommaria Report at 19.) The means by which a state

or other government implements research results and protects citizens from harm is a political

rather than a scientific or clinical question, and I can offer no expert opinion. (See section I.C.) I

am, however, a citizen of two countries (Canada and the United States), working within the very

different health care systems of each. From that experience, I can observe that countries with

centralized public health care systems (such as Canada and European nations), have direct control

over what treatments are or are not administered within those nations, while the decentralized and

often private health care system of the U.S. must rely on different mechanisms of control.

   270.    In his next argument, Dr. Antommaria contests the results of the entire set of cohort

studies, all of which found that most pre-pubescent children with gender dysphoria cease to feel

dysphoric by puberty. Against these eleven studies, Dr. Antommaria cited a single study, Wiepjes,

et al., 2018, but misrepresented its contents:         Dr. Antommaria attributed to Wiepjes that

“individuals who fulfill the criteria for gender-affirming medical care generally continue in their

gender identity.” (Antommaria Report at 22.) Dr. Antommaria’s application of the word




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“individuals” hides from the court that Wiepjes’ conclusion applied to the adults while the reverse

was true for the children: Wiepjes included 5,433 adults age 18 or older and 548 children under

age 12. (Wiepjes 2018 at Table 1.) Of the adults, 69.9% went on to medicalized treatment, whereas

only 40.3% of the children did. Dr. Antommaria’s choice of the ambiguous word “individuals”

misleads the court, erroneously applying the results from adults to the children, declaring to the

court the very opposite of what Wiepjes actually showed. In any case, as I have reviewed above,

a phalanx of respected voices in the field, including the Endocrine Society, disagree with Dr.

Antommaria and instead agree with my reading that the cohort studies do support the conclusion

that a large majority of prepubertal children who suffer from gender dysphoria will desist. (Section

IX.B.)

   271.    Dr. Antommaria’s only other argument is that cohort studies of children “have

substantial limitations” (Antommaria Report at 22.) citing a single commentary as support,

Newhook, et al., 2018. As detailed herein (Section IX.B), Temple Newhook, et al. criticized four

studies of prepubescent children with gender dysphoria for using (in Temple Newhook’s view)

overly broad diagnostic criteria. I have detailed above a number of reasons why Temple

Newhook’s criticism is invalid, and that article has been additionally rebutted in a peer-reviewed

paper. (Zucker 2018, The Myth of Persistence.) Moreover, Dr. Antommaria’s argument introduces

an additional error by insinuating that all of the relevant cohort studies used the same criteria as

the four studies that Temple Newhook contested, but failed to inform the court that the other seven

studies, using different criteria, came to exactly the same conclusion as the four. (See Section

IX.B.) That is, Dr. Antommaria’s invocation of Temple Newhook’s argument cannot contradict

the unanimous finding. The international systematic reviews also expressed the conclusion I

provided herein and not that of Temple Newhook.




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     272.    Dr. Antommaria’s insinuation that gender dysphoria persists in most children also

conflicts with the conclusion of the Endocrine Society, which Dr. Antommaria otherwise

repeatedly accepts as authoritative. According to the Endocrine Society:

         Combining all outcome studies to date, the GD/gender incongruence of a minority
         of prepubertal children appears to persist in adolescence….In adolescence, a
         significant number of these desisters identify as homosexual or bisexual. (Hembree
         2017 at 3876, italics added.)

     273.    Dr. Antommaria indicates that watchful waiting applies only to prepubescent children,

insinuating that adolescent-onset cases differ, are unlikely to desist, and therefore do not require a

watchful waiting period. That insinuation is incorrect: There do not exist cohort (or superior level)

research studies on adolescent-onset cases. There are no meaningful data regarding persistence

and desistance for this large, new population. It is not knowable whether their outcomes will

resemble those of adult-onset cases (despite differing on all objective variables), or will resemble

those of childhood-onset cases (despite also differing from theirs), or will show altogether different

outcomes.

     274.    As detailed herein, all the international health care systems that have conducted or

commissioned systematic reviews concluded medicalized transition to be experimental. (See

Section V.) Dr. Antommaria denies that consensus, arguing that “The clinical use of puberty

blockers and gender affirming hormones treatment is not experimental” because “the goal of

clinical practice is to benefit individual patients” rather than “to contribute to generalizable

knowledge.” (Antommaria Report at 23.) 9 Dr. Antommaria’s argument is mere word-play: He

swaps the common use of “experimental” meaning “untested” with the technical use of



9
   Dr. Antommaria also contested the word “new;” however, newness is not a criterion in science or its assessment.
Moreover, that cross-sex hormones were used for transition in 1966 does not disconfirm that using puberty blockers
is new, and their use in adults does not disconfirm their use in minors being new. In this context, “new” clearly refers
to whether there has been sufficient time undergoing sufficient examination for a treatment’s effects to be reliably
predicted.


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“experimental” meaning “currently enrolled in a clinical trial”. That is, Dr. Antommaria’s

argument is that, so long as the physician doesn’t plan on recording and reporting the results, then

prescribing the drug doesn’t count as an “experiment”—even if the safety and effectiveness of the

drug is utterly unproven—so the drug itself does not count as experimental. Under Dr.

Antommaria’s faulty logic, every treatment could avoid ever being called “experimental” so long

as no one ever performed the experiment to test it. In fact, the quoted health authorities largely use

the word in the sense “unproven,” while calling for researchers to undertake the well-designed

experiments which have not yet been done.

   275.    Dr. Antommaria’s defence of using off-label, non-FDA-approved uses of drugs is

entirely peripheral. Treatment safety and effectiveness do not have a one-to-one correspondence

with FDA-approval. The fact that some other drugs are used widely and safely for some other off-

label indications does not imply in the least that off-label use of this drug (puberty blockers) for

this use (preventing normal, healthy puberty in children) is safe.

   276.    Dr. Antommaria argues that “VCAP’s legislative findings do not provide a sufficient

basis for singling out the provision of gender-affirming medical care to adolescents with gender

dysphoria.” (Antommaria Report at 30.) However inadvertently, Dr. Antommaria actually

provides exactly that basis himself in his next paragraph: These medical procedures are permitted

to treat problems that are “medically verifiable.” (Antommaria Report at 31.) Both of Dr.

Antommaria’s examples (central precocious puberty and complete androgen insensitivity

syndrome) are indeed medically verifiable with objective testing, and the medication is applied to

bring the patient within healthy norms. By contrast, gender dysphoria is entirely subjective,

ascertained by self-report only, with no means of objective verification possible, and the

medication is applied precisely to take the patient outside of healthy norms.




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   277.    Standards for clinical practice comprise multiple, mutually reinforcing principles and

procedures. This overlap can sometimes permit some flexibility in some circumstances where the

other principles with high reliability can compensate, such as allowing some reports of pain and

sensations when diagnosing a physical disease before prescribing a short-acting and low-risk

medication. Dr. Antommaria’s recommendations for medicalized transition, however, entail the

simultaneous removal of multiple overlapping protections, leaving no meaningful protection at all.

Dr. Antommaria is accepting, at face-value only, purely subjective reports, of a diagnosis with no

objective evidence of validity, offering long-term and life-long physical intervention, on the basis

of the lowest possible quality evidence, despite all objective counterevidence, and without first

exhausting the safer and less invasive alternatives.

   B. Janssen
   278.    Dr. Janssen indicates he was deposed as an expert witness by the plaintiffs in BPJ v

WV Board of Education. I testified as an expert witness for the defense in that case.

   279.    Dr. Janssen’s report does not provide the science of medicalized transition of minors. I

could find no citation or mention of any of the systematic reviews of the topic, whether from an

international health care system or a professional guild. Dr. Janssen cited a vanishingly small set

of highly cherry-picked publications (ten in total), which do not reflect the state of the science.

   280.    Four of Dr. Janssen’s ten citations represent self- (and/or parent-) report surveys (i.e.,

Durwood, et al., 2017; Olson, et al., 2016; Turban, et al., 2020a, 2020b). Surveys do not have the

scientific rigour to qualify as medical evidence and are rejected by all systematic reviews as

insufficient. (See Section IV.A.)

   281.    Two of Dr. Janssen’s citations do not pertain to gender dysphoria at all (i.e., Costello,

et al., 2003; Wilens, et al., 2002). Dr. Janssen cites these as general support of the general idea




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that adolescents with one mental health diagnosis are likely to have others. That much is true. Dr.

Janssen does not, however, include that the pattern of mental illnesses among gender dysphoric

youth are different from the pattern of mental illnesses of other adolescents. Dr. Janssen also fails

to take his own argument to its parsimonious conclusion: It is because adolescents are experiencing

many mental health concerns that Adolescent-Onset Gender Dysphoria may represent simply

another of those concerns, amenable to mental health treatment, like those other concerns.

   282.    Dr. Janssen cites de Vries, et al., 2014, claiming it showed, not only that transition

improves mental health, but also that transition is the only treatment that does. Dr. Janssen’s claim

is untrue and contradicts the study’s own authors, who noted “the positive results may also be

attributable to supportive parents, open-minded peers, and the social and financial support

(treatment is covered by health insurance) that gender dysphoric individuals can receive in the

Netherlands.” Also, the participants in this study were receiving not only medicalized services, but

also psychotherapy, which can also have caused the mental health improvements. (See section

III.B.) Despite his bold claim, it is not scientifically possible for Dr. Janssen (or anyone else) to

know whether mental health improvement came from the mental health treatment or

medicalization.

   283.    Moreover, Dr. de Vries continues to express the very opposite of what Dr. Janssen

attributed to her: Writing in 2023, she repeated that “rigorous longitudinal outcomes studies that

provide evidence about whether this approach [hormonal interventions in minors] is effective and

safe are needed” and that “Future studies that compare outcomes with different care models are

needed.” (de Vries 2023 at 276.)

   284.    Dr. Janssen similarly cited Chen, et al., 2023, to support his claim that “gender

transition can—and often does—alleviate co-occurring mental health issues” (Janssen Declaration




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at 9.) Yet, the Chen study cannot support that claim either: Chen, et al. did not disclose whether

the youth in their study were receiving mental health treatment and whether that was responsible

for the improvements they reported finding. It does not “compare outcomes with different care

models” as Dr. de Vries emphasized were needed. Without that information, it is again impossible

for Dr. Janssen to know what he claims to know.

   285.    Dr. Janssen claims that “well-established research demonstrates the effectiveness of

treatment for gender dysphoria in adolescence,” citing Turban, et al., 2018. Dr. Janssen’s claim

misrepresents that source. What Turban, et al., 2018, actually said was that such treatment “has

been evaluated in two studies on the same cohort of Dutch adolescents,” explicitly warning that

“the results come from only one clinic and concern a highly selected sample...Whether the same

positive results can be expected for the larger number of adolescents that are treated at clinics that

vary in their approach to gender variant adolescence has yet to be determined.” (Turban 2018 at

640, italics added.) Additionally, the Turban citation in turn cites de Vries, et al., 2014, which I

have discussed above. I note also that of the 10 publications Dr. Janssen cites, three were written

by the same author (i.e., Turban, 2017, 2020a, 2020b), signalling the cherry-picked nature of the

sources Dr. Janssen has chosen to cite.

   C. Ladinsky
   286.    Dr. Ladinsky’s report does not provide a complete or accurate account of the relevant

research literature, repeatedly citing the three U.S.-based association policies and not any of the

systematic reviews available. There was no citation to any other source behind any other claim

from page 5 to page 19. Citation numbers 2 through 17 are all to those same documents, which are

already evaluated in the present report. The few other sources cited fail to support Dr. Ladinsky’s

claims.




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   287.    Dr. Ladinsky attributed to Spack, et al. (2012) that suicidality and other poor outcomes

would result from gender dysphoria “if left untreated,” insinuating that “untreated” meant not

permitted medical transition. In actuality, Spack, et al. (2012) was unambiguous:

       Gender dysphoric children who do not receive counseling have a high risk of
       behavioural and emotional problems and psychiatric diagnoses.” (at 422.)

Spack (2013) warned:

       Mental health intervention should persist for the long term, even after surgery, as
       patients continue to be at mental health risk, including for suicide. While the causes
       of suicide are multifactorial, the possibility cannot be ruled out that some patients
       unrealistically believe that surgery(ies) solves their psychological distress. (at 484.)

   288.    Dr. Ladinsky claims of Alabama’s law that “If the law goes into effect, based on my

expert opinion, it will cause serious harms to my patients as well as other transgender youth

throughout Alabama.” (Ladinsky Declaration at 17.) Dr. Ladinsky cites no evidence, analysis, or

methodology justifying that conclusion or any indication of engaging in any scientific process or

applying any criteria that an expert would use to come to such a conclusion.

   289.    Dr. Ladinsky indicates having reviewed the declarations previously submitted for the

present case by me and by other experts for the state. The only point of mine contested by Dr.

Ladinsky was my claim that:

       [I]in the absence of long-term follow-up, it cannot be known what proportions come
       to regret having transitioned and then detransition. Because only a minority of
       gender dysphoric children persist in feeling gender dysphoric in the first place,
       “transition-on-demand” increases the probability of unnecessary transition and
       unnecessary medical risks. (Cantor Declaration, Preliminary Injunction Hearing,
       ¶43.)

Dr. Ladinsky’s only counter-argument is to say that she herself does not permit transition-on-

demand in her patients. Whatever Dr. Ladinsky’s own practices are and whatever her views of

what constitutes adequate investigation may be, reports of the failures of gender clinics to employ

meaningful gatekeeping are emerging throughout the Western world. Moreover, it remains true



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that Dr. Ladinsky cannot know the long-term outcomes of patients after they have left her care.

   290.    Dr. Ladinsky emphasizes that “Suicidality is of particular concern” if medicalizing

hormones are not provided to minors, citing three articles, Wiepjes, et al (2018), de Vries, et al

(2014), and Turban, et al (2020). Dr. Ladinsky is mistaken. Wiepjes, et al (2018) contains no

information on suicide or suicidality—neither word appears in the document at all. Similarly, de

Vries, et al, 2014, reported no evidence on suicidality, providing results only on general

psychological well-being. Turban, et al (2020) reported on a survey in which a high proportion of

survey-takers reported suicidality at some time in their life, but provided no evidence whether that

rate was due to gender identity or to any of other mental health issues, such as Borderline

Personality Disorder, which are highly overrepresented in samples of gender dysphoric youth. (See

section XI.C.)

   D. McNamara
   291.    Dr. McNamara indicates that she bases the validity of her argument on the standards of

the National Academy of Medicine, as applied by WPATH and the Endocrine Society. Her claim

is demonstrably incorrect. According to the document Dr. McNamara cited from the Academy,

clinical practice guidelines “are informed by a systematic review of evidence and an assessment

of the benefits and costs of alternative care options.” (Institute of Medicine, Clinical Practice

Guidelines, 2011 at 4.) As documented here already, the Endocrine Society did not include any

review of puberty blockers or cross-sex hormones in minors, and WPATH’s review did not include

the safety of any treatment in minors, instead expressly allowing clinical opinion to substitute for

valid experimental evidence. (See Section XVI; Block, Gender Dysphoria 2023.) The several

European health care systems did, however, conduct such reviews and concluded the very opposite

to Dr. McNamara.




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   292.    Dr. McNamara repeatedly employs circular reasoning. Her report repeatedly refers to

medicalized transition as “essential” or “established,” based on the absence of compelling

evidence of harm or inefficacy. As already noted, the absence of evidence is not evidence of the

absence of, in this case, harm. Her logic is entirely counter to the scientific method. Whether

medicalized transition is essential is the very question being assessed. The claim cannot be simply

asserted or assumed until proven otherwise. The scientific procedure for investigating such issues

is called “null hypothesis testing.” Differences, including clinical improvements, are assumed to

be zero until proven otherwise.

   293.    Dr. McNamara, like Dr. Antommaria, misrepresents or misunderstands the role of

RCTs in clinical science, arguing that RCTs cannot be conducted because study participants would

become aware of whether they were in the treatment group or the control group. (That is,

participants could not be masked or “blinded.”) Their error is that studies do not need to be masked

to be an RCT: for example, as reported in The Lancet, 40% of RCTs published in PubMed during

a study period were not, in fact, masked. (Chan & Atman 2005 at 1160.) Although masked RCTs

can be superior to non-masked RCTs, the impossibility of masking in certain contexts does not

authorize clinicians or clinical scientists simply to skip RCTs altogether and proceed with

confidence as if they had been completed and the treatment demonstrated to be successful—which

they have not. (See also Section III.C on masked, placebo-controlled research designs.)

   294.    Dr. McNamara claims that the international medical consensus supports medicalized

transition of gender in minors. She cited no source for that claim. As thoroughly documented

herein, all international health care systems conducting systematic reviews have in recent years

come to exactly the opposite conclusion. Moreover, Dr. McNamara’s language is ambiguous. Her

words “supports treatment of gender dysphoria” are entirely consistent with using psychotherapy




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to alleviate gender dysphoria without medicalized transition, which more accurately reflects

international consensus.

   295.    Dr. McNamara claims, “Defendants’ experts have previously asserted that essential

medical treatment for gender dysphoria causes suicide; however, no study has found a worsening

of various mental health measures among recipients of essential medical treatment for gender

dysphoria.” (McNamara Report at 11.) Regarding her first sentence, I have made no such

statement. Dr. McNamara’s second sentence is demonstrably incorrect. The Kuper, et al. (2020)

cohort study (see Section V.C) reported the suicidality of an adolescent sample before and after

hormone treatment. Table 5 of that study (Kuper at 8) showed suicidal ideation to be 25% before

and 38% after treatment, suicidal attempts to be 2% before and 5% after, and non-suicidal self-

harm to have been 10% before and 17% after. For reasons already outlined herein, Kuper’s data

cannot establish causation, but indeed show decreases in mental health, thus calling for caution

and further research rather than suggesting such treatment to be “safe” for these children.

   296.    Dr. McNamara’s dismissal of the systematic review of Dhejne is counter to both

clinical ethics and clinical science. It is true that the Dhejne review pertained to adults rather than

adolescents, and it is possible that transitioned adolescents might show a pattern opposite of what

transitioned adults do. Because it remains substantially unstudied and unknown on what features

adolescent cases might resemble adult cases (or prepubescent cases), evidence about the

experiences and outcomes among adults after transition cannot be dismissed as irrelevant to the

risk:benefit equation for adolescents. Because suicidality is elevated among adults, it is at least

plausible that it will also be higher among adolescents. Both research ethics and medical ethics

require that this possibility be thoroughly investigated and ruled out with high quality evidence

rather than assume the opposite to be true. The combination of the Dhejne evidence from adults




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and the Kuper evidence from adolescents together provide strong reason to apply every possible

caution before proceeding.

    E. Shumer
    297.    Dr. Shumer indicates that he testified as an expert witness for the plaintiffs in Roe, et

al v Utah High School Activities Association, et al. I testified as an expert witness for the defense

in that case, which is currently in process.

    298.    I have already addressed the substance of most of Dr. Shumer’s mistaken assertions

regarding the science relevant to hormonal and surgical interventions in minors as a treatment for

gender dysphoria. Here, I address a few remaining points from his report.

    299.    Dr. Shumer faults VCAP Finding 1 because its “description of sex fails to include

gender identity, which is an essential medical component of sex for every person” (Shumer Report

at 27); however, the VCAP description is correct. In his report, Dr. Shumer conveys a definition

of sex which not only is incorrect, but also contradicts the very document he cited as his source of

that definition. Dr. Shumer wrote:

        Sex is comprised of several components, including, among others, internal
        reproductive organs, external genitalia, chromosomes, hormones, gender identity,
        and secondary sex characteristics. (Shumer Report at 6, italics added.)

He attributed that definition to:

        Institute of Medicine. The health of lesbian, gay, bisexual, and transgender people:
        building a foundation for better understanding. Washington, DC: The National
        Academic Press; 2011.

In direct contradiction with Dr. Shumer’s claim, Institute of Medicine does not, in fact, include

gender identity in its definition of sex. Its definition is:

        To discuss the context surrounding the health of LGBT populations, the committee
        has adopted working definitions for a number of key terms. Sex is understood here
        as a biological construct, referring to the genetic, hormonal, anatomical, and
        physiological characteristics on whose basis one is labeled at birth as either male
        or female. (Institute of Medicine, Health, 2011 at 25, italics original.)


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That is, the Institute of Medicine—just like Alabama—explicitly limited sex to biological,

objective features, as I have defined it in the present declaration. The major clinical associations

also limit the definition of sex to objective features, also excluding gender identity (see Section

VII.A), again in direct opposition to Dr. Shumer’s claim.

   300.    Dr. Shumer claims that attempting to change a person’s understanding of their gender

identity “has been found to be both harmful and ineffective” (Shumer Report at 8), on the basis of

the evidence in two articles based on a 2015 survey. Dr. Shumer’s interpretation of those articles

is invalid, however: It is not possible for a survey to demonstrate that anything is either harmful

or ineffective. These are both causal claims that surveys are not capable of demonstrating. (See

Section III.F.) Not only is there no study that has found that relying on psychotherapy and

counseling support for a child or adolescent who suffers from gender dysphoria leads to worse

outcomes than does hormonal intervention whether with or without psychotherapy, but also the

studies that have compared these treatments failed to find superiority of medicalized transition

(See Section XIII.)

   301.    Activists and social media increasingly, but erroneously, apply the term “conversion

therapy,” moving farther and farther from what the research has reported. “Conversion therapy”

(or “reparative therapy” and other names) has referred to efforts to change a person’s sexual

orientation. More recently, any therapy failing to provide affirmation-on-demand is labeled

“conversion therapy.” (D’Angelo, et al., 2020.) Although the media and social media habitually

add “T” to “GLB” in discussing these issues, the research on “conversion therapy” has investigated

only sexual orientation, and its results cannot be extrapolated to gender identity by mere analogy.

   302.    Dr. Shumer claims, “gender identity, like other components of sex, has a strong

biological foundation” (Shumer Report at 9), but again misrepresents the sources he cited. The




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research has shown statistically significant differences associated with sexual orientation, not

gender identity. Although Dr. Shumer cited Heylens, et al. (2012) to claim that there are “genetic

underpinnings to gender identity development,” Dr. Shumer did not, however, share the rest of

Heylens’ observation, noting this confounding: “In all the cases reported to be concordant for GID

[i.e., ‘match on gender identity’] there was also concordance for sexual orientation.” (Heylens

2012 at 755.) The Endocrine Society guidelines similarly noted the association with sexual

orientation. Contrary to Shumer’s claim of a “strong” biological foundation, the Endocrine Society

emphasized that whatever hypotheses may currently be in play, no genetic marker (or other

physical marker) enabling verification of transgender status has been identified. (Hembree 2017

at 3875.) Shumer cites no evidence of any biological or other objective marker (let alone a “strong”

one) able to identify transgender identity.

   303.    Dr. Shumer’s comparison of gender identity with congenital adrenal hyperplasia

(CAH) is invalid. CAH is a biological disorder with objective features that can be objectively

detected, entirely unlike gender dysphoria, which remains entirely subjective with no objective

means of verification or falsification.

   304.    Dr. Shumer’s “rationale for medical treatment of gender dysphoria in adolescents”

(Shumer Report at 11–12) is invalid. He cites five “studies demonstrating positive results of

gender-affirming care” (Shumer Report at 11.); however, none of these studies uses a design

capable of demonstrating causality. In contrast with Dr. Shumer’s (mis)use of causal language,

none of these studies is able to distinguish changes due to medicalized transition from changes due

to the psychotherapy that the patients were receiving at the same time. (See Section IV.C.)

   305.    Dr. Shumer repeatedly employs strong terms in describing his opinions; however, these

represent only vague and rhetorical terms without scientific definition. For examples, there are no




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objective criteria for concluding: when clinician’s assessment of a patient has developed “a deep

understanding” (Shumer Report at 14); which patients represent “appropriately selected patients”

(at 24); which of conflicting clinicians are “highly trained” (at 28); what constitutes a “skillful

elicitation of a patient’s experience” (at 28); when an assessment represents a “comprehensive

evaluation” (at 30); who has been “carefully evaluated” (at 34); or, outside of any systematic

review, what still constitutes “robust research” (at 15).

   306.    Dr. Shumer refers to the WPATH standards of care as “based on the best available

science.” (Shumer Report at 16.) As I have detailed above, the WPATH SOC does not satisfy the

definition of “evidence-based medicine,” and extensively ignores “the best available science.”

(Section XVI.B.)

   307.    Dr. Shumer asserts separately that “withdrawal of hormones in adulthood often is

successful in achieving fertility when it is desired.” (Shumer Report at 25.) He does not cite sources

that support “often,” and does not cite any study that demonstrates achievement of healthy fertility

for subjects whose natural puberty was blocked and who then received cross-sex hormones for an

extended period of years, as is the course of treatment for gender dysphoric children that Dr.

Shumer commends. That is, Dr. Shumer’s report addresses the very limited evidence of the effects

of using only one or the other of these medications, but fails to include the effects of their

combination.

   308.    Dr. Shumer faults VCAP Finding 12, claiming that “GnRHa is used when it is

determined that the progression of puberty would cause significant harm to the adolescent.”

(Shumer Report at 33.) It is not possible to make such a prediction for any patient—the existing

evidence is only correlational, not causal. Dr. Shumer claims, “The benefit of treatment is not

unproven or poorly studied.” (Shumer Report at 33.) That claim contradicts the conclusion of all




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                                   LIST OF APPENDICES

Appendix 1

      Curriculum Vita

Appendix 2

      Cantor, J. M. (2020). Transgender and gender diverse children and adolescents: Fact-
             checking of AAP policy. Journal of Sex & Marital Therapy, 46, 307–313. doi:
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                               Appendix 1
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2 Carlton Ave., suite 1804                                                          416-352-6003 ( f )
Toronto, Ontario, Canada M5B 1J3                                          jamescantorphd@gmail.com


                                        EDUCATION

Postdoctoral Fellowship                                                       Jan., 2000–May, 2004
Centre for Addiction and Mental Health • Toronto, Canada

Doctor of Philosophy                                                          Sep., 1993–Jun., 2000
Psychology • McGill University • Montréal, Canada

Master of Arts                                                                Sep., 1990–Jan., 1992
Psychology • Boston University • Boston, MA

Bachelor of Science                                                           Sep. 1984–Aug., 1988
Interdisciplinary Science • Rensselaer Polytechnic Institute • Troy, NY
Concentrations: Computer science, mathematics, physics


                                   EMPLOYMENT HISTORY

Director                                                                         Feb., 2017–Present
Toronto Sexuality Centre • Toronto, Canada

Senior Scientist (Inaugural Member)                                          Aug., 2012–May, 2018
Campbell Family Mental Health Research Institute
Centre for Addiction and Mental Health • Toronto, Canada

Senior Scientist                                                              Jan., 2012–May, 2018
Complex Mental Illness Program
Centre for Addiction and Mental Health • Toronto, Canada

Head of Research                                                              Nov., 2010–Apr. 2014
Sexual Behaviours Clinic
Centre for Addiction and Mental Health • Toronto, Canada

Research Section Head                                                         Dec., 2009–Sep. 2012
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada

Psychologist                                                                 May, 2004–Dec., 2011
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada


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Clinical Psychology Intern                                    Sep., 1998–Aug., 1999
Centre for Addiction and Mental Health • Toronto, Canada

Teaching Assistant                                            Sep., 1993–May, 1998
Department of Psychology
McGill University • Montréal, Canada

Pre-Doctoral Practicum                                        Sep., 1993–Jun., 1997
Sex and Couples Therapy Unit
Royal Victoria Hospital • Montréal, Canada

Pre-Doctoral Practicum                                        May, 1994–Dec., 1994
Department of Psychiatry
Queen Elizabeth Hospital • Montréal, Canada


                             ACADEMIC APPOINTMENTS

Associate Professor                                            Jul., 2010–May, 2019
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Aug. 2013–Jun., 2018
Graduate Program in Psychology
York University • Toronto, Canada

Associate Faculty (Hon)                                       Oct., 2017–Dec., 2017
School of Behavioural, Cognitive & Social Science
University of New England • Armidale, Australia

Assistant Professor                                            Jun., 2005–Jun., 2010
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Sep., 2004–Jun., 2010
Clinical Psychology Residency Program
St. Joseph’s Healthcare • Hamilton, Canada




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                                      PUBLICATIONS

LETTERS AND COMMENTARIES
1.  Cantor, J. M. (2015). Research methods, statistical analysis, and the phallometric test for
        hebephilia: Response to Fedoroff [Editorial Commentary]. Journal of Sexual Medicine,
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2. Cantor, J. M. (2015). In his own words: Response to Moser [Editorial Commentary].
        Journal of Sexual Medicine, 12, 2502–2503. doi: 10.1111/jsm.13075
3. Cantor, J. M. (2015). Purported changes in pedophilia as statistical artefacts: Comment on
        Müller et al. (2014). Archives of Sexual Behavior, 44, 253–254. doi: 10.1007/s10508-
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4. McPhail, I. V., & Cantor, J. M. (2015). Pedophilia, height, and the magnitude of the
        association: A research note. Deviant Behavior, 36, 288–292. doi:
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5. Soh, D. W., & Cantor, J. M. (2015). A peek inside a furry convention [Letter to the Editor].
        Archives of Sexual Behavior, 44, 1–2. doi: 10.1007/s10508-014-0423-y
6. Cantor, J. M. (2012). Reply to Italiano’s (2012) comment on Cantor (2011) [Letter to the
        Editor]. Archives of Sexual Behavior, 41, 1081–1082. doi: 10.1007/s10508-012-0011-
        y
7. Cantor, J. M. (2012). The errors of Karen Franklin’s Pretextuality [Commentary].
        International Journal of Forensic Mental Health, 11, 59–62. doi:
        10.1080/14999013.2012.672945
8. Cantor, J. M., & Blanchard, R. (2012). White matter volumes in pedophiles, hebephiles, and
        teleiophiles [Letter to the Editor]. Archives of Sexual Behavior, 41, 749–752. doi:
        10.1007/s10508-012-9954-2
9. Cantor, J. M. (2011). New MRI studies support the Blanchard typology of male-to-female
        transsexualism [Letter to the Editor]. Archives of Sexual Behavior, 40, 863–864. doi:
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10. Zucker, K. J., Bradley, S. J., Own-Anderson, A., Kibblewhite, S. J., & Cantor, J. M. (2008).
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        Marital Therapy, 34, 287–290.
11. Cantor, J. M. (2003, Summer). Review of the book The Man Who Would Be Queen by J.
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        19(2), 6.
12. Cantor, J. M. (2003, Spring). What are the hot topics in LGBT research in psychology?
        Newsletter of Division 44 of the American Psychological Association, 19(1), 21–24.
13. Cantor, J. M. (2002, Fall). Male homosexuality, science, and pedophilia. Newsletter of
        Division 44 of the American Psychological Association, 18(3), 5–8.
14. Cantor, J. M. (2000). Review of the book Sexual Addiction: An Integrated Approach.
        Journal of Sex and Marital Therapy, 26, 107–109.


EDITORIALS
1.   Cantor, J. M. (2012). Editorial. Sexual Abuse: A Journal of Research and Treatment, 24.



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2.  Cantor, J. M. (2011). Editorial note. Sexual Abuse: A Journal of Research and Treatment,
        23, 414.
3. Barbaree, H. E., & Cantor, J. M. (2010). Performance indicates for Sexual Abuse: A Journal
        of Research and Treatment (SAJRT) [Editorial]. Sexual Abuse: A Journal of Research
        and Treatment, 22, 371–373.
4. Barbaree, H. E., & Cantor, J. M. (2009). Sexual Abuse: A Journal of Research and
        Treatment performance indicators for 2007 [Editorial]. Sexual Abuse: A Journal of
        Research and Treatment, 21, 3–5.
5. Zucker, K. J., & Cantor, J. M. (2009). Cruising: Impact factor data [Editorial]. Archives of
        Sexual Research, 38, 878–882.
6. Barbaree, H. E., & Cantor, J. M. (2008). Performance indicators for Sexual Abuse: A
        Journal of Research and Treatment [Editorial]. Sexual Abuse: A Journal of Research
        and Treatment, 20, 3–4.
7. Zucker, K. J., & Cantor, J. M. (2008). The Archives in the era of online first ahead of
        print[Editorial]. Archives of Sexual Behavior, 37, 512–516.
8. Zucker, K. J., & Cantor, J. M. (2006). The impact factor: The Archives breaks from the pack
        [Editorial]. Archives of Sexual Behavior, 35, 7–9.
9. Zucker, K. J., & Cantor, J. M. (2005). The impact factor: “Goin’ up” [Editorial]. Archives of
        Sexual Behavior, 34, 7–9.
10. Zucker, K., & Cantor, J. M. (2003). The numbers game: The impact factor and all that jazz
        [Editorial]. Archives of Sexual Behavior, 32, 3–5.




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                                    FUNDING HISTORY

Principal Investigators:   Doug VanderLaan, Meng-Chuan Lai
Co-Investigators:          James M. Cantor, Megha Mallar Chakravarty, Nancy Lobaugh, M.
                           Palmert, M. Skorska
Title:                     Brain function and connectomics following sex hormone treatment in
                           adolescents experience gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Behavioural Sciences-B-2
Funds:                     $650,250 / 5 years (July, 2018)

Principal Investigator:    Michael C. Seto
Co-Investigators:          Martin Lalumière , James M. Cantor
Title:                     Are connectivity differences unique to pedophilia?
Agency:                    University Medical Research Fund, Royal Ottawa Hospital
Funds:                     $50,000 / 1 year (January, 2018)

Principal Investigator:    Lori Brotto
Co-Investigators:          Anthony Bogaert, James M. Cantor, Gerulf Rieger
Title:                     Investigations into the neural underpinnings and biological correlates
                           of asexuality
Agency:                    Natural Sciences and Engineering Research Council (NSERC),
                           Discovery Grants Program
Funds:                     $195,000 / 5 years (April, 2017)

Principal Investigator:    Doug VanderLaan
Co-Investigators:          Jerald Bain, James M. Cantor, Megha Mallar Chakravarty, Sofia
                           Chavez, Nancy Lobaugh, and Kenneth J. Zucker
Title:                     Effects of sex hormone treatment on brain development: A magnetic
                           resonance imaging study of adolescents with gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Transitional Open Grant Program
Funds:                     $952,955 / 5 years (September, 2015)

Principal Investigator:    James M. Cantor
Co-Investigators:          Howard E. Barbaree, Ray Blanchard, Robert Dickey, Todd A. Girard,
                           Phillip E. Klassen, and David J. Mikulis
Title:                     Neuroanatomic features specific to pedophilia
Agency:                    Canadian Institutes of Health Research (CIHR)
Funds:                     $1,071,920 / 5 years (October, 2008)

Principal Investigator:    James M. Cantor
Title:                     A preliminary study of fMRI as a diagnostic test of pedophilia
Agency:                    Dean of Medicine New Faculty Grant Competition, Univ. of Toronto
Funds:                     $10,000 (July, 2008)




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Principal Investigator:   James M. Cantor
Co-Investigator:          Ray Blanchard
Title:                    Morphological and neuropsychological correlates of pedophilia
Agency:                   Canadian Institutes of Health Research (CIHR)
Funds:                    $196,902 / 3 years (April, 2006)




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                        KEYNOTE AND INVITED ADDRESSES

1.  Cantor, J. M. (2022, December 5). The science of gender dysphoria and transgenderism.
       Lund University, Latvia. https://files.fm/f/4bzznufvb
2. Cantor, J. M. (2021, September 28). No topic too tough for this expert panel: A year in
       review. Plenary Session for the 40th Annual Research and Treatment Conference,
       Association for the Treatment of Sexual Abusers.
3. Cantor, J. M. (2019, May 1). Introduction and Q&A for ‘I, Pedophile.’ StopSO 2nd Annual
       Conference, London, UK.
4. Cantor, J. M. (2018, August 29). Neurobiology of pedophilia or paraphilia? Towards a
       ‘Grand Unified Theory’ of sexual interests. Keynote address to the International
       Association for the Treatment of Sexual Offenders, Vilnius, Lithuania.
5. Cantor, J. M. (2018, August 29). Pedophilia and the brain: Three questions asked and
       answered. Preconference training presented to the International Association for the
       Treatment of Sexual Offenders, Vilnius, Lithuania.
6. Cantor, J. M. (2018, April 13). The responses to I, Pedophile from We, the people. Keynote
       address to the Minnesota Association for the Treatment of Sexual Abusers, Minneapolis,
       Minnesota.
7. Cantor, J. M. (2018, April 11). Studying atypical sexualities: From vanilla to I, Pedophile.
       Full day workshop at the Minnesota Association for the Treatment of Sexual Abusers,
       Minneapolis, Minnesota.
8. Cantor, J. M. (2018, January 20). How much sex is enough for a happy life? Invited lecture
       to the University of Toronto Division of Urology Men’s Health Summit, Toronto,
       Canada.
9. Cantor, J. M. (2017, November 2). Pedophilia as a phenomenon of the brain: Update of
       evidence and the public response. Invited presentation to the 7th annual SBC education
       event, Centre for Addiction and Mental Health, Toronto, Canada.
10. Cantor, J. M. (2017, June 9). Pedophilia being in the brain: The evidence and the public’s
       reaction. Invited presentation to SEXposium at the ROM: The science of love and sex,
       Toronto, Canada.
11. Cantor, J. M., & Campea, M. (2017, April 20). “I, Pedophile” showing and discussion.
       Invited presentation to the 42nd annual meeting of the Society for Sex Therapy and
       Research, Montréal, Canada.
12. Cantor, J. M. (2017, March 1). Functional and structural neuroimaging of pedophilia:
       Consistencies across methods and modalities. Invited lecture to the Brain Imaging
       Centre, Royal Ottawa Hospital, Ottawa, Canada.
13. Cantor, J. M. (2017, January 26). Pedophilia being in the brain: The evidence and the public
       reaction. Inaugural keynote address to the University of Toronto Sexuality Interest
       Network, Toronto, Ontario, Canada.
14. Cantor, J. M. (2016, October 14). Discussion of CBC’s “I, Pedophile.” Office of the
       Children’s Lawyer Educational Session, Toronto, Ontario, Canada.
15. Cantor, J. M. (2016, September 15). Evaluating the risk to reoffend: What we know and
       what we don’t. Invited lecture to the Association of Ontario Judges, Ontario Court of
       Justice Annual Family Law Program, Blue Mountains, Ontario, Canada. [Private link
       only: https://vimeo.com/239131108/3387c80652]
16. Cantor, J. M. (2016, April 8). Pedophilia and the brain: Conclusions from the second


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       generation of research. Invited lecture at the 10th annual Risk and Recovery Forensic
       Conference, Hamilton, Ontario.
17. Cantor, J. M. (2016, April 7). Hypersexuality without the hyperbole. Keynote address to the
       10th annual Risk and Recovery Forensic Conference, Hamilton, Ontario.
18. Cantor, J. M. (2015, November). No one asks to be sexually attracted to children: Living in
       Daniel’s World. Grand Rounds, Centre for Addiction and Mental Health. Toronto,
       Canada.
19. Cantor, J. M. (2015, August). Hypersexuality: Getting past whether “it” is or “it” isn’t.
       Invited address at the 41st annual meeting of the International Academy of Sex Research.
       Toronto, Canada.
20. Cantor, J. M. (2015, July). A unified theory of typical and atypical sexual interest in men:
       Paraphilia, hypersexuality, asexuality, and vanilla as outcomes of a single, dual
       opponent process. Invited presentation to the 2015 Puzzles of Sexual Orientation
       conference, Lethbridge, AL, Canada.
21. Cantor, J. M. (2015, June). Hypersexuality. Keynote Address to the Ontario Problem
       Gambling Provincial Forum. Toronto, Canada.
22. Cantor, J. M. (2015, May). Assessment of pedophilia: Past, present, future. Keynote
       Address to the International Symposium on Neural Mechanisms Underlying Pedophilia
       and Child Sexual Abuse (NeMUP). Berlin, Germany.
23. Cantor, J. M. (2015, March). Prevention of sexual abuse by tackling the biggest stigma of
       them all: Making sex therapy available to pedophiles. Keynote address to the 40th annual
       meeting of the Society for Sex Therapy and Research, Boston, MA.
24. Cantor, J. M. (2015, March. Pedophilia: Predisposition or perversion? Panel discussion at
       Columbia University School of Journalism. New York, NY.
25. Cantor, J. M. (2015, February). Hypersexuality. Research Day Grand Rounds presentation
       to Ontario Shores Centre for Mental Health Sciences, Whitby, Ontario, Canada.
26. Cantor, J. M. (2015, January). Brain research and pedophilia: What it means for
       assessment, research, and policy. Keynote address to the inaugural meeting of the
       Netherlands Association for the Treatment of Sexual Abusers, Utrecht, Netherlands.
27. Cantor, J. M. (2014, December). Understanding pedophilia and the brain: Implications for
       safety and society. Keynote address for The Jewish Community Confronts Violence and
       Abuse: Crisis Centre for Religious Women, Jerusalem, Israel.
28. Cantor, J. M. (2014, October). Understanding pedophilia & the brain. Invited full-day
       workshop for the Sex Offender Assessment Board of Pennsylvania, Harrisburg, PA.
29. Cantor, J. M. (2014, September). Understanding neuroimaging of pedophilia: Current
       status and implications. Invited lecture presented to the Mental Health and Addition
       Rounds, St. Joseph’s Healthcare, Hamilton, Ontario, Canada.
30. Cantor, J. M. (2014, June). An evening with Dr. James Cantor. Invited lecture presented to
       the Ontario Medical Association, District 11 Doctors’ Lounge Program, Toronto,
       Ontario, Canada.
31. Cantor, J. M. (2014, April). Pedophilia and the brain. Invited lecture presented to the
       University of Toronto Medical Students lunchtime lecture. Toronto, Ontario, Canada.
32. Cantor, J. M. (2014, February). Pedophilia and the brain: Recap and update. Workshop
       presented at the 2014 annual meeting of the Washington State Association for the
       Treatment of Sexual Abusers, Cle Elum, WA.



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33. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
       (2014, February). Functional connectivity in pedophilia. Neuropsychiatry Rounds,
       Toronto Western Hospital, Toronto, Ontario, Canada.
34. Cantor, J. M. (2013, November). Understanding pedophilia and the brain: The basics, the
       current status, and their implications. Invited lecture to the Forensic Psychology
       Research Centre, Carleton University, Ottawa, Canada.
35. Cantor, J. M. (2013, November). Mistaking puberty, mistaking hebephilia. Keynote address
       presented to the 32nd annual meeting of the Association for the Treatment of Sexual
       Abusers, Chicago, IL.
36. Cantor, J. M. (2013, October). Understanding pedophilia and the brain: A recap and
       update. Invited workshop presented at the 32nd annual meeting of the Association for
       the Treatment of Sexual Abusers, Chicago, IL.
37. Cantor, J. M. (2013, October). Compulsive-hyper-sex-addiction: I don’t care what we all it,
       what can we do? Invited address presented to the Board of Examiners of Sex Therapists
       and Counselors of Ontario, Toronto, Ontario, Canada.
38. Cantor, J. M. (2013, September). Neuroimaging of pedophilia: Current status and
       implications. McGill University Health Centre, Department of Psychiatry Grand Rounds
       presentation, Montréal, Québec, Canada.
39. Cantor, J. M. (2013, April). Understanding pedophilia and the brain. Invited workshop
       presented at the 2013 meeting of the Minnesota Association for the Treatment of Sexual
       Abusers, Minneapolis, MN.
40. Cantor, J. M. (2013, April). The neurobiology of pedophilia and its implications for
       assessment, treatment, and public policy. Invited lecture at the 38th annual meeting of
       the Society for Sex Therapy and Research, Baltimore, MD.
41. Cantor, J. M. (2013, April). Sex offenders: Relating research to policy. Invited roundtable
       presentation at the annual meeting of the Academy of Criminal Justice Sciences, Dallas,
       TX.
42. Cantor, J. M. (2013, March). Pedophilia and brain research: From the basics to the state-
       of-the-art. Invited workshop presented to the annual meeting of the Forensic Mental
       Health Association of California, Monterey, CA.
43. Cantor, J. M. (2013, January). Pedophilia and child molestation. Invited lecture presented
       to the Canadian Border Services Agency, Toronto, Ontario, Canada.
44. Cantor, J. M. (2012, November). Understanding pedophilia and sexual offenders against
       children: Neuroimaging and its implications for public safety. Invited guest lecture to
       University of New Mexico School of Medicine Health Sciences Center, Albuquerque,
       NM.
45. Cantor, J. M. (2012, November). Pedophilia and brain research. Invited guest lecture to the
       annual meeting of the Circles of Support and Accountability, Toronto, Ontario, Canada.
46. Cantor, J. M. (2012, January). Current findings on pedophilia brain research. Invited
       workshop at the San Diego International Conference on Child and Family Maltreatment,
       San Diego, CA.
47. Cantor, J. M. (2012, January). Pedophilia and the risk to re-offend. Invited lecture to the
       Ontario Court of Justice Judicial Development Institute, Toronto, Ontario, Canada.
48. Cantor, J. M. (2011, November). Pedophilia and the brain: What it means for assessment,
       treatment, and policy. Plenary Lecture presented at the Association for the Treatment of
       Sexual Abusers, Toronto, Ontario, Canada.


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49. Cantor, J. M. (2011, July). Towards understanding contradictory findings in the
       neuroimaging of pedophilic men. Keynote address to 7th annual conference on Research
       in Forensic Psychiatry, Regensberg, Germany.
50. Cantor, J. M. (2011, March). Understanding sexual offending and the brain: Brain basics to
       the state of the art. Workshop presented at the winter conference of the Oregon
       Association for the Treatment of Sexual Abusers, Oregon City, OR.
51. Cantor, J. M. (2010, October). Manuscript publishing for students. Workshop presented at
       the 29th annual meeting of the Association for the Treatment of Sexual Abusers,
       Phoenix, AZ.
52. Cantor, J. M. (2010, August). Is sexual orientation a paraphilia? Invited lecture at the
       International Behavioral Development Symposium, Lethbridge, Alberta, Canada.
53. Cantor, J. M. (2010, March). Understanding sexual offending and the brain: From the
       basics to the state of the art. Workshop presented at the annual meeting of the
       Washington State Association for the Treatment of Sexual Abusers, Blaine, WA.
54. Cantor, J. M. (2009, January). Brain structure and function of pedophilia men.
       Neuropsychiatry Rounds, Toronto Western Hospital, Toronto, Ontario.
55. Cantor, J. M. (2008, April). Is pedophilia caused by brain dysfunction? Invited address to
       the University-wide Science Day Lecture Series, SUNY Oswego, Oswego, NY.
56. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
       Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
       & Blanchard, R. (2006, September). MRIs of pedophilic men. Invited presentation at the
       25th annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
57. Cantor, J. M., Blanchard, R., & Christensen, B. K. (2003, March). Findings in and
       implications of neuropsychology and epidemiology of pedophilia. Invited lecture at the
       28th annual meeting of the Society for Sex Therapy and Research, Miami.
58. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, July).
       Neuropsychological functioning in pedophiles. Invited lecture presented at the 27th
       annual meeting of the International Academy of Sex Research, Bromont, Canada.
59. Cantor, J. M., Blanchard, R., Christensen, B., Klassen, P., & Dickey, R. (2001, February).
       First glance at IQ, memory functioning and handedness in sex offenders. Lecture
       presented at the Forensic Lecture Series, Centre for Addiction and Mental Health,
       Toronto, Ontario, Canada.
60. Cantor, J. M. (1999, November). Reversal of SSRI-induced male sexual dysfunction:
       Suggestions from an animal model. Grand Rounds presentation at the Allan Memorial
       Institute, Royal Victoria Hospital, Montréal, Canada.




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                     PAPER PRESENTATIONS AND SYMPOSIA

1.  Cantor, J. M. (2020, April). “I’d rather have a trans kid than a dead kid”: Critical assessment
        of reported rates of suicidality in trans kids. Paper presented at the annual meeting of
        the Society for the Sex Therapy and Research. Online in lieu of in person meeting.
2. Stephens, S., Lalumière, M., Seto, M. C., & Cantor, J. M. (2017, October). The relationship
        between sexual responsiveness and sexual exclusivity in phallometric profiles. Paper
        presented at the annual meeting of the Canadian Sex Research Forum, Fredericton,
        New Brunswick, Canada.
3. Stephens, S., Cantor, J. M., & Seto, M. C. (2017, March). Can the SSPI-2 detect hebephilic
        sexual interest? Paper presented at the annual meeting of the American-Psychology
        Law Society Annual Meeting, Seattle, WA.
4. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October). Victim choice
        polymorphism and recidivism. Symposium Presentation. Paper presented at the 34th
        annual meeting of the Association for the Treatment of Sexual Abusers, Montréal,
        Canada.
5. McPhail, I. V., Hermann, C. A., Fernane, S. Fernandez, Y., Cantor, J. M., & Nunes, K. L.
        (2014, October). Sexual deviance in sexual offenders against children: A meta-analytic
        review of phallometric research. Paper presented at the 33rd annual meeting of the
        Association for the Treatment of Sexual Abusers, San Diego, CA.
6. Stephens, S., Seto, M. C., Cantor, J. M., & Goodwill, A. M. (2014, October). Is hebephilic
        sexual interest a criminogenic need?: A large scale recidivism study. Paper presented
        at the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
7. Stephens, S., Seto, M. C., Cantor, J. M., & Lalumière, M. (2014, October). Development
        and validation of the Revised Screening Scale for Pedophilic Interests (SSPI–2). Paper
        presented at the 33rd annual meeting of the Association for the Treatment of Sexual
        Abusers, San Diego, CA.
8. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
        (2014, September). Pedophilia and the brain: White matter differences detected with
        DTI. Paper presented at the 13th annual meeting of the International Association for the
        Treatment of Sexual Abusers, Porto, Portugal.
9. Stephens, S., Seto, M., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2014, March). The
        role of hebephilic sexual interests in sexual victim choice. Paper presented at the annual
        meeting of the American Psychology and Law Society, New Orleans, LA.
10. McPhail, I. V., Fernane, S. A., Hermann, C. A., Fernandez, Y. M., Nunes, K. L., & Cantor,
        J. M. (2013, November). Sexual deviance and sexual recidivism in sexual offenders
        against children: A meta-analysis. Paper presented at the 32nd annual meeting of the
        Association for the Treatment of Sexual Abusers, Chicago, IL.
11. Cantor, J. M. (2013, September). Pedophilia and the brain: Current MRI research and its
        implications. Paper presented at the 21st annual World Congress for Sexual Health,
        Porto Alegre, Brazil. [Featured among Best Abstracts, top 10 of 500.]
12. Cantor, J. M. (Chair). (2012, March). Innovations in sex research. Symposium conducted at
        the 37th annual meeting of the Society for Sex Therapy and Research, Chicago.
13. Cantor, J. M., & Blanchard, R. (2011, August). fMRI versus phallometry in the diagnosis of
        pedophilia and hebephilia. In J. M. Cantor (Chair), Neuroimaging of men’s object


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        preferences. Symposium presented at the 37th annual meeting of the International
        Academy of Sex Research, Los Angeles, USA.
14. Cantor, J. M. (Chair). (2011, August). Neuroimaging of men’s object preferences.
        Symposium conducted at the 37th annual meeting of the International Academy of Sex
        Research, Los Angeles.
15. Cantor, J. M. (2010, October). A meta-analysis of neuroimaging studies of male sexual
        arousal. In S. Stolerú (Chair), Brain processing of sexual stimuli in pedophilia: An
        application of functional neuroimaging. Symposium presented at the 29th annual
        meeting of the Association for the Treatment of Sexual Abusers, Phoenix, AZ.
16. Chivers, M. L., Seto, M. C., Cantor, J. C., Grimbos, T., & Roy, C. (April, 2010).
        Psychophysiological assessment of sexual activity preferences in women. Paper
        presented at the 35th annual meeting of the Society for Sex Therapy and Research,
        Boston, USA.
17. Cantor, J. M., Girard, T. A., & Lovett-Barron, M. (2008, November). The brain regions that
        respond to erotica: Sexual neuroscience for dummies. Paper presented at the 51st
        annual meeting of the Society for the Scientific Study of Sexuality, San Juan, Puerto
        Rico.
18. Barbaree, H., Langton, C., Blanchard, R., & Cantor, J. M. (2007, October). The role of age-
        at-release in the evaluation of recidivism risk of sexual offenders. Paper presented at
        the 26th annual meetingof the Association for the Treatment of Sexual Abusers, San
        Diego.
19. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
        Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
        & Blanchard, R. (2006, July). Pedophilia and brain morphology. Abstract and paper
        presented at the 32nd annual meeting of the International Academy of Sex Research,
        Amsterdam, Netherlands.
20. Seto, M. C., Cantor, J. M., & Blanchard, R. (2006, March). Child pornography offending is
        a diagnostic indicator of pedophilia. Paper presented at the 2006 annual meeting of the
        American Psychology-Law Society Conference, St. Petersburg, Florida.
21. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove, S. M., & Ellis, L. (2005, August).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and paper presented at the International Behavioral
        Development Symposium, Minot, North Dakota.
22. Cantor, J. M., & Blanchard, R. (2005, July). Quantitative reanalysis of aggregate data on
        IQ in sexual offenders. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
23. Cantor, J. M. (2003, August). Sex reassignment on demand: The clinician’s dilemma. Paper
        presented at the 111th annual meeting of the American Psychological Association,
        Toronto, Canada.
24. Cantor, J. M. (2003, June). Meta-analysis of VIQ–PIQ differences in male sex offenders.
        Paper presented at the Harvey Stancer Research Day, Toronto, Ontario, Canada.
25. Cantor, J. M. (2002, August). Gender role in autogynephilic transsexuals: The more things
        change… Paper presented at the 110th annual meeting of the American Psychological
        Association, Chicago.




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26. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, June).
        IQ, memory functioning, and handedness in male sex offenders. Paper presented at the
        Harvey Stancer Research Day, Toronto, Ontario, Canada.
27. Cantor, J. M. (1998, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 106th annual meeting of the American Psychological
        Association.
28. Cantor, J. M. (1997, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 105th annual meeting of the American Psychological Association.
29. Cantor, J. M. (1997, August). Convention orientation for lesbian, gay, and bisexual
        students. Paper presented at the 105th annual meeting of the American Psychological
        Association.
30. Cantor, J. M. (1996, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 104th annual meeting of the American Psychological Association.
31. Cantor, J. M. (1996, August). Symposium: Question of inclusion: Lesbian and gay
        psychologists and accreditation. Paper presented at the 104th annual meeting of the
        American Psychological Association, Toronto.
32. Cantor, J. M. (1996, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 104th annual meeting of the American Psychological
        Association.
33. Cantor, J. M. (1995, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 103rd annual meeting of the American Psychological Association.
34. Cantor, J. M. (1995, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 103rd annual meeting of the American Psychological
        Association.
35. Cantor, J. M. (1994, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 102nd annual meeting of the American Psychological Association.
36. Cantor, J. M. (1994, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 102nd annual meeting of the American Psychological
        Association.
37. Cantor, J. M., & Pilkington, N. W. (1992, August). Homophobia in psychology programs: A
        survey of graduate students. Paper presented at the Centennial Convention of the
        American Psychological Association, Washington, DC. (ERIC Document Reproduction
        Service No. ED 351 618)
38. Cantor, J. M. (1991, August). Being gay and being a graduate student: Double the
        memberships, four times the problems. Paper presented at the 99th annual meeting of
        the American Psychological Association, San Francisco.




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                               POSTER PRESENTATIONS

1.  Klein, L., Stephens, S., Goodwill, A. M., Cantor, J. M., & Seto, M. C. (2015, October). The
        psychological propensities of risk in undetected sexual offenders. Poster presented at
        the 34th annual meeting of the Association for the Treatment of Sexual Abusers,
        Montréal, Canada.
2. Pullman, L. E., Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October).
        Why are incest offenders less likely to recidivate? Poster presented at the 34th annual
        meeting of the Association for the Treatment of Sexual Abusers, Montréal, Canada.
3. Seto, M. C., Stephens, S. M., Cantor, J. M., Lalumiere, M. L., Sandler, J. C., & Freeman, N.
        A. (2015, August). The development and validation of the Revised Screening Scale for
        Pedophilic Interests (SSPI-2). Poster presentation at the 41st annual meeting of the
        International Academy of Sex Research. Toronto, Canada.
4. Soh, D. W., & Cantor, J. M. (2015, August). A peek inside a furry convention. Poster
        presentation at the 41st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
5. VanderLaan, D. P., Lobaugh, N. J., Chakravarty, M. M., Patel, R., Chavez, S. Stojanovski,
        S. O., Takagi, A., Hughes, S. K., Wasserman, L., Bain, J., Cantor, J. M., & Zucker, K.
        J. (2015, August). The neurohormonal hypothesis of gender dysphoria: Preliminary
        evidence of cortical surface area differences in adolescent natal females. Poster
        presentation at the 31st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
6. Cantor, J. M., Lafaille, S. J., Moayedi, M., Mikulis, D. M., & Girard, T. A. (2015, June).
        Diffusion tensor imaging (DTI) of the brain in pedohebephilic men: Preliminary
        analyses. Harvey Stancer Research Day, Toronto, Ontario Canada.
7. Newman, J. E., Stephens, S., Seto, M. C., & Cantor, J. M. (2014, October). The validity of
        the Static-99 in sexual offenders with low intellectual abilities. Poster presentation at
        the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
8. Lykins, A. D., Walton, M. T., & Cantor, J. M. (2014, June). An online assessment of
        personality, psychological, and sexuality trait variables associated with self-reported
        hypersexual behavior. Poster presentation at the 30th annual meeting of the
        International Academy of Sex Research, Dubrovnik, Croatia.
9. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, November).
        The utility of phallometry in the assessment of hebephilia. Poster presented at the 32nd
        annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
10. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, October).
        The role of hebephilic sexual interests in sexual victim choice. Poster presented at the
        32nd annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
11. Fazio, R. L., & Cantor, J. M. (2013, October). Analysis of the Fazio Laterality Inventory
        (FLI) in a population with established atypical handedness. Poster presented at the 33rd
        annual meeting of the National Academy of Neuropsychology, San Diego.
12. Lafaille, S., Hannah, J., Soh, D., Kucyi, A., Girard, T. A., Mikulis, D. M., & Cantor, J. M.
        (2013, August). Investigating resting state networks in pedohebephiles. Poster
        presented at the 29th annual meeting of the International Academy of Sex Research,
        Chicago.


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13. McPhail, I. V., Lykins, A. D., Robinson, J. J., LeBlanc, S., & Cantor, J. M. (2013, August).
         Effects of prescription medication on volumetric phallometry output. Poster presented
         at the 29th annual meeting of the International Academy of Sex Research, Chicago.
14. Murray, M. E., Dyshniku, F., Fazio, R. L., & Cantor, J. M. (2013, August). Minor physical
         anomalies as a window into the prenatal origins of pedophilia. Poster presented at the
         29th annual meeting of the International Academy of Sex Research, Chicago.
15. Sutton, K. S., Stephens, S., Dyshniku, F., Tulloch, T., & Cantor, J. M. (2013, August). Pilot
         group treatment for “procrasturbation.” Poster presented at 39th annual meeting of the
         International Academy of Sex Research, Chicago.
16. Sutton, K. S., Pytyck, J., Stratton, N., Sylva, D., Kolla, N., & Cantor, J. M. (2013, August).
         Client characteristics by type of hypersexuality referral: A quantitative chart review.
         Poster presented at the 39th annual meeting of the International Academy of Sex
         Research, Chicago.
17. Fazio, R. L., & Cantor, J. M. (2013, June). A replication and extension of the psychometric
         properties of the Digit Vigilance Test. Poster presented at the 11th annual meeting of the
         American Academy of Clinical Neuropsychology, Chicago.
18. Lafaille, S., Moayedi, M., Mikulis, D. M., Girard, T. A., Kuban, M., Blak, T., & Cantor, J.
         M. (2012, July). Diffusion Tensor Imaging (DTI) of the brain in pedohebephilic men:
         Preliminary analyses. Poster presented at the 38th annual meeting of the International
         Academy of Sex Research, Lisbon, Portugal.
19. Lykins, A. D., Cantor, J. M., Kuban, M. E., Blak, T., Dickey, R., Klassen, P. E., &
         Blanchard, R. (2010, July). Sexual arousal to female children in gynephilic men. Poster
         presented at the 38th annual meeting of the International Academy of Sex Research,
         Prague, Czech Republic.
20. Cantor, J. M., Girard, T. A., Lovett-Barron, M., & Blak, T. (2008, July). Brain regions
         responding to visual sexual stimuli: Meta-analysis of PET and fMRI studies. Abstract
         and poster presented at the 34th annual meeting of the International Academy of Sex
         Research, Leuven, Belgium.
21. Lykins, A. D., Blanchard, R., Cantor, J. M., Blak, T., & Kuban, M. E. (2008, July).
         Diagnosing sexual attraction to children: Considerations for DSM-V. Poster presented
         at the 34th annual meeting of the International Academy of Sex Research, Leuven,
         Belgium.
22. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
         October). Physical height in pedophilia and hebephilia. Poster presented at the 26th
         annual meeting of the Association for the Treatment of Sexual Abusers, San Diego.
23. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
         August). Physical height in pedophilia and hebephilia. Abstract and poster presented at
         the 33rd annual meeting of the International Academy of Sex Research, Vancouver,
         Canada.
24. Puts, D. A., Blanchard, R., Cardenas, R., Cantor, J., Jordan, C. L., & Breedlove, S. M.
         (2007, August). Earlier puberty predicts superior performance on male-biased
         visuospatial tasks in men but not women. Abstract and poster presented at the 33rd
         annual meeting of the International Academy of Sex Research, Vancouver, Canada.
25. Seto, M. C., Cantor, J. M., & Blanchard, R. (2005, November). Possession of child
         pornography is a diagnostic indicator of pedophilia. Poster presented at the 24th annual
         meeting of the Association for the Treatment of Sexual Abusers, New Orleans.



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26. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove. S. M., & Ellis, L. (2005, July).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
27. Cantor, J. M., & Blanchard, R. (2003, July). The reported VIQ–PIQ differences in male sex
        offenders are artifactual? Abstract and poster presented at the 29th annual meeting of
        the International Academy of Sex Research, Bloomington, Indiana.
28. Christensen, B. K., Cantor, J. M., Millikin, C., & Blanchard, R. (2002, February). Factor
        analysis of two brief memory tests: Preliminary evidence for modality-specific
        measurement. Poster presented at the 30th annual meeting of the International
        Neuropsychological Society, Toronto, Ontario, Canada.
29. Cantor, J. M., Blanchard, R., Paterson, A., Bogaert, A. (2000, June). How many gay men
        owe their sexual orientation to fraternal birth order? Abstract and poster presented at
        the International Behavioral Development Symposium, Minot, North Dakota.
30. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, November). Fluoxetine inhibition of male rat
        sexual behavior: Reversal by oxytocin. Poster presented at the 26th annual meeting of
        the Society for Neurosciences, Washington, DC.
31. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, June). An animal model of fluoxetine-induced
        sexual dysfunction: Dose dependence and time course. Poster presented at the 28th
        annual Conference on Reproductive Behavior, Montréal, Canada.
32. Cantor, J. M., O’Connor, M. G., Kaplan, B., & Cermak, L. S. (1993, June). Transient events
        test of retrograde memory: Performance of amnestic and unimpaired populations.
        Poster presented at the 2nd annual science symposium of the Massachusetts
        Neuropsychological Society, Cambridge, MA.




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                 EDITORIAL AND PEER-REVIEWING ACTIVITIES

Editor-in-Chief
Sexual Abuse: A Journal of Research and Treatment                  Jan., 2010–Dec., 2014


Editorial Board Memberships
Journal of Sexual Aggression                                       Jan., 2010–Dec., 2021
Journal of Sex Research, The                                       Jan., 2008–Aug., 2020
Sexual Abuse: A Journal of Research and Treatment                  Jan., 2006–Dec., 2019
Archives of Sexual Behavior                                        Jan., 2004–Present
The Clinical Psychologist                                          Jan., 2004–Dec., 2005


Ad hoc Journal Reviewer Activity
American Journal of Psychiatry                Journal of Consulting and Clinical Psychology
Annual Review of Sex Research                 Journal of Forensic Psychology Practice
Archives of General Psychiatry                Journal for the Scientific Study of Religion
Assessment                                    Journal of Sexual Aggression
Biological Psychiatry                         Journal of Sexual Medicine
BMC Psychiatry                                Journal of Psychiatric Research
Brain Structure and Function                  Nature Neuroscience
British Journal of Psychiatry                 Neurobiology Reviews
British Medical Journal                       Neuroscience & Biobehavioral Reviews
Canadian Journal of Behavioural Science       Neuroscience Letters
Canadian Journal of Psychiatry                Proceedings of the Royal Society B
Cerebral Cortex                                  (Biological Sciences)
Clinical Case Studies                         Psychological Assessment
Comprehensive Psychiatry                      Psychological Medicine
Developmental Psychology                      Psychological Science
European Psychologist                         Psychology of Men & Masculinity
Frontiers in Human Neuroscience               Sex Roles
Human Brain Mapping                           Sexual and Marital Therapy
International Journal of Epidemiology         Sexual and Relationship Therapy
International Journal of Impotence Research   Sexuality & Culture
International Journal of Sexual Health        Sexuality Research and Social Policy
International Journal of Transgenderism       The Clinical Psychologist
Journal of Abnormal Psychology                Traumatology
Journal of Clinical Psychology                World Journal of Biological Psychiatry




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                             GRANT REVIEW PANELS

2017–2021   Member, College of Reviewers, Canadian Institutes of Health Research, Canada.

2017        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2017        Member, International Review Board, Research collaborations on behavioural
            disorders related to violence, neglect, maltreatment and abuse in childhood and
            adolescence. Bundesministerium für Bildung und Forschung [Ministry of
            Education and Research], Germany.

2016        Reviewer. National Science Center [Narodowe Centrum Nauki], Poland.

2016        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2015        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
            Council, Australia.

2015        Reviewer. Czech Science Foundation, Czech Republic.

2015        Reviewer, “Off the beaten track” grant scheme. Volkswagen Foundation,
            Germany.

2015        External Reviewer, Discovery Grants program¾Biological Systems and
            Functions. National Sciences and Engineering Research Council of Canada,
            Canada

2015        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2014        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
            Council, Australia.

2014        External Reviewer, Discovery Grants program¾Biological Systems and
            Functions. National Sciences and Engineering Research Council of Canada,
            Canada.

2014        Panel Member, Dean’s Fund—Clinical Science Panel. University of Toronto
            Faculty of Medicine, Canada.

2014        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2013        Panel Member, Grant Miller Cancer Research Grant Panel. University of Toronto
            Faculty of Medicine, Canada.




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2013       Panel Member, Dean of Medicine Fund New Faculty Grant Clinical Science
           Panel. University of Toronto Faculty of Medicine, Canada.

2012       Board Member, International Review Board, Research collaborations on
           behavioural disorders related to violence, neglect, maltreatment and abuse in
           childhood and adolescence (2nd round). Bundesministerium für Bildung und
           Forschung [Ministry of Education and Research], Germany.

2012       External Reviewer, University of Ottawa Medical Research Fund. University of
           Ottawa Department of Psychiatry, Canada.

2012       External Reviewer, Behavioural Sciences—B. Canadian Institutes of Health
           Research, Canada.

2011       Board Member, International Review Board, Research collaborations on
           behavioural disorders related to violence, neglect, maltreatment and abuse in
           childhood and adolescence. Bundesministerium für Bildung und Forschung
           [Ministry of Education and Research], Germany.




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                               TEACHING AND TRAINING
PostDoctoral Research Supervision
Law & Mental Health Program, Centre for Addiction and Mental Health, Toronto, Canada
Dr. Katherine S. Sutton                                                  Sept., 2012–Dec., 2013
Dr. Rachel Fazio                                                         Sept., 2012–Aug., 2013
Dr. Amy Lykins                                                           Sept., 2008–Nov., 2009


Doctoral Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Michael Walton • University of New England, Australia                    Sept., 2017–Aug., 2018
Debra Soh • York University                                               May, 2013–Aug, 2017
Skye Stephens • Ryerson University                                       April, 2012–June, 2016


Masters Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Nicole Cormier • Ryerson University                                         June, 2012–present
Debra Soh • Ryerson University                                           May, 2009–April, 2010


Undergraduate Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Kylie Reale • Ryerson University                                                   Spring, 2014
Jarrett Hannah • University of Rochester                                          Summer, 2013
Michael Humeniuk • University of Toronto                                          Summer, 2012


Clinical Supervision (Doctoral Internship)
Clinical Internship Program, Centre for Addiction and Mental Health, Toronto, Canada
Katherine S. Sutton • Queen’s University                                               2011–2012
David Sylva • Northwestern University                                                  2011–2012
Jordan Rullo • University of Utah                                                      2010–2011
Lea Thaler • University of Nevada, Las Vegas                                           2010–2011
Carolin Klein • University of British Columbia                                         2009–2010
Bobby R. Walling • University of Manitoba                                              2009–2010




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                                TEACHING AND TRAINING
Clinical Supervision (Doctoral- and Masters- level practica)
Centre for Addiction and Mental Health, Toronto, Canada
Tyler Tulloch • Ryerson University                                                   2013–2014
Natalie Stratton • Ryerson University                                              Summer, 2013
Fiona Dyshniku • University of Windsor                                             Summer, 2013
Mackenzie Becker • McMaster University                                             Summer, 2013
Skye Stephens • Ryerson University                                                   2012–2013
Vivian Nyantakyi • Capella University                                                2010–2011
Cailey Hartwick • University of Guelph                                                Fall, 2010
Tricia Teeft • Humber College                                                      Summer, 2010
Allison Reeves • Ontario Institute for Studies in Education/Univ. of Toronto         2009–2010
Helen Bailey • Ryerson University                                                  Summer, 2009
Edna Aryee • Ontario Institute for Studies in Education/Univ. of Toronto             2008–2009
Iryna Ivanova • Ontario Institute for Studies in Education/Univ. of Toronto          2008–2009
Jennifer Robinson • Ontario Institute for Studies in Education/Univ. of Toronto      2008–2009
Zoë Laksman • Adler School of Professional Psychology                                2005–2006
Diana Mandelew • Adler School of Professional Psychology                             2005–2006
Susan Wnuk • York University                                                         2004–2005
Hiten Lad • Adler School of Professional Psychology                                  2004–2005
Natasha Williams • Adler School of Professional Psychology                           2003–2004
Lisa Couperthwaite • Ontario Institute for Studies in Education/Univ. of Toronto     2003–2004
Lori Gray, née Robichaud • University of Windsor                                   Summer, 2003
Sandra Belfry • Ontario Institute for Studies in Education/Univ. of Toronto          2002–2003
Althea Monteiro • York University                                                  Summer, 2002
Samantha Dworsky • York University                                                   2001–2002
Kerry Collins • University of Windsor                                              Summer, 2001
Jennifer Fogarty • Waterloo University                                               2000–2001
Emily Cripps • Waterloo University                                                 Summer, 2000
Lee Beckstead • University of Utah                                                          2000




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                     PROFESSIONAL SOCIETY ACTIVITIES

OFFICES HELD
2018–2019    Local Host. Society for Sex Therapy and Research.
  2015       Member, International Scientific Committee, World Association for Sexual
              Health.
  2015       Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2012–2013    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2012–2013    Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2011–2012    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2010–2011    Scientific Program Committee, International Academy of Sex Research
2002–2004    Membership Committee • APA Division 12 (Clinical Psychology)
2002–2003    Chair, Committee on Science Issues, APA Division 44
  2002       Observer, Grant Review Committee • Canadian Institutes of Health Research
              Behavioural Sciences (B)
2001–2009    Reviewer • APA Division 44 Convention Program Committee
2001, 2002   Reviewer • APA Malyon-Smith Scholarship Committee
2000–2005    Task Force on Transgender Issues, APA Division 44
1998–1999    Consultant, APA Board of Directors Working Group on Psychology Marketplace
  1997       Student Representative • APA Board of Professional Affairs’ Institute on
              TeleHealth
1997–1998    Founder and Chair • APA/APAGS Task Force on New Psychologists’ Concerns
1997–1999    Student Representative • APA/CAPP Sub-Committee for a National Strategy for
              Prescription Privileges
1997–1999    Liaison • APA Committee for the Advancement of Professional Practice
1997–1998    Liaison • APA Board of Professional Affairs
1993–1997    Founder and Chair • APA/APAGS Committee on LGB Concerns




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                       PROFESSIONAL SOCIETY ACTIVITIES

MEMBERSHIPS
2017–2021     Member • Canadian Sex Research Forum
2009–Present Member • Society for Sex Therapy and Research
2007–Present Fellow • Association for the Treatment and Prevention of Sexual Abuse
2006–Present Full Member (elected) • International Academy of Sex Research
2006–Present Research and Clinical Member • Association for the Treatment and Prevention of
              Sexual Abuse
2003–2006     Associate Member (elected) • International Academy of Sex Research
2002          Founding Member • CPA Section on Sexual Orientation and Gender Identity
2001–2013     Member • Canadian Psychological Association (CPA)
2000–2015     Member • American Association for the Advancement of Science
2000–2015     Member • American Psychological Association (APA)
                     APA Division 12 (Clinical Psychology)
                     APA Division 44 (Society for the Psychological Study of LGB Issues)
2000–2020     Member • Society for the Scientific Study of Sexuality
1995–2000     Student Member • Society for the Scientific Study of Sexuality
1993–2000     Student Affiliate • American Psychological Association
1990–1999     Member, American Psychological Association of Graduate Students (APAGS)




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                        CLINICAL LICENSURE/REGISTRATION

Certificate of Registration, Number 3793
College of Psychologists of Ontario, Ontario, Canada



                                 AWARDS AND HONORS

2022 Distinguished Contribution Award
Association for the Treatment and Prevention of Sexual Abuse (ATSA)

2011 Howard E. Barbaree Award for Excellence in Research
Centre for Addiction and Mental Health, Law and Mental Health Program

2004 fMRI Visiting Fellowship Program at Massachusetts General Hospital
American Psychological Association Advanced Training Institute and NIH

1999–2001 CAMH Post-Doctoral Research Fellowship
Centre for Addiction and Mental Health Foundation and Ontario Ministry of Health

1998 Award for Distinguished Contribution by a Student
American Psychological Association, Division 44

1995 Dissertation Research Grant
Society for the Scientific Study of Sexuality

1994–1996 McGill University Doctoral Scholarship

1994 Award for Outstanding Contribution to Undergraduate Teaching
“TA of the Year Award,” from the McGill Psychology Undergraduate Student Association




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                                       MAJOR MEDIA
                             (Complete list available upon request.)

Feature-length Documentaries
Vice Canada Reports. Age of Consent. 14 Jan 2017.
Canadian Broadcasting Company. I, Pedophile. Firsthand documentaries. 10 Mar 2016.

Appearances and Interviews
11 Mar 2020. Ibbitson, John. It is crucial that Parliament gets the conversion-therapy ban right.
       The Globe & Mail.
25 Jan 2020. Ook de hulpvaardige buurman kan verzamelaar van kinderporno zin. De Morgen.
3 Nov 2019. Village of the damned. 60 Minutes Australia.
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       som ham.
10 Oct 2019. Smith, T. Growing efforts are looking at how—or if—#MeToo offenders can be
       reformed. National Public Radio.
29 Sep 2019. Carey, B. Preying on Children: The Emerging Psychology of Pedophiles. New
       York Times.
29 Apr 2019. Mathieu, Isabelle. La poupée qui a troublé les Terre-Neuviens. La Tribune.
21 Mar 2019. Pope Francis wants psychological testing to prevent problem priests. But can it
       really do that? The Washington Post.
12 Dec 2018. Child sex dolls: Illegal in Canada, and dozens seized at the border. Ontario Today
       with Rita Celli. CBC.
12 Dec 2018. Celli, R. & Harris, K. Dozens of child sex dolls seized by Canadian border agents.
       CBC News.
27 Apr 2018. Rogers, Brook A. The online ‘incel’ culture is real–and dangerous. New York Post.
25 Apr 2018. Yang, J. Number cited in cryptic Facebook post matches Alek Minassian’s military
       ID: Source. Toronto Star.
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27 Nov 2017. Carey, B. Therapy for Sexual Misconduct? It’s Mostly Unproven. New York
       Times.
14 Nov 2017. Tremonti, A. M. The Current. CBC.
9 Nov2017. Christensen, J. Why men use masturbation to harass women. CNN.
       http://www.cnn.com/2017/11/09/health/masturbation-sexual-harassment/index.html
7 Nov 2017. Nazaryan, A. Why is the alt-right obsessed with pedophilia? Newsweek.
15 Oct 2017. Ouatik, B. Déscouvre. Pédophilie et science. CBC Radio Canada.
12 Oct 2017. Ouatik, B. Peut-on guérir la pédophilie? CBC Radio Canada.
11 Sep 2017. Burns, C. The young paedophiles who say they don’t abuse children. BBC News.
18 Aug 2017. Interview. National Post Radio. Sirius XM Canada.
16 Aug 2017. Blackwell, Tom. Man says he was cured of pedophilia at Ottawa clinic: ‘It’s like a
       weight that’s been lifted’: But skeptics worry about the impact of sending pedophiles into
       the world convinced their curse has been vanquished. National Post.
26 Apr 2017. Zalkind, S. Prep schools hid sex abuse just like the catholic church. VICE.
24 Apr 2017. Sastre, P. Pédophilie: une panique morale jamais n'abolira un crime. Slate France.
12 Feb 2017. Payette, G. Child sex doll trial opens Pandora’s box of questions. CBC News.
26 Nov 2016. Det morke uvettet [“The unknown darkness]”. Fedrelandsvennen.
13 July 2016. Paedophilia: Shedding light on the dark field. The Economist.


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1 Jul 2016. Debusschere, B. Niet iedereen die kinderporno kijkt, is een pedofiel: De mythes rond
        pedofilie ontkracht. De Morgen.
12 Apr 2016. O’Connor, R. Terence Martin: The Tasmanian MP whose medication 'turned him
        into a paedophile'. The Independent.
8 Mar 2016. Bielski, Z. ‘The most viscerally hated group on earth’: Documentary explores how
        intervention can stop pedophiles. The Globe and Mail.
1 Mar 2016. Elmhirst, S. What should we do about paedophiles? The Guardian.
24 Feb 2016. The man whose brain tumour ‘turned him into a paedophile’. The Independent.
24 Nov 2015. Byron, T. The truth about child sex abuse. BBC Two.
20 Aug 2015. The Jared Fogle case: Why we understand so little about abuse. Washington Post.
19 Aug 2015. Blackwell, T. Treat sex offenders for impotence—to keep them out of trouble,
        Canadian psychiatrist says. National Post.
2 Aug 2015. Menendez, J. BBC News Hour. BBC World Service.
13 Jul 2015. The nature of pedophilia. BBC Radio 4.
9 Jul 2015. The sex-offender test: How a computerized assessment can help determine the fate of
        men who’ve been accused of sexually abusing children. The Atlantic.
10 Apr 2015. NWT failed to prevent sex offender from abusing stepdaughter again. CBC News.
10 Feb 2015. Savage, D. “The ethical sadist.” In Savage Love. The Stranger.
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9 Dec 2014. Carey, B. When a rapist’s weapon is a pill. New York Times.
1 Dec 2014. Singal, J. Can virtual reality help pedophiles? New York Magazine.
17 Nov2014. Say pedófile, busco aydua. El Pais.
4 Sep 2014. Born that way? Ideas, with Paul Kennedy. CBC Radio One.
27 Aug 2014. Interrogating the statistics for the prevalence of paedophilia. BBC.
25 Jul 2014. Stephenson, W. The prevalence of paedophilia. BBC World Service.
21 Jul 2014. Hildebrandt, A. Virtuous Pedophiles group gives support therapy cannot. CBC.
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21 Jul 2013. Miller, L. The turn-on switch: Fetish theory, post-Freud. New York Magazine.
1 Jul 2013. Morin, H. Pédophilie: la difficile quête d'une origine biologique. Le Monde.
2 Jun 2013. Malcolm, L. The psychology of paedophilia. Australian National Radio.
1 Mar 2013. Kay, J. The mobbing of Tom Flanagan is unwarranted and cruel. National Post.
6 Feb 2013. Boy Scouts board delays vote on lifting ban on gays. L.A. Times.
31 Aug 2012. CNN Newsroom interview with Ashleigh Banfield. CNN.
24 Jun 2012. CNN Newsroom interview with Don Lemon. CNN.




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                          EXPERT WITNESS TESTIMONY

1. 2023 L.W. v Dept of Health                                   Middle District, TN
2. 2023 K.C. v Medical Lic Board of Indiana                     Southern District, IN
3. 2022 Baunee v Dept of Corrections                            Onondaga County, NY
4. 2022 Bridge v Oklahoma State Dept of Education               Western District, OK
5. 2022 Dekker, et al. v Florida Agency for Health Care Admin   Tallahassee, FL
6. 2022 Roe v Utah High School Activities Assn.                 Salt Lake County, UT
7. 2022 A.M. v Indiana Public Schools                           Southern District, IN
8. 2022 Ricard v Kansas                                         Geery County, KS
9. 2022 Re Commitment of Baunee                                 Syracuse, NY
10. 2022 Hersom & Doe v WVa Health & Human Services             Southern District, WV
11. 2022 Eknes-Tucker v Alabama                                 Montgomery Cnty, AL
12. 2022 PFLAG, et al. v Texas                                  Travis County, TX
13. 2022 Doe v Texas                                            Travis County, TX
14. 2022 BPJ v West Virginia Board of Education                 Southern District, WV
15. 2021 Cross et al. v Loudoun School Board                    Loudoun, VA
16. 2021 Cox v Indiana Child Services                           Child Services, IN
17. 2021 Josephson v University of Kentucky                     Western District, KY
18. 2021 Re Commitment of Michael Hughes (Frye Hearing)         Cook County, IL
19. 2021 Arizona v Arnett Clifton                               Maricopa County, AZ
20. 2019 US v Peter Bright                                      Southern District, NY
21. 2019 Spiegel-Savoie v Savoie-Sexten (Custody Hearing)       Boston, MA
22. 2019 Re Commitment of Steven Casper (Frye Hearing)          Kendall County, IL
23. 2019 Re Commitment of Inger (Frye Hearing)                  Poughkeepsie, NY
24. 2019 Canada vs John Fitzpatrick (Sentencing Hearing)        Toronto, ON, Canada
25. 2018 Re Commitment of Little (Frye Hearing)                 Utica, NY
26. 2017 Re Commitment of Nicholas Bauer (Frye Hearing)         Lee County, IL
27. 2017 US vs William Leford (Presentencing Hearing)           Warnock, GA
28. 2015 Florida v Jon Herb                                     Naples, FL
29. 2010 Re Detention of William Dutcher                        Seattle, WA




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                               Appendix 2
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   2020, VOL. 46, NO. 4, 307–313
   https://doi.org/10.1080/0092623X.2019.1698481




   Transgender and Gender Diverse Children and Adolescents:
   Fact-Checking of AAP Policy
   James M. Cantor
   Toronto Sexuality Centre, Toronto, Canada


       ABSTRACT
       The American Academy of Pediatrics (AAP) recently published a policy
       statement: Ensuring comprehensive care and support for transgender and
       gender-diverse children and adolescents. Although almost all clinics and pro-
       fessional associations in the world use what’s called the watchful waiting
       approach to helping gender diverse (GD) children, the AAP statement
       instead rejected that consensus, endorsing gender affirmation as the only
       acceptable approach. Remarkably, not only did the AAP statement fail to
       include any of the actual outcomes literature on such cases, but it also
       misrepresented the contents of its citations, which repeatedly said the very
       opposite of what AAP attributed to them.



   The American Academy of Pediatrics (AAP) recently published a policy statement entitled,
   Ensuring comprehensive care and support for transgender and gender-diverse children and adoles-
   cents (Rafferty, AAP Committee on Psychosocial Aspects of Child and Family Health, AAP
   Committee on Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and
   Wellness, 2018). These are children who manifest discontent with the sex they were born as and
   desire to live as the other sex (or as some alternative gender role). The policy was quite a remark-
   able document: Although almost all clinics and professional associations in the world use what’s
   called the watchful waiting approach to helping transgender and gender diverse (GD) children,
   the AAP statement rejected that consensus, endorsing only gender affirmation. That is, where the
   consensus is to delay any transitions after the onset of puberty, AAP instead rejected waiting
   before transition. With AAP taking such a dramatic departure from other professional associa-
   tions, I was immediately curious about what evidence led them to that conclusion. As I read the
   works on which they based their policy, however, I was pretty surprised—rather alarmed, actually:
   These documents simply did not say what AAP claimed they did. In fact, the references that
   AAP cited as the basis of their policy instead outright contradicted that policy, repeatedly endors-
   ing watchful waiting.
       The AAP statement was also remarkable in what it left out—namely, the actual outcomes
   research on GD children. In total, there have been 11 follow-up studies of GD children, of which
   AAP cited one (Wallien & Cohen-Kettenis, 2008), doing so without actually mentioning the out-
   come data it contained. The literature on outcomes was neither reviewed, summarized, nor sub-
   jected to meta-analysis to be considered in the aggregate—It was merely disappeared. (The list of
   all existing studies appears in the appendix.) As they make clear, every follow-up study of GD
   children, without exception, found the same thing: Over puberty, the majority of GD children
   cease to want to transition. AAP is, of course, free to establish whatever policy it likes on


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   ß 2019 Taylor & Francis Group, LLC
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   whatever basis it likes. But any assertion that their policy is based on evidence is demonstrably
   false, as detailed below.
       AAP divided clinical approaches into three types—conversion therapy, watchful waiting,
   and gender affirmation. It rejected the first two and endorsed gender affirmation as the only
   acceptable alternative. Most readers will likely be familiar already with attempts to use conver-
   sion therapy to change sexual orientation. With regard to gender identity, AAP wrote:
         “[C]onversion” or “reparative” treatment models are used to prevent children and adolescents from
         identifying as transgender or to dissuade them from exhibiting gender-diverse expressions. … Reparative
         approaches have been proven to be not only unsuccessful38 but also deleterious and are considered outside
         the mainstream of traditional medical practice.29,39–42

   The citations were:
         38. Haldeman DC. The practice and ethics of sexual orientation conversion therapy. J Consult Clin Psychol.
             1994;62(2):221–227.
         29. Adelson SL; American Academy of Child and Adolescent Psychiatry (AACAP) Committee on Quality
             Issues (CQI). Practice parameter on gay, lesbian, or bisexual sexual orientation, gender nonconformity,
             and gender discordance in children and adolescents. J Am Acad Child Adolesc Psychiatry.
             2012;51(9):957–974.
         39. Byne W. Regulations restrict practice of conversion therapy. LGBT Health. 2016;3(2):97–99.
         40. Cohen-Kettenis PT, Delemarrevan de Waal HA, Gooren LJ. The treatment of adolescent transsexuals:
             changing insights. J Sex Med. 2008;5(8):1892–1897.
         41. Bryant K. Making gender identity disorder of childhood: historical lessons for contemporary debates.
             Sex Res Soc Policy. 2006;3(3):23–39.
         42. World Professional Association for Transgender Health. WPATH De-Psychopathologisation Statement.
             Minneapolis, MN: World Professional Association for Transgender Health; 2010.

       AAP’s claims struck me as odd because there are no studies of conversion therapy for gender
   identity. Studies of conversion therapy have been limited to sexual orientation, and, moreover, to
   the sexual orientation of adults, not to gender identity and not of children in any case. The article
   AAP cited to support their claim (reference number 38) is indeed a classic and well-known
   review, but it is a review of sexual orientation research only. Neither gender identity, nor even
   children, received a single mention in it. Indeed, the narrower scope of that article should be
   clear to anyone reading even just its title: “The practice and ethics of sexual orientation conver-
   sion therapy” [italics added].
       AAP continued, saying that conversion approaches for GD children have already been rejected
   by medical consensus, citing five sources. This claim struck me as just as odd, however—I
   recalled associations banning conversion therapy for sexual orientation, but not for gender iden-
   tity, exactly because there is no evidence for generalizing from adult sexual orientation to child-
   hood gender identity. So, I started checking AAP’s citations for that, and these sources too
   pertained only to sexual orientation, not gender identity (specifics below). What AAP’s sources
   did repeatedly emphasize was that:

     A.       Sexual orientation of adults is unaffected by conversion therapy and any other [known]
              intervention;
     B.       Gender dysphoria in childhood before puberty desists in the majority of cases, becoming
              (cis-gendered) homosexuality in adulthood, again regardless of any [known] intervention; and
     C.       Gender dysphoria in childhood persisting after puberty tends to persist entirely.

      That is, in the context of GD children, it simply makes no sense to refer to externally induced
   “conversion”: The majority of children “convert” to cisgender or “desist” from transgender
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   regardless of any attempt to change them. “Conversion” only makes sense with regard to adult
   sexual orientation because (unlike childhood gender identity), adult homosexuality never or
   nearly never spontaneously changes to heterosexuality. Although gender identity and sexual
   orientation may often be analogous and discussed together with regard to social or political val-
   ues and to civil rights, they are nonetheless distinct—with distinct origins, needs, and responses
   to medical and mental health care choices. Although AAP emphasized to the reader that “gender
   identity is not synonymous with ‘sexual orientation’” (Rafferty et al., 2018, p. 3), they went ahead
   to treat them as such nonetheless.
       To return to checking AAP’s fidelity to its sources: Reference 29 was a practice guideline
   from the Committee on Quality Issues of the American Academy of Child and Adolescent
   Psychiatry (AACAP). Despite AAP applying this source to gender identity, AACAP was quite
   unambiguous regarding their intent to speak to sexual orientation and only to sexual orienta-
   tion: “Principle 6. Clinicians should be aware that there is no evidence that sexual orientation
   can be altered through therapy, and that attempts to do so may be harmful. There is no estab-
   lished evidence that change in a predominant, enduring homosexual pattern of development is
   possible. Although sexual fantasies can, to some degree, be suppressed or repressed by those
   who are ashamed of or in conflict about them, sexual desire is not a choice. However, behav-
   ior, social role, and—to a degree—identity and self-acceptance are. Although operant condi-
   tioning modifies sexual fetishes, it does not alter homosexuality. Psychiatric efforts to alter
   sexual orientation through ‘reparative therapy’ in adults have found little or no change in sex-
   ual orientation, while causing significant risk of harm to self-esteem” (AACAP, 2012, p. 967,
   italics added).
       Whereas AAP cites AACAP to support gender affirmation as the only alternative for treat-
   ing GD children, AACAP’s actual view was decidedly neutral, noting the lack of evidence:
   “Given the lack of empirical evidence from randomized, controlled trials of the efficacy of
   treatment aimed at eliminating gender discordance, the potential risks of treatment, and longi-
   tudinal evidence that gender discordance persists in only a small minority of untreated cases
   arising in childhood, further research is needed on predictors of persistence and desistence of
   childhood gender discordance as well as the long-term risks and benefits of intervention before
   any treatment to eliminate gender discordance can be endorsed” (AACAP, 2012, p. 969).
   Moreover, whereas AAP rejected watchful waiting, what AACAP recommended was: “In gen-
   eral, it is desirable to help adolescents who may be experiencing gender distress and dysphoria
   to defer sex reassignment until adulthood” (AACAP, 2012, p. 969). So, not only did AAP attri-
   bute to AACAP something AACAP never said, but also AAP withheld from readers AACAP’s
   actual view.
       Next, in reference 39, Byne (2016) also addressed only sexual orientation, doing so very clearly:
   “Reparative therapy is a subset of conversion therapies based on the premise that same-sex attrac-
   tion are reparations for childhood trauma. Thus, practitioners of reparative therapy believe that
   exploring, isolating, and repairing these childhood emotional wounds will often result in reducing
   same-sex attractions” (Byne, 2016, p. 97). Byne does not say this of gender identity, as the AAP
   statement misrepresents.
       In AAP reference 40, Cohen-Kettenis et al. (2008) did finally pertain to gender identity; how-
   ever, this article never mentions conversion therapy. (!) Rather, in this study, the authors pre-
   sented that clinic’s lowering of their minimum age for cross-sex hormone treatment from age 18
   to 16, which they did on the basis of a series of studies showing the high rates of success with
   this age group. Although it did strike me as odd that AAP picked as support against conversion
   therapy an article that did not mention conversion therapy, I could imagine AAP cited the article
   as an example of what the “mainstream of traditional medical practice” consists of (the logic
   being that conversion therapy falls outside what an ‘ideal’ clinic like this one provides). However,
   what this clinic provides is the very watchful waiting approach that AAP rejected. The approach
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   espoused by Cohen-Kettenis (and the other clinics mentioned in the source—Gent, Boston, Oslo,
   and now formerly, Toronto) is to make puberty-halting interventions available at age 12 because:
   “[P]ubertal suppression may give adolescents, together with the attending health professional,
   more time to explore their gender identity, without the distress of the developing secondary sex
   characteristics. The precision of the diagnosis may thus be improved” (Cohen-Kettenis et al.,
   2008, p. 1894).
      Reference 41 presented a very interesting history spanning the 1960s–1990s about how
   feminine boys and tomboyish girls came to be recognized as mostly pre-homosexual, and
   how that status came to be entered into the DSM at the same time as homosexuality was
   being removed from the DSM. Conversion therapy is never mentioned. Indeed, to the extent
   that Bryant mentions treatment at all, it is to say that treatment is entirely irrelevant to his
   analysis: “An important omission from the DSM is a discussion of the kinds of treatment
   that GIDC children should receive. (This omission is a general orientation of the DSM and
   not unique to GIDC)” (Bryant, 2006, p. 35). How this article supports AAP’s claim is a mys-
   tery. Moreover, how AAP could cite a 2006 history discussing events of the 1990s and earlier
   to support a claim about the current consensus in this quickly evolving discussion remains all
   the more unfathomable.
      Cited last in this section was a one-paragraph press release from the World Professional
   Association for Transgender Health. Written during the early stages of the American Psychiatric
   Association’s (APA’s) update of the DSM, the statement asserted simply that “The WPATH
   Board of Directors strongly urges the de-psychopathologisation of gender variance worldwide.”
   Very reasonable debate can (and should) be had regarding whether gender dysphoria should be
   removed from the DSM as homosexuality was, and WPATH was well within its purview to assert
   that it should. Now that the DSM revision process is years completed however, history has seen
   that APA ultimately retained the diagnostic categories, rejecting WPATH’s urging. This makes
   AAP’s logic entirely backwards: That WPATH’s request to depathologize gender dysphoria was
   rejected suggests that it is WPATH’s view—and therefore the AAP policy—which fall “outside the
   mainstream of traditional medical practice.” (!)
      AAP based this entire line of reasoning on their belief that conversion therapy is being used
   “to prevent children and adolescents from identifying as transgender” (Rafferty et al., 2018, p. 4).
   That claim is left without citation or support. In contrast, what is said by AAP’s sources is
   “delaying affirmation should not be construed as conversion therapy or an attempt to change
   gender identity” in the first place (Byne, 2016, p. 2). Nonetheless, AAP seems to be doing exactly
   that: simply relabeling any alternative approach as equivalent to conversion therapy.
      Although AAP (and anyone else) may reject (what they label to be) conversion therapy purely
   on the basis of political or personal values, there is no evidence to back the AAP’s stated claim
   about the existing science on gender identity at all, never mind gender identity of children.
      AAP also dismissed the watchful waiting approach out of hand, not citing any evidence, but
   repeatedly calling it “outdated.” The criticisms AAP provided, however, again defied the existing
   evidence, with even its own sources repeatedly calling watchful waiting the current standard.
   According to AAP:
         [G]ender affirmation is in contrast to the outdated approach in which a child’s gender-diverse assertions are
         held as “possibly true” until an arbitrary age (often after pubertal onset) when they can be considered valid,
         an approach that authors of the literature have termed “watchful waiting.” This outdated approach does not
         serve the child because critical support is withheld. Watchful waiting is based on binary notions of gender
         in which gender diversity and fluidity is pathologized; in watchful waiting, it is also assumed that notions of
         gender identity become fixed at a certain age. The approach is also influenced by a group of early studies
         with validity concerns, methodologic flaws, and limited follow-up on children who identified as TGD and,
         by adolescence, did not seek further treatment (“desisters”).45,47

   The citations from AAP’s reference list are:
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      45. Ehrensaft D, Giammattei SV, Storck K, Tishelman AC, Keo-Meier C. Prepubertal social gender
          transitions: what we know; what we can learn—a view from a gender affirmative lens. Int J Transgend.
          2018;19(2):251–268
      47. Olson KR. Prepubescent transgender children: what we do and do not know. J Am Acad Child Adolesc
          Psychiatry. 2016;55(3):155–156.e3

       I was surprised first by the AAP’s claim that watchful waiting’s delay to puberty was somehow
   “arbitrary.” The literature, including AAP’s sources, repeatedly indicated the pivotal importance
   of puberty, noting that outcomes strongly diverge at that point. According to AAP reference 29,
   in “prepubertal boys with gender discordance—including many without any mental health treat-
   ment—the cross gender wishes usually fade over time and do not persist into adulthood, with
   only 2.2% to 11.9% continuing to experience gender discordance” (Adelson & AACAP, 2012, p.
   963, italics added), whereas “when gender variance with the desire to be the other sex is present
   in adolescence, this desire usually does persist through adulthood” (Adelson & AACAP, 2012, p.
   964, italics added). Similarly, according to AAP reference 40, “Symptoms of GID at prepubertal
   ages decrease or even disappear in a considerable percentage of children (estimates range from
   80–95%). Therefore, any intervention in childhood would seem premature and inappropriate.
   However, GID persisting into early puberty appears to be highly persistent” (Cohen-Kettenis
   et al., 2008, p. 1895, italics added). That follow-up studies of prepubertal transition differ from
   postpubertal transition is the very meaning of non-arbitrary. AAP gave readers exactly the reverse
   of what was contained in its own sources. If AAP were correct in saying that puberty is an arbi-
   trarily selected age, then AAP will be able to offer another point to wait for with as much empir-
   ical backing as puberty has.
       Next, it was not clear on what basis AAP could say that watchful waiting withholds support—
   AAP cited no support for its claim. The people in such programs often receive substantial sup-
   port during this period. Also unclear is on what basis AAP could already know exactly which
   treatments are “critical” and which are not—Answering that question is the very purpose of this
   entire endeavor. Indeed, the logic of AAP’s claim appears entirely circular: It is only if one were
   already pre-convinced that gender affirmation is the only acceptable alternative that would make
   watchful waiting seem to withhold critical support—What it delays is gender affirmation, the
   method one has already decided to be critical.
       Although AAP’s next claim did not have a citation appearing at the end of its sentence, binary
   notions of gender were mentioned both in references 45 and 47. Specifically, both pointed out
   that existing outcome studies have been about people transitioning from one sex to the other,
   rather than from one sex to an in-between status or a combination of masculine/feminine fea-
   tures. Neither reference presented this as a reason to reject the results from the existing studies of
   complete transition however (which is how AAP cast it). Although it is indeed true that the out-
   come data have been about complete transition, some future study showing that partial transition
   shows a different outcome would not invalidate what is known about complete transition.
   Indeed, data showing that partial transition gives better outcomes than complete transition would,
   once again, support the watchful waiting approach which AAP rejected.
       Next was a vague reference alleging concerns and criticisms about early studies. Had AAP
   indicated what those alleged concerns and flaws were (or which studies they were), then it would
   be possible to evaluate or address them. Nonetheless, the argument is a red herring: Because all
   of the later studies showed the same result as did the early studies, any such allegation is neces-
   sarily moot.
       Reference 47 was a one-and-a-half page commentary in which the author off-handedly men-
   tions criticisms previously made of three of the eleven outcome studies of GD children, but does
   not provide any analysis or discussion. The only specific claim was that studies (whether early or
   late) had limited follow-up periods—the logic being that had outcome researchers lengthened the
   follow-up period, then people who seemed to have desisted might have returned to the clinic as
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   cases of “persistence-after-interruption.” Although one could debate the merits of that prediction,
   AAP instead simply withheld from the reader the result from the original researchers having
   tested that very prediction directly: Steensma and Cohen-Kettenis (2015) conducted another ana-
   lysis of their cohort, by then ages 19–28 (mean age 25.9 years), and found that 3.3% (5 people of
   the sample of 150) later returned. That is, in long-term follow-up, the childhood sample showed
   66.7% desistence instead of 70.0% desistance.
       Reference 45 did not support the claim that watchful-waiting is “outdated” either. Indeed,
   that source said the very opposite, explicitly referring to watchful waiting as the current
   approach: “Put another way, if clinicians are straying from SOC 7 guidelines for social transi-
   tions, not abiding by the watchful waiting model favored by the standards, we will have adoles-
   cents who have been consistently living in their affirmed gender since age 3, 4, or 5” (Ehrensaft
   et al., 2018, p. 255). Moreover, Ehrensaft et al. said there are cases in which they too would still
   use watchful waiting: “When a child’s gender identity is unclear, the watchful waiting approach
   can give the child and their family time to develop a clearer understanding and is not necessar-
   ily in contrast to the needs of the child” (p. 259). Ehrensaft et al. are indeed critical of the
   watchful waiting model (which they feel is applied too conservatively), but they do not come
   close to the position the AAP policy espouses. Where Ehrensaft summaries the potential bene-
   fits and potential risks both to transitioning and not transitioning, the AAP presents an ironic-
   ally binary narrative.
       In its policy statement, AAP told neither the truth nor the whole truth, committing sins both
   of commission and of omission, asserting claims easily falsified by anyone caring to do any fact-
   checking at all. AAP claimed, “This policy statement is focused specifically on children and youth
   that identify as TGD rather than the larger LGBTQ population”; however, much of that evidence
   was about sexual orientation, not gender identity. AAP claimed, “Current available research and
   expert opinion from clinical and research leaders … will serve as the basis for recommendations”
   (pp. 1–2); however, they provided recommendations entirely unsupported and even in direct
   opposition to that research and opinion.
       AAP is advocating for something far in excess of mainstream practice and medical consensus.
   In the presence of compelling evidence, that is just what is called for. The problems with
   Rafferty, however, do not constitute merely a misquote, a misinterpretation of an ambiguous
   statement, or a missing reference or two. Rather, AAP’s statement is a systematic exclusion and
   misrepresentation of entire literatures. Not only did AAP fail to provide compelling evidence, it
   failed to provide the evidence at all. Indeed, AAP’s recommendations are despite the exist-
   ing evidence.


   Disclosure statement
   No potential conflict of interest was reported by the author.


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   Appendix



   Count             Group                                                            Study
      2/16    gay                   Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its outcome.
      4/16    trans-/crossdress        American Journal of Psychiatry, 128, 1283–1289.
     10/16    straight/uncertain
      2/16    trans-                 Zuger, B. (1978). Effeminate behavior present in boys from childhood:
      2/16    uncertain                Ten additional years of follow-up. Comprehensive Psychiatry, 19, 363–369.
     12/16    gay
        0/9   trans-                 Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant
        9/9   gay                      gender identity/role: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.
      2/45    trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
     10/45    uncertain                significance for homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.
     33/45    gay
      1/10    trans-                 Davenport, C. W. (1986). A follow-up study of 10 feminine boys. Archives of
      2/10    gay                      Sexual Behavior, 15, 511–517.
      3/10    uncertain
      4/10    straight
      1/44    trans-                 Green, R. (1987). The "sissy boy syndrome" and the development of homosexuality.
     43/44    cis-                      New Haven, CT: Yale University Press.
        0/8   trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient treatment help?
        8/8   cis-                     Medical Journal of Australia, 146, 565–569.
     21/54    trans-                 Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric
     33/54    cis-                     children. Journal of the American Academy of Child and Adolescent Psychiatry, 47,
                                       1413–1423.
      3/25    trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K. J. (2008). A follow-up study
      6/25    lesbian/bi-              of girls with gender identity disorder. Developmental Psychology, 44, 34–45.
     16/25    straight
    17/139    trans-                 Singh, D. (2012). A follow-up study of boys with gender identity disorder. Unpublished doctoral
   122/139    cis-                      dissertation, University of Toronto.
    47/127    trans-                 Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013).
    80/127    cis-                      Factors associated with desistence and persistence of childhood gender dysphoria:
                                        A quantitative follow-up study. Journal of the American Academy of Child and Adolescent
                                        Psychiatry, 52, 582–590.
   For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.
